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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                            )
                                                            )
 In re                                                      ) Chapter 11
                                                            ) Case No. 08-13141 (KJC)
 TRIBUNE COMPANY, et al.,                                   ) Jointly Administered
                                                            )
                                                            )
                                        Debtors.            )
                                                            )

                                   POST-TRIAL BRIEF OF THE
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         The Noteholder Plan Proponents,1 by and through their undersigned counsel, respectfully

 submit this post-trial brief in opposition to confirmation of the DCL Plan and in support of

 confirmation of the NPP Plan and represent as follows:

                                      PRELIMINARY STATEMENT

         In order to obtain confirmation of their proposed plan, the DCL Plan Proponents have the

 burden of establishing, inter alia, that the Proposed Settlement of the LBO Claims against the

 LBO Lenders and the associated terms and provisions of their plan satisfy both the requirements

 of Bankruptcy Code section 1129(a) and Bankruptcy Rule 9019.2 In applying the well-known

 Martin and Texaco factors, the Proposed Settlement must be considered from the perspective of

 the parties who are adversely affected by and oppose it, here the Senior Noteholders and holders

 of PHONES Notes (the “Pre-LBO Noteholders”).3

         The DCL Plan Proponents do not come close to meeting their burden. To the contrary,

 the evidence at trial clearly established that the Proposed Settlement (i) pales in comparison to

 the likely outcome of litigation,4 (ii) is not fair and equitable or in the best interest of creditors,5

 and (iii) was not negotiated at arms’ length in the sense contemplated by the relevant cases and

 sound fiduciary practices.6

         First, the factual record and the “battle of the experts” showed that the Company was

 indeed rendered insolvent by the LBO both at Step One and Step Two. See infra at II.F. In fact,


 1
   Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Amended Objection
 of the Noteholder Plan Proponents to Confirmation of the Debtor/Committee/Lender Plan of Reorganization [ECF
 No. 8025] (the “NPP Objection”).
 2
   See e.g., In re Spansion. Inc., No. 09-10690 (KJC), 2009 WL 1531788, at *4 (Bankr. D Del. June 2, 2009). The
 Noteholder Plan Proponents hereby incorporate their Third Amended Noteholder Plan, dated April 25, 2011 [ECF
 No. 8755] (the “Noteholder Plan” or the “NPP Plan”) and NPP Objection.
 3
   Id. at *3.
 4
   See e.g., Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424-425
 (1968)
 5
   Id.
 6
   See e.g., In re Texaco, 84 B.R. 893, 901 (Bankr. S.D.N.Y. 1988).



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 the evidence that the Company engaged in an intentional fraudulent transfer, at both steps is

 equally compelling. See infra at II.F. Astonishingly, the DCL Plan Proponents failed to call a

 single live witness to attempt to validate the Company’s projections supplied to VRC for its

 solvency opinions in June and December 2007, despite overwhelming evidence that they were

 knowingly inflated and unreasonable, or to explain the rationale for saddling a drowning

 company (already tracking its worst downside projections) operating in a declining industry with

 over $13 billion of debt it could neither service nor repay.

            Significantly, the likely outcome of litigation against the LBO Lenders would vastly

 exceed the Proposed Settlement, even if the result is not full avoidance at Step One and Step

 Two. See infra at III.A. When the differing potential outcomes of the litigation against the LBO

 Lenders are probability weighted based on the Examiner’s conclusions, as opposed to the views

 of the parties, the record shows that (1) the Expected Value of such claims ranges from $1.51

 billion to $1.83 billion7, and (2) the Pre-LBO Noteholders stand a 74% chance of receiving

 greater recoveries than those proposed by the DCL Plan. See infra at III.A. The gross disparity

 between the Proposed Settlement and the value of the LBO Claims is starkly illustrated by the

 party line vote on the DCL Plan: virtually all of the LBO Lenders voted in favor of the DCL

 Plan, hoping to receive releases on the cheap, while the Pre-LBO Noteholders overwhelmingly

 voted for the Noteholder Plan and rejected the DCL Plan (along with the distributions it offers) ,

 reflecting the view that the claims against the LBO Lenders are far more valuable if pursued

 outside of bankruptcy, by a vigorous, conflict free litigation trustee.

            The expected values and probabilities discussed above are before consideration of the

 Debtors’ true DEV, which the Noteholder Plan Proponents established is up to $1.5 billion

 greater than the artificially low $6.75 billion upon which the DCL Plan is premised. See infra at
 7
     NPP 2476 (Beron Rpt.) at 3; 3/17/11 Trial Tr. 144:12-16, 167:25-168:20 (Beron).


                                                           2
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 VI. Though the DCL Plan now provides the Senior Noteholders with a strip of consideration, the

 Debtors’ DEV remains a key issue because at higher values the Proposed Settlement becomes

 even more unreasonable than it is at $6.75 billion.

         Recognizing that the meager consideration offered for the proposed release of claims

 against the LBO Lenders is inadequate, the DCL Plan Proponents lean heavily on the potential

 for future recoveries to the Non-LBO Creditors via the Litigation Trust. But even assuming,

 arguendo, that potential future recoveries from other parties is relevant in determining whether

 the Debtors may release the LBO Lenders (a point the Noteholder Plan Proponents dispute), the

 DCL Plan Proponents failed to submit any evidence on which the Court could base any finding

 as to the likely amount of proceeds that will flow into the Litigation Trust. See infra at V. This

 evidentiary gap is exacerbated by the DCL Plan’s proposed Bar Order (itself unsupportable),

 which is designed to reduce or eliminate recoveries to the Litigation Trust, but something which

 no DCL Plan Proponent witness ever assessed or modeled as to its likely actual impact. See

 infra at IV. Further, there is enormous inequity, irony and risk in allowing the LBO Lenders to

 divert Litigation Trust recoveries back to themselves when the underlying Litigation Trust

 Claims rest on the fact that their loans rendered the Company insolvent.8

         The patent unreasonableness of the Proposed Settlement is the result of a deeply flawed

 negotiation, beset by numerous conflicts of interest. None of the Debtors, the Debtors’ Special

 Committee, the Creditors’ Committee, or any of their respective professionals, were motivated or

 willing to proceed aggressively against the LBO Lenders to maximize recoveries for all creditors

 harmed by the LBO, but instead were all too willing to exclude Aurelius from the process (and

 gear up for the confirmation fight they knew was coming as a result) and accept settlement terms

 8
   Indeed, the DCL Plan posits that the LBO Lenders should ultimately pay even less than has been proposed to settle
 the LBO Claims given that their proposed receipt of Litigation Trust recoveries will reduce the cost of the
 settlement.


                                                         3
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 that prejudiced primarily the Pre-LBO Noteholders, and not other creditor constituencies. While

 the Court is surely accustomed to self-motivated behavior in the course of a restructuring, the

 process giving rise to this Proposed Settlement was qualitatively different and clearly removes a

 source of comfort that the Court might otherwise be able to rely on in assessing whether the

 Proposed Settlement of a complex series of claims should be approved. See infra at VII.

         Fortunately, the DCL Plan Proponents’ failure to prove that their plan may be confirmed

 does not consign the Debtors to remain in bankruptcy. The NPP Plan meets all of the

 requirements for confirmation, will undeniably provide greater recoveries to the Non-LBO

 Creditors as a whole, and has several other advantages over the DCL Plan. See infra at I.

         Rather than letting Oaktree fulfill its single-minded objective to set an example for the

 dismal treatment of junior creditors in future chapter 11 cases9, it is this Court that should set an

 example respecting the proper application of the Bankruptcy Code’s fraudulent transfer and other

 equitable remedial provisions in the wake of a ruinous, irresponsible LBO, and respecting the

 process it expects from estate fiduciaries in settlement and plan negotiations. The Court should

 confirm the NPP Plan and deny confirmation of the DCL Plan.

                                               ARGUMENT

 I.      THE NPP PLAN10 SHOULD BE CONFIRMED

         The DCL Plan11 and the NPP Plan are substantially similar in many ways.12 The two

 plans are premised on the same capital structure, corporate structure and allocation of value

 among the Reorganized Debtors.13 In fact, both plans contemplate that, upon the Debtors’



 9
   NPP 870 (10/13/10 email between H. Marks and B. Karsh); 3/8/11 Trial Tr. 127:6-128:12 (Kurtz).
 10
    Third Amended Noteholder Plan, dated April 25, 2011 [ECF No. 8755] (the “Noteholder Plan” or the “NPP
 Plan”).
 11
    Second Amended DCL Plan, dated April 26, 2011 [ECF No. 8769] (the “DCL Plan”).
 12
    See, e.g., NPP 2224 (Gropper Declaration) ¶ 42.
 13
    See id.


                                                       4
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 emergence from chapter 11, litigation and creditors’ trusts will prosecute certain of the causes of

 action that arose out of the ill-fated LBO.14

          Where the plans diverge, however, is how the most valuable causes of action—the causes

 of action against the LBO Lenders—will be addressed.15 While the DCL Plan is premised on a

 settlement of these claims for a fraction of any amount that might be considered reasonable, the

 NPP Plan preserves these causes of action for the benefit of creditors.16 Indeed, given the

 unreasonableness of the Proposed Settlement, the overly broad, unjustified releases contained in

 the DCL Plan and other legally unsupportable provisions in the DCL Plan, the NPP Plan is the

 preferred and only viable means for the Debtors to emerge expeditiously from chapter 11.

          As set forth in the Noteholder Confirmation Brief17 and the Gropper Declaration, and as

 supported by the evidence now in the record, the NPP Plan satisfies each of the conditions for

 confirmation required under the Bankruptcy Code. In addition, the uncontroverted evidence

 demonstrates that the NPP Plan has several significant and distinct advantages.

          First, unlike the DCL Plan, which is utterly incompatible with the Examiner’s

 conclusions and the strength of the LBO Claims against the LBO Lenders, as established at trial,

 the NPP Plan provides that all LBO-related litigation will be preserved and prosecuted

 vigorously after the Effective Date by unconflicted fiduciaries and without the overhang of the

 bankruptcy, acute conflicts or personal or professional ties.18 As a result, the LBO Lenders will

 be motivated to engage in true, arms’ length settlement negotiations with proper fiduciaries,




 14
    See NPP 2525 (NPP Plan) §§ 5.17, 5.18; DCL 1586 (DCL Plan) at Art. 13, Art. 14.
 15
    See, e.g., 3/16/11 Trial Tr. 13:8-13 (Gropper) (“[O]ur plan is as true to the DCL plan in every respect possible
 with one very important difference. We don’t settle the most valuable causes of action for a fraction of their net – of
 their worth. We allow them to be adjudicated on a post-effective date basis with the trust.”).
 16
    See 3/16/11 Trial Tr. 13:8-13 (Gropper).
 17
    Noteholder Confirmation Brief [ECF No. 8171].
 18
    See, e.g., 3/16/11 Trial Tr. 12:26:13-6 (Gropper).


                                                           5
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 resulting in settlements that will produce higher recoveries for all Non-LBO Creditors.19 The

 Noteholder Plan Proponents’ confidence in the strength in the LBO Claims and the certainty of

 better recoveries under the NPP Plan is evidenced by their willingness to forego hundreds of

 millions of dollars in immediate consideration provided for under the DCL Plan. 20

          Second, at the same time that the NPP Plan preserves all LBO Claims, the NPP Plan

 enables the Debtors to reorganize successfully and accomplish the objectives of chapter 11.21

 Pursuant to the NPP Plan, the great majority of the equity in Reorganized Tribune will be

 distributed to the Senior Lenders as of the Effective Date with the expectation that the remaining

 DEV (consisting of Cash, New Senior Secured Term Loan and New Warrants) held in the

 Distribution Trust will be distributed shortly thereafter.22

          In fact, the NPP Plan is strikingly similar to the “purity” plan that the Debtors seriously

 considered and which the Debtors’ lead financial advisor admitted would have worked with the




 19
    See, e.g., id. at 14:8-20 (Gropper) ( “I think that if the LBO lenders were on the other side of a truly independent
 litigation trustee, that there will be an arm’s length negotiation. And it’s actually my expectation that many of the
 claims under our plan will settle rather than be litigated because I don’t think the LBO lenders will want to put to the
 test the litigation, particularly a number of conclusions that the examiner found would be favorable to the pre-LBO
 Lenders. Q: So do you agree with the criticism of the DCL Group that the Noteholder Plan will lead to years and
 years of litigation? A: Not at all.”), 149:10-13 (Gropper).
 20
    See id. at 13:17-14:2 (Gropper) (“Q: Okay. Now if the DCL plan were to be confirmed, how much money would
 Aurelius stand to receive upon consummation? A: We would receive over $200 million in cash. Q: And yet
 Aurelius is opposed to that plan? A: We are opposed to that plan. There is no question in my mind that if our plan
 were confirmed, the pre-LBO creditors would receive significantly greater amount of money under our plan
 construct. And I've never been more certain about a conclusion like that in my sixteen years in the business.”).
 21
    See, e.g., NPP 2224 (Gropper Declaration) ¶ 30.
 22
    See, e.g., NPP 2527 (NPP Resolicitation Motion) Ex. A at 10-14; see also 3/16/11 Trial Tr. 153:8-16 (Gropper)
 (“I don’t think that there will be that much of the DEV tied up for long because I think once the creditors on the
 other side of the litigation are actually forced to be in a position where they have to deal with these claims on an
 arm’s length basis, . . . there will be resolution of these claims in a prompt matter that will allow allocable value to
 be distributed to all the creditors.”); 3/16/11 Trial Tr. 153:22-154:2 (Gropper) (same).
            To address objections of the DCL Plan Proponents, the Noteholder Plan Proponents modified the
 Noteholder Plan to increase materially the amount of equity distributed to creditors as of the Effective Date. As a
 result of these modifications, the Noteholder Plan provides for between 70.5% and 79.8% (assuming a DEV of
 $6.75 billion) of the equity value of Reorganized Tribune to be distributed to Creditors as of the Effective Date.
 Given that the DEV is significantly higher, see infra at VI, the amount of equity to be distributed will be even
 greater. The foregoing modifications have obviated the corporate governance concerns raised by Black. DCL 1113
 (Black Rebuttal Rpt.) 5-8, 72-81.


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 consent of the Senior Lenders.23 The DCL Plan Proponents have, at a minimum, always

 considered the “purity” plan a viable back-up plan.24 Indeed, even Oaktree and Angelo Gordon,

 previously promoted a chapter 11 plan that is substantially similar to the NPP Plan.25

          Third, holders of non-LBO debt securities (the “Pre-LBO Noteholders”)—who hold the

 claims that were most harmed by the LBO, yet benefit the least from the Proposed Settlement—

 overwhelmingly voted, with over 90% in dollar amount of the Senior Noteholder Claims and

 PHONES Notes Claims voting, to accept the NPP Plan and reject the DCL Plan.26 Calculated by

 aggregate dollar amount, the overwhelming majority of all Non-LBO Creditors, whether holding

 funded debt or not, voted to accept the NPP Plan and to reject the DCL Plan.27 Accordingly, it is

 the NPP Plan, not the DCL Plan, that is in the “paramount interest of creditors.”28

          Fourth, the NPP Plan can go effective expeditiously and with fewer conditions than the

 DCL Plan. For example, confirmation and effectiveness of the NPP Plan are not conditioned

 upon the Bankruptcy Court, among other things (i) reaching a particular conclusion on certain

 aspects of the causes of action arising from the LBO, (ii) approving a settlement that was not

 negotiated at arms’ length and in good faith or (iii) granting sweeping and unjustified releases,




 23
    See 3/8/11 Trial Tr. 73:11-16 (Kurtz) (“Q: Did you come to a conclusion as to whether Mr. Whitman’s [purity]
 plan would work and, you know, you’ve heard what you testified to at your deposition. Is that still your position?
 A: Well, the Whitman plan could work if the lenders accepted it.”); see also NPP 836 (9/23/10 email from D.
 Liebentritt to J. Berg) at 3 (“If we get signals that, even after a failed mediation, Carey may not be inclined to take
 the claims in part, we may need to consider seriously a “purer purity” approach.”).
 24
    See 3/15/11 Trial Tr. 183:3-16 (Wilderotter) (Q: Okay. Does this refresh your recollection as to whether that he
 was considering as a concept a purity plan as of September 2010? A: Yes. We always looked at a purity plan as an
 option. We just didn’t think it was the top option we should pursue.”).
 25
    See NPP 1989 (Credit Agreement Lenders’ Settlement Statement) at 10-11 (“. . . the Credit Agreement Lenders
 may propose a plan for all the Tribune Debtors that would … preserve and transfer to a litigation trust all causes of
 action available to Tribune Company.”) (emphasis added).
 26
    See Final Voting Tabulation Report, Ex. A-1 at 1 [ECF No. 7918].
 27
    See NPP 2224 (Gropper Declaration) ¶ 41.
 28
    See NPP 2474 (NPP Objection) at 47.


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 exculpations and indemnification to parties that materially and adversely harmed the Debtors’

 Estates and their Creditors, including innocent Pre-LBO Noteholders.29

         Only the NPP Plan strikes the proper balance between the Debtors’ ability to emerge from

 chapter 11 with a restructured, viable capital structure, and the mandate of chapter 11 that

 creditors receive the recoveries for which they are justly, legally and equitably entitled – not

 fractions of their legal entitlements, as contemplated by the DCL Plan.30 Despite the “purity” of

 the NPP Plan, the DCL Plan Proponents continue to assert a limited number of objections: (i)

 compliance with Bankruptcy Code section 1129(a)(10); (ii) the release of the LBO Lenders’

 guaranty claims against the Guarantor Non-Debtors; (iii) the classification of the Swap Claim at

 Tribune;31 (iv) the form of consideration to be received by the Senior Lenders and Swap Claims

 Holder in respect of their Initial Distributions; and (v) corporate governance for Reorganized

 Tribune. None of these objections have merit or impede confirmation of the NPP Plan, and, to

 the extent necessary, these arguments will be addressed in detail in the Noteholder Plan

 Proponents’ response to the DCL Plan Proponents’ post-trial brief. In sum, the NPP Plan

 satisfies each of the requirements for confirmation and should be confirmed.

 II.     CLAIMS AGAINST THE LBO LENDERS HAVE A HIGH PROBABILITY OF
         SUCCESS

         The first factor considered by courts in the Third Circuit when evaluating proposed

 settlements under Bankruptcy Rule 9019 is the probability of success in litigation.32 In assessing


 29
    See, e.g, NPP 2224 (Gropper Declaration) ¶ 41.
 30
     See, e.g., id. at ¶¶ 11, 30; 3/16/11 Trial Tr. 13:10-13, 145:8-18 (Gropper).
 31
    While the Noteholder Plan has been amended to separately classify the Swap Claim at Tribune (the “Swap Parent
 Claim”) from Step One Senior Loan Claims and leave the determination of whether such claim is entitled to the
 benefit of subordination of the PHONES Notes and EGI-TRB LLC Notes, the DCL Plan continues to violate
 Bankruptcy Code section 1122(a) and applicable law because (i) the Swap Claim is still classified together with
 Other Parent Claims and (ii) the Swap Parent Claim and Other Parent Claims improperly benefit from the
 subordination provisions in the PHONES Notes Indenture and the EGI-TRB LLC Notes. See NPP 2474 (NPP
 Objection) at 209-214; 4/14/11 Trial Tr. 109:21-115:22 (Golden).
 32
     Myers. v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996).


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 this factor, courts are instructed to “canvass the issues to see whether the settlement falls below

 the lowest point in the range of reasonableness.”33 Here, there should be little doubt that the

 Proposed Settlement does not meet this standard. The great weight of the evidence in the record

 shows that the LBO Lenders’ Claims arising from both steps of the LBO should be avoided as

 intentional and constructive fraudulent conveyances, and that, even if they are not fully avoided,

 meritorious claims for equitable subordination, equitable disallowance, and aiding or abetting

 breach of fiduciary duty exist against the LBO Lenders. As such, if the LBO Claims are

 litigated, the Non-LBO Creditors will recover in full, including post-petition interest, for a

 recovery estimated at $2.7 to $3.3 billion (including post-petition interests at the contractual rate

 through December 8, 2012). Given this overwhelming evidence, the Proposed Settlement, which

 proposes to pay a mere $369 million to the Senior Noteholders, and nothing to the PHONES

 Notes, falls well outside the bounds of reasonableness and cannot be confirmed.34

         A.       The Debtors’ Projections At Steps One And Two Should Not Have Been
                  Relied Upon At The Time Of The LBO And Cannot Be Relied Upon Now To
                  Assess Solvency

         Any analysis of whether Step One and Step Two of the LBO constituted an intentional or

 constructive fraudulent conveyance must start with an analysis of whether the Debtors’

 projections at the time of the Step One and Step Two closings (the “February Projections” and

 “October Projections,” respectively) were reasonable, and whether they should be used now to

 assess the Debtors’ financial condition at those times.35 The overwhelming weight of the

 evidence shows that a Court would answer these questions in the negative.




 33
    In re Spansion, Inc., 2009 WL 1531788, at *7.
 34
    NPP 2474 (NPP Objection) at 43-47.
 35
    The case law respecting projections is discussed in NPP 2474 (NPP Objection) at 73-83.


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                  1.       The Publishing Industry Was In The Midst Of A Deep Secular
                           Decline At The Time Of The LBO

         In 2006, newspaper publishing constituted 68% of the Company’s consolidated operating

 cash flow.36 As testified by Ralph Tuliano, who was qualified by this Court as an expert on

 matters of solvency, valuation, and financial forensics and has over 20 years of experience

 evaluating financial projections,37 at the time of the LBO, the newspaper publishing business was

 in the midst of a severe secular decline.38 Indeed, when asked about the prospects for the

 newspaper business in the beginning of 2007, Robert Bellack, the Chief Financial Officer for the

 Los Angeles Times, during the time of the LBO, testified “what I can say unequivocally is

 traditional print newspaper advertising revenue was expected to decline indefinitely.”39 And

 Professor Bernard Black, the DCL Plan Proponents’ expert, admitted at trial that “the newspaper

 business was known in 2007 to be in a long term decline.”40

         The secular challenges facing newspaper publishing in 2007 were also well known to the

 LBO Lenders. For example, in October 2006, Merrill Lynch Managing Director Michael Costa

 referred to newspaper publishing as an “industry on its back.”41 And Julie Persily, a Managing

 Director in the Leveraged Finance group at Citigroup, testified at her deposition that when

 Citigroup became involved in the LBO, “readership of newspapers was projected to decline, and

 we were always concerned about that.”42 Similarly, Bank of America Senior Vice President

 Daniel Petrik testified at his deposition that, prior to committing to the LBO, Bank of America




 36
    3/18/11 Trial Tr. 27:12-28:17 (Tuliano); NPP 944 (Tuliano Rpt.) at 59.
 37
    Id. at 18:13-18, 17:14-22 (Tuliano).
 38
    Id. at 28:22-29:3, 29:18-30:23, 31:3-32:7 (Tuliano); NPP 944 (Tuliano Rpt.) at 25-31; NPP 2478 (Tuliano Trial
 Demonstratives) at 7.
 39
    Deposition of Robert Bellack dated March 10, 2011 (“Bellack Dep. Tr.”) 35:11-22.
 40
    3/9/11 Trial Tr. 271:24-272:3 (Black).
 41
    NPP 1016 (10/22/06 email between D. Weil and M. Costa) at ML-TRIB-0596999.
 42
    Deposition of Julie Persily dated February 1, 2011 (“Persily Dep. Tr.”) 26:12-14.


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 discussed “what is currently going on in the publishing industry and that the trends were not

 favorable, which we all knew.”43

         The consensus among analysts, market participants, and ratings agencies is in line with

 this evidence, showing that the market perception in early 2007 was that the challenges facing

 newspaper publishing were structural—not cyclical—and that the declines in circulation levels

 and advertising revenues were not likely to abate.44 For example, on March 15, 2007, the

 Morton-Groves Newspaper Newsletter—a leading industry newsletter that had been in operation

 for over 20 years—noted that the “business environment faced by publishers and media

 companies today has changed forever. Instead of an industry cycle with advertising recovering

 as the economy recovers, we have a secular shift….”45 Similarly, on March 23, 2007, Morgan

 Stanley observed that “February will likely go on record as one of the worst months for the

 newspaper industry in recent years,” and stated that “it appears rather clear to us that new

 revenue streams are simply not enough to offset the secular shift of print to online.”46

                 2.       The February Projections Were Unrealistically Optimistic

         The Company’s operating performance in 2004 and 2005 was not only consistent with

 the declining industry trend, but was actually below industry averages in the years and months

 leading up to the LBO.47 For example, as noted in The Publishing Handbook issued by Morgan

 Stanley in March 2007, daily circulation for the Company’s seven largest newspapers in

 September 2006 decreased by 4.9% from September 2005, as compared to the industry average




 43
    Deposition of Daniel Petrik dated February 4, 2011 (“Petrik Dep. Tr.”) 66:21-24.
 44
    3/18/11 Trial Tr. 31:20-32:7, 30:24-32:7, 32:8-23 (Tuliano).
 45
    NPP 239 (3/15/07 Morton-Groves Newspaper Newsletter) at 8.
 46
    NPP 258 (3/23/07 Morgan Stanley, “The Publishing Handbook”) at 91; NPP 271 (3/27/07 Deutsche Bank “State
 of the Newspaper Industry: A Wall Street Perspective”) at 9; NPP 267 (3/26/07 NYT “Drop in Ad Revenue Raises
 Tough Question for Newspapers”) at 1.
 47
    NPP 944 (Tuliano Rpt.) at 26.


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 decrease of 4.0% for the same period.48 As William Stinehart Jr., the Trustee for the Chandler

 Trusts, one of Tribune’s largest shareholders, and a then-member of Tribune’s Board of Directors

 (the “Board”), commented in June 2006:

                 Over the past two years, Tribune has significantly underperformed
                 industry averages and there is scant evidence to suggest the next two years
                 will be any different.49

         Nevertheless, the February Projections predicted that Tribune’s operating cash flow

 would actually increase by $134 million between 2007 and 2008, and would continue increasing

 over the course of the next several years.50 The February Projections were also back-end loaded

 for 2007, meaning that the Company set a relatively low bar for its performance in the first

 quarter of 2007, but increased its performance expectation for the second half of the year.

 Specifically, while the first quarter of the year called for Tribune’s Publishing segment to lag its

 2006 performance by negative 14.7%, and the second quarter called for Tribune’s Publishing

 segment to trail its 2006 performance by negative 7.2%, the latter half of the year required

 Tribune’s Publishing segment to exceed its 2006 performance by 2.4%.51

         The Company’s actual operating performance in the months leading up to the LBO failed

 to meet even the relatively modest projections set forth in the February Projections for early

 2007.52 As of May 2007, right before Step One closed, year-to-date operating cash flow for the

 publishing segment was 11.5% lower than projected, and 21.5% lower than the 2006 actual

 results.53 And the Company’s six largest newspapers, which were responsible for 91% of the

 operating cash flow generated by the Company’s publishing segment, were faring even worse.



 48
    NPP 144 (3/23/07 Morgan Stanley “The Publishing Handbook”) at 116-118.
 49
    NPP 136 (6/13/06 Chandler Trusts letter).
 50
    3/18/11 Trial Tr. 33:6-23 (Tuliano); NPP 944 (Tuliano Rpt.) at 65.
 51
    NPP 944 (Tuliano Rpt.) at 64-65.
 52
    See NPP 944 (Tuliano Rpt.), Figs. 8 & 9 at 61-62.
 53
    NPP 944 (Tuliano Rpt.) at 65-66.


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 Operating cash flow for these newspapers was nearly 14% off of the 2007 business plan as of

 May 2007, and 23.6% off of their 2006 results.54

         The negative variances to management’s projections and 2006 actual performance were

 not only of great magnitude, they were also recurring every month.55 Moreover, Black stated in

 an affidavit submitted prior to the Step One close (and confirmed at trial) that the Company’s

 performance in the first three months of the year was “substantially below” the February

 Projections, and closer to the Company’s “Downside Case B”—which predicted a 3% annual

 decline in publishing segment advertising revenue and a 1% annual decline in operating cash

 flow for the broadcasting segment—and that the Company “continued to decline in April.”56

         During this time frame—prior to the close of Step One—the Company’s management and

 advisors, as well as the LBO Lenders, were rightly alarmed by the Company’s deteriorating

 performance in light of the planned LBO. As early as February 21, 2007, Daniel Kazan, Vice

 President of Corporate Development at the time, noted that “we are already halfway towards not

 being able to meet that [solvency] covenant.”57 Christina Mohr, a Managing Director at

 Citigroup noted that Tribune’s then Chief Executive Officer was becoming “nervous . . . given

 the weakness in the business (down 5% in February, and 9% in January),” and that “certain

 members of publishing management were concerned that they could have covenant issues later

 in the year if the current business trajectory continues.”58 Persily of Citibank echoed this

 concern, stating “[d]eclining ebitda is scary . . . I’m very concerned.”59 And at Merrill Lynch,




 54
    Id. at Fig. 13 at 66.
 55
    Id. at 71.
 56
    NPP 2314 (5/10/07 Black Declaration) at 15, n.22; NPP 944 (Tuliano Rpt.) at 115. 3/9/11 Trial Tr. 272:20-24,
 273:24-274:7 (Black).
 57
    NPP 204 (2/21/07 email between D. Kazan (Tribune) and C. Bigelow (Tribune)) at TRB0047811.
 58
    NPP 225 (3/5/07 email between T. Whayne (Morgan Stanley) and P. Taubman (Morgan Stanley)) at MS_148413.
 59
    NPP 1232 (3/22/07 email between J. Persily (Citi) and C. Mohr (Citi)) at CITI-TRIB-CC 00026917.


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 Michael Costa stated in early March that “in light of recent operating performance” there was

 “no comfort inputting the kind of leverage necessary for Zell proposal to work. . .”60

                 3.      Given The Publishing Industry’s Secular Decline And The
                         Company’s Performance, The February Projections Could Not Be
                         Reasonably Relied Upon At The Step One Close

         Given the long-term secular decline that the publishing industry was experiencing in

 2007 and the Company’s performance in the first five months of the year, the February

 Projections could no longer be relied upon by the time of the Step One close. In order to meet

 the 2007 results set forth in the February Projections, the Company would have had to not only

 significantly exceed its 2006 performance in the latter half of the year, but also to recoup the

 prior deficiencies in its performance.61 This was virtually impossible. The Company’s six

 largest newspapers were performing so poorly during the first five months of 2007 that during

 the remaining seven months they would have had to achieve a staggering 44.5% increase in

 average weekly cash flow in order to meet the 2007 plan, with the Orlando Sentinel—which was

 responsible for 10% of the Company’s operating cash flow in 2006—needing to achieve as much

 as a 73.4% increase in weekly cash flow.62

         As Tuliano testified, “there was absolutely no basis whatsoever to support that magnitude

 of an increase. . . . You were looking at the Mount Everest climb, if you will, in terms of being

 able to achieve the 2007 plan as we approached Step One. . . .”63 Indeed, evidence shows that

 the LBO Lenders themselves did not believe that the February Projections were reasonable, with




 60
    NPP 236 (3/10/07 email between M. Costa (Merrill Lynch) and P. Taubman (Morgan Stanley)) at ML-TRIB-
 0605960.
 61
    3/18/11 Trial Tr. 36:7-13 (Tuliano).
 62
    Id. at 38:10-24, 40:8-25 (Tuliano); NPP 2478 (Tuliano Trial Demonstratives) at 11-12.
 63
    Id. at 38:25-41:9 (Tuliano).


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 Persily of Citigroup testifying “throughout this, no matter what time, we didn’t believe the

 Company’s projections were achievable.”64

          Additionally, “[t]he rule, even in criminal cases, is that, if a party has it particularly

 within its power to produce witnesses whose testimony would elucidate the transaction, the fact

 that he does not do it creates the presumption that the testimony, if produced, would be

 unfavorable.”65 Here, the DCL Plan Proponents did not present any evidence at trial showing

 that the February Projections could reasonably be relied upon at Step One. Indeed, the Company

 failed to present a single witness to testify to the reasonableness of the February Projections.

 Fischel also declined to opine in support of the February Projections, testifying that he “ha[s] no

 expertise in the reasonableness of management’s projections.”66 Black also lacks the expertise

 necessary to offer an opinion on the reasonableness (or lack thereof) of the February

 Projections,67 but even he acknowledged that it “would be a challenge in the near term for

 Tribune to meet its own projections,” stating only that “it still might be reasonable to rely on . . .

 the consensus of analysis estimates, which was below Tribune’s own plan. . . .”68

                   4.       The October Projections Could Not Be Relied Upon At The Step Two
                            Close

          There is overwhelming, unrebutted evidence in the record that the October Projections

 were patently unreasonable and could not be relied upon at the time of the Step Two close. To

 make up for the materially lower 2007 base-year performance, the October Projections


 64
    Persily Dep. Tr. 92:10-17; Sarnobat Dep. Tr. 140:16-141:12.
 65
    Graves v. United States, 150 U.S. 118, 14 S.Ct. 40, 37 L.Ed. 1021 (1983) (cited with approval in United States v.
 Am. Radiator & Standard Sanitary Corp., 433 F.2d 174, 206 (3d Cir. 1970)).
 66
    3/10/11 Trial Tr. 146:13-17, 165:6-12 (Fischel).
 67
    Black does not have any degrees in finance or accounting, has never acted as a financial consultant or advisor, has
 no accounting or valuation credentials, has never been qualified by a court as an expert in valuation, and testified
 that preparing a valuation would be “beyond [his] comfort zone.” 4/12/11 Trial Tr. 118:10-122:9 (Black). Indeed,
 this Court denied the DCL Plan Proponents’ request that Black be qualified as an expert on valuation and solvency.
 4/12/11 Trial Tr. 123:12-22 (Black).
 68
    3/10/11 Trial Tr. 46:17-21 (Black).


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 significantly and unrealistically increased the compound annual growth rate embedded in the

 plan.69 Specifically, the October Projections erroneously assumed that the consolidated growth

 rate of 2.4% from 2011 to 2012 — a year in which advertising revenues were forecast to spike

 due to the presidential election — would be replicated each and every year from 2013 through

 2017.70 This election-year-inspired extrapolation resulted in growth rates that were projected to

 be five times greater than the growth rate projected by management just eight months earlier.71

 As Tuliano concluded, there was absolutely “no basis for that increase in growth rate.”72

 Similarly, the Examiner found that the growth rate assumption was not only “unjustifiable,”73 but

 bore the hallmark of a “conscious effort to counterbalance the decline in Tribune’s 2007 financial

 performance and other negative trends in Tribune’s business, in order to furnish a (very

 significant) source [$613 million] of additional value to support a solvency conclusion.”74

         Further, the Examiner and Tuliano both found that Tribune’s expectations regarding the

 growth of its interactive business were particularly questionable.75 As noted by Stinehart of the

 Chandler Trusts in 2006, the Company’s expectation of “growth through Internet initiatives . . .

 ha[d] little credibility . . .”76 Additionally, Timothy Landon, the head of the Company’s

 interactive division at the time of the LBO, told the Examiner that he “would have expected the

 October forecast [for interactive] to be flat or lower” than the February Projections, and

 “expressed surprise when the Examiner pointed out that Tribune’s October forecast assumed




 69
    3/18/11 Trial Tr. 48:9-23 (Tuliano).
 70
    NPP 782 (Exam’rs Rpt.), Vol. II at 54.
 71
    Id. at Vol. II at 55.
 72
    3/18/11 Trial Tr. 48:9-23 (Tuliano).
 73
    NPP 782 (Exam’rs Rpt.), Vol. II at 54.
 74
    Id. at Vol. II at 54-55.
 75
    Id. at Vol. II at 59-61.
 76
    NPP 136 (6/13/06 Chandler Trusts letter).


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 significant increases in growth in interactive after 2009 ahead of what was projected in

 February.”77

          The DCL Plan Proponents failed to provide any fact or expert testimony showing why it

 was reasonable for the Company to believe that its growth prospects were materially more

 favorable in October 2007 than they were in February 2007, or to explain the basis for its

 significantly increased optimism for the interactive segment.

           B.       Intentional Fraudulent Conveyances

          In assessing whether a transferor acted with “actual intent to hinder, delay, or defraud”

 under Bankruptcy Code section 548, courts look for various “badges of fraud” that include: (1)

 the relationship between the parties to the transaction; (2) consideration for the conveyance; (3)

 insolvency or indebtedness of the debtor; (4) how much of the debtor’s estate was transferred; (5)

 reservation of benefits, control or dominion by the debtor; and (6) secrecy or concealment of the

 transaction.78 No one badge of fraud is required to establish an intentional fraudulent transfer.79

 In addition, in the context of leveraged buyouts, the “badges of fraud” analysis is supplemented

 with a determination of the “natural consequence” of the debtor’s actions.80 If the “natural

 consequence” of the debtor’s actions is that its creditors will be hindered, delayed, or defrauded,

 a court is more likely to find that an intentional fraudulent transfer occurred.81



 77
     NPP 782 (Exam’rs Rpt.), Vol. II at 59-60.
 78
     See Geltzer v. Artists Mktg. Corp. (In re Cassandra Grp.), 338 B.R. 583, 598 (Bankr. S.D.N.Y. 2006); see also
 NPP 2474 (NPP Objection) at 63-65 (summarizing legal standards for intentional fraudulent conveyance claims).
 Bankruptcy Code section 548 provides that a transfer can be avoided if the transferor “made such transfer or
 incurred such obligation with actual intent to hinder, delay, or defraud any entity to which the debtor was or became
 . . . indebted . . . .” 11 U.S.C. § 548 (a)(1)(A).
 79
     See NPP 2474 (NPP Objection) at 65; In re Manhattan Inv. Fund Ltd., 397 B.R. 1, 10 n.13 (S.D.N.Y. 2007)
 (“‘badges of fraud are not a prerequisite to a finding of actual fraudulent intent’”) (quoting In re Actrade Financial
 Technologies Ltd., 337 B.R. 791, 809 (Bankr. S.D.N.Y. 2005)); see also Fisher v. Sellis (In re Lake States
 Commodities, Inc.), 253 B.R. 866, 871 (Bankr. N.D. Ill. 2000) (“The focus in the inquiry into actual intent is on the
 state of mind of the debtor. Neither malice nor insolvency are required.”).
 80
     See United States v. Tabor Court Realty Corp., 803 F.2d 1288, 1305 (3d Cir. 1986).
 81
     See, e.g., id.


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                  1.      The Company Engaged In Intentional Fraud At Step One

         There is now considerable evidence in the record of multiple badges of fraud supporting a

 finding that Step One was an intentional fraudulent conveyance. As described in more detail in

 below, the evidence clearly demonstrates that the Company received less than reasonably

 equivalent value in connection with Step One of the LBO and could not satisfy any of the

 financial condition tests provided in Section 548(a)(1)(B)(ii). This not only constitutes an

 important badge of fraud, but also makes evident that the “natural consequence” of Step One was

 to render the Company insolvent. Indeed, presentations prepared by Citigroup and Morgan

 Stanley in their capacity as advisors to the Company and the 2007 Special Committee of the

 Board of Directors, respectively, showed that the Company’s implied total enterprise value

 following Step One would be approximately $1 billion less than the total debt the Company was

 expected to have following consummation of the LBO.82

         In addition, the evidence shows that the LBO was founded on misleading financial

 projections which the Company knowingly prepared and continued to rely upon to procure

 solvency opinion from its advisor, Valuation Research Corporation (“VRC”), which was a

 condition to closing. The Company’s failure to update the February Projections in advance of

 the Step One closing is a particularly striking example of intentional misconduct. As discussed

 in Section II(A), above, the Company was indisputably aware that its 2007 performance was

 lagging far behind the February Projections well in advance of the Step One closing. Moreover,

 according to the Company’s newly appointed CEO, Eddie Hartenstein, the “responsible way to

 forecast” —and the Company’s ordinary practice—is to update financial projections based upon




 82
   NPP 1296 (4/1/07 Draft Presentation to the Board) at MS 00014, 15, 34; NPP 318 (3/30/07 Board Presentation
 prepared by Merrill Lynch and Citi) at ML-TRIB-0386903; NPP 2474 (NPP Objection) at 67-68.


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                                                      A728
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 “the most recent information available” as soon as such information becomes available.83

 Making matters worse, the evidence suggests that the Company did downwardly revise its

 projections internally even before the close of Step One, but chose not to disclose these

 revisions. E-mails from April 12, 2007 between Amsden and another Company employee

 reference “new ‘projections’ which are a new look at the full year numbers,”84 but indicate that

 Amsden was reluctant to disclose them because of “potential legal concerns with doing that.”85

          Additionally, evidence shows that Company management knew the February Projections

 were fraudulently inflated even before the Company’s material underperformance. For example,

 the projections assumed that the Company would receive cash income from its joint ventures,

 notwithstanding that, historically, this was not the case. Indeed, in an email with the subject line

 “Joint Venture Cash Distributions,” Peter Knapp, the Company’s publishing group controller,

 wrote “we need to start having the cash generated at our joint ventures come back to us because

 that is what we are assuming in the model.”86 Landon, of Tribune Interactive, responded shortly

 thereafter, remarking that such an assumption was “unrealistic” and inconsistent with the

 Company’s actual intention:

                   Not sure our other partners will be supportive of this. Certainly management will
                   not be. This is a really tricky conversation and it would seem we have set very
                   unrealistic expectations.87

          Landon stated further that “the first time I was aware that we were expected to take cash

 distributions for [sic] the ventures [was] in the last month,” and remarked that the assumption

 was “pretty inconsistent with the conversations [the Company] was having” with one of its joint

 83
    3/14/11 Trial Tr. 150:4-8, 149:1-150:3 (Hartenstein) (testifying that “the responsible way to forecast” is to ensure
 that projections are updated promptly, and observing that Debtors updated their 2011 business plan in January 2010
 within one week of receiving information indicating that the Company’s operating performance was deviating from
 forecasts in the plan).
 84
    NPP 373 (4/12/07 email between M. Sotir (EGI) and N. Larsen (EGI)) at EGI-LAW 00063610.
 85
    NPP 372 (4/12/07 email between H. Amsden (Tribune) and M. Sotir (EGI)) at EGI-LAW 00063609.
 86
    NPP 1522 (8/23/07 email between P. Knapp and C. Bigelow) at TRB0198692.
 87
    NPP 1532 (9/1/07 email between D. Kazan and T. Landon et al.) at TRB0200824 (emphasis added).


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 venture partners.88

         The Company also appears to have massaged its expense data. For example, in

 December 2006, Kazan questioned the capital expenditure forecast contained in the February

 Projections:

                 On the capex, we don’t really have an explanation for the $35 million reduction
                 (which, by the way, was spread over Pub, Broadcasting and Corporate), so I
                 wouldn’t highlight this – just begs someone to ask why and we don’t really have
                 an answer.89

         In addition to management knowing full-well that the February Projections were

 unfounded, the evidence shows that they were also aware that the LBO would leave the

 Company with no equity cushion. A March 24, 2007 internal email to the Company’s then Chief

 Financial Officer, Chandler Bigelow, questioned whether this could be the case, stating:

                 [W]e have a pretty narrow band for success under the ESOP – i.e. if we are off
                 plan by 2% we have no value in the ESOP for 5 years. Are there other dynamics
                 at work I don’t understand?90

         Bigelow acknowledged that the assessment was correct, answering “if we hit the down 2

 case there is no equity value in the first 5 yrs.”91 Incredibly, at the time of Step One, the

 Company was performing materially worse than the “down 2 case,” and yet the Company still

 proceeded with the LBO.92

                 2.      The Company Engaged In Intentional Fraud At Step Two

         There is overwhelming evidence that the Company’s senior financial management

 intentionally concealed the Company’s true financial condition in the months leading up to Step

 Two, and made knowing misrepresentations regarding the Company’s ability to refinance its


 88
    Id. at TRB0200823.
 89
    NPP 1045 (12/1/06 email between D. Kazan and R. Kurmaniak) at CITI-TRIB-CC 00059764.
 90
    NPP 259 (3/24/07 email between J. King and C. Bigelow).
 91
    NPP 259 (3/24/07 email between J. King and C. Bigelow); NPP 944 (Tuliano Rpt.) at 116.
 92
    NPP 2314 (5/10/07 Black Declaration) at 15, n.22.


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                                                    A730
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 debt, all as part of a fraudulent scheme to procure the solvency opinion that was a fundamental

 condition of the Step Two closing.93 As the Examiner concluded, it is simply “implausible that

 members of Tribune’s senior financial management believed in good faith that the out-year

 growth assumption contained in the October 2007 forecast (or the related Tribune representation

 letter) represented a reasonable estimate of Tribune’s future performance.”94

          Even the patently unreasonable October Projections, however, showed that the Company

 would face significant cash shortfalls in 2014 and 2015 unless it could refinance its debt.95 VRC

 was deeply “concerned about refinancing risk” and sought a representation that Morgan Stanley,

 the financial advisor to the Company’s Special Committee purportedly overseeing the LBO,

 concurred that “it is reasonable to assume that we will be able to refinance the new debt in 2014

 even in the downside.”96 When Morgan Stanley refused to provide the representation, the

 Company’s senior management simply lied.97

          For example, Bigelow and Grenesko misrepresented to both VRC and the LBO Lenders

 that Morgan Stanley agreed that the Company could refinance its debt in a downside scenario,

 and delivered a final refinancing letter that stated that management’s belief that the refinancing

 assumption was reasonable was “[b]ased on . . . [its] recent discussions with Morgan Stanley. . .

 .”98 In fact, however, representatives of Morgan Stanley have stated that they told the Company



 93
    As with Step One, it is clear that there was “a close relationship” among the parties to Step Two, that the Debtors
 did not receive reasonably equivalent value in Step Two in exchange for the obligations incurred and payments
 made, and that Step Two rendered the company insolvent. These facts constitute three important badges of fraud,
 and also show that the natural consequence of Step Two was to hinder, delay or defraud the Company’s pre-LBO
 creditors.
 94
    NPP 782 (Exam’rs Rpt.), Vol. II at 63.
 95
    NPP 944 (Tuliano Rpt.) at 49.
 96
    NPP 614 (12/2/07 email between C. Kenney (Tribune) and D. Grenesko (Tribune)) at TRB0448465); NPP 944
 (Tuliano Rpt.) at 50.
 97
    Id. at TRB0448465-66); NPP 944 (Tuliano Rpt.) at 50; NPP 782 (Exam’rs Rpt.), Vol. II at 42-43.
 98
    NPP 611 (12/7/07 Browning Memorandum) at TRB0398562; Exam’rs Sworn Interview of Mose Rucker and
 Bryan Browning, dated June 30, 2010, at 214:10-215:13; NPP 782 (Exam’rs Rpt.), Vol. I at 585-86 (citing
 handwritten Notes of representatives of Murray Devine and the LBO Lenders); NPP 1052 at JPM_00499993-96


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                                                         A731
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 explicitly that it could not rely on Morgan Stanley in making a refinancing assumption, did not

 know that the Company was representing that it had relied on Morgan Stanley for this purpose,

 and did not know that the Step Two refinancing representation letter would refer to Morgan

 Stanley.99 As the Examiner concluded, this and other evidence of management’s misconduct in

 the months leading up to the Step Two close fit within the “general rubric of secrecy,

 concealment, or dishonesty,” show that the procurement of the Step Two solvency opinion was

 “marred by dishonesty and lack of candor,” and “support the conclusion that the Step Two

 Transactions were intentionally fraudulent transfers.”100

          C.       Constructive Fraudulent Transfer At Step One

         Transfers and obligations are constructively fraudulent under Bankruptcy Code section

 548 if the debtor received less than reasonably equivalent value, and any one of the financial

 condition tests are satisfied. Here, the evidence shows that, as the Examiner discussed at length,

 the Company did not receive reasonably equivalent value for the transfers made and the

 obligations incurred at Step One and Step Two,101 and that at each of these steps, the Company

 was balance sheet insolvent, inadequately capitalized and unable to pay its debts as they became

 due at each of Step One and Step Two.102




 (JPM Handwritten Notes); NPP 1855 (Tribune Board Presentation) at ML-TRIB-0009950; NPP 782 (Exam’rs
 Rpt.), Vol. I at 511-12, 588; NPP 1841 (Handwritten Notes of T. Kenny) at MD 000550A.
 99
    Exam’rs Sworn Interview of Thomas Whayne, dated July 2, 2010, at 140:1-8 (Thomas Whayne, a Managing
 Director at Morgan Stanley, stated that if he had known, he would have told the Company to “take our name out.”);
 NPP 782 (Exam’rs Rpt.), Vol. I at 578.
 100
     NPP 782 (Exam’rs Rpt.), Vol. I at 10, Vol. II at 35-36.
 101
     NPP 782 (Exam’rs Rpt.), Vol. II at 90-127.
 102
     11 U.S.C. § 548(a)(1)(B); see NPP 2474 (NPP Objection) at ¶¶ 146-204.


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                   1.       The Evidence Shows That A Court Would Consider The Step Two
                            Debt When Analyzing The Company’s Financial Condition At Step
                            One

                            a.       The Step Two Debt Should Be Considered In A Step One
                                     Balance Sheet Test

          As discussed in greater detail in the NPP Objection,103 “[t]he Third Circuit has recognized

 that multi-step transactions . . . can be collapsed when the steps of the Transaction are ‘part of

 one integrated transaction.’”104 As noted by the Examiner, when assessing whether to collapse a

 transaction, a court should “look beneath a transaction’s surface until the substance is

 reached.”105 Thus, in assessing balance sheet solvency, rather than analyzing pieces of an

 integrated transaction individually, courts consider the totality of the obligations incurred and the

 overall financial consequences those transactions have on creditors, even in instances where

 separate steps of the transactions are separated by many months.106 Factors that this Court has

 considered in determining whether to analyze separate steps of a transaction together are:

 (i) whether all of the parties involved had knowledge of the multiple transactions; (ii) whether

 each transaction would have occurred on its own; and (iii) whether each transaction was

 dependent or conditioned on other transactions.107

          It is undisputed that the parties “had knowledge” of Step One and Step Two from their

 inception. Moreover, a panoply of evidence shows that the market accurately viewed Step One

 and Step Two as part of a single, integrated transaction, designed to allow the Company to


 103
     NPP 2474 (NPP Objection) at 83-91.
 104
     Liquidation Trust of Hechinger Inv. Co. of Del. Inc. v. Fleet Retail Fin. Grp. (In re Hechinger Co. of Del.), 327
 B.R. 537, 546 (Bankr. D. Del. 2005) (quoting Tabor Court, 803 F.2d at 1302).
 105
     NPP 782 (Exam’rs Rpt.), Vol. II at 173.
 106
     See Mervyn’s Holdings, LLC v. Lupert-Adler Grp. IV, LLC (In re Mervyn’s Holdings, LLC), 426 B.R. 488, 497
 (Bankr. D. Del. 2010) (in fraudulent transfer action, collapsing various transactions integral to LBO of parent
 corporation’s former subsidiary that had “devastating” financial consequences on creditors); Orr v. Kinderhill Corp.,
 991 F.2d 31, 35-36 (2d Cir. 1993) (combining sale of properties made over the course of nine months with
 subsequent distribution to shareholders).
 107
     Id. at 497-98; Hechinger, 327 B.R. at 546-47.


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 become a privately held company that could reap the tax benefits afforded to an S Corporation

 wholly-owned by an employee stock benefits plan (“S Corp/ESOP”).108 For example, an internal

 Bank of America “Deal Screen Memorandum” dated March 5, 2007 listed the tax benefits and

 potential reduction in capital gains taxes from future asset sales resulting from the Company’s S

 Corp/ESOP structure, none of which would occur until the close of Step Two, as the first items in

 the “Transaction Rationale” for the LBO.109 In addition, Moody’s Investors Service called the S-

 Corp election “a critical component of the company’s plan,” noting that “[t]he tax-free status and

 the effective elimination of the significant amount of deferred tax liabilities . . . is a critical

 mitigating factor to the minimal amount of equity and is thus a key assumption factored into”

 Moody’s rating.110

         Moreover, the primary reason that the transaction was consummated in two steps was

 because Tribune’s large shareholders would not agree to vote in favor of the LBO unless it

 provided an upfront payment to shareholders that was not delayed by the regulatory approval

 necessary to complete the transaction.111 As the Examiner noted, “had there been a way to

 structure the transactions so that only one giant step were necessary, the transaction would have

 been structured accordingly.”112 Thus, the evidence shows that neither of the two steps was

 intended to occur on its own, and each was designed to be dependent on the other. For example,

 it cannot be disputed that:




 108
     NPP 228 (3/5/07 Deal Screen Memorandum) at 3; NPP 245 (3/20/07 email between D. Kazan (Tribune) and D.
 Grenesko (Tribune)); NPP 303 (3/29/07 letter between J. Puchalla (Moody’s) and D. Grenesko (Tribune)) at 2.
 109
     Id. at 3.
 110
     NPP 303 (3/29/07 letter between J. Puchalla (Moody’s) and D. Grenesko (Tribune)) at 2.
 111
     NPP 392 (4/26/07 JPM Lenders’ Meeting Transcript) at JPM_00052672-73; NPP 399 (5/3/07 BOA Credit
 Approval Report) at BOA-TRB-0013039; NPP 782 (Exam’rs Rpt.), Vol. II at 174.
 112
     NPP 782 (Exam’rs Rpt.), Vol. II at 174.


                                                      24
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                 the Step One Commitment Letter and the Step Two Commitment Letter were
                  executed at the same time and obligated the parties to provide the requisite
                  financing to permit Step Two to occur;113

                 the Merger Agreement, executed at Step One, required the Company to exercise
                  reasonable best efforts to effect both Step One and Step Two of the LBO;114

                 the Board approved both Steps One and Two at the same time, indicating that the
                  Board intended both steps to be part of one integrated transaction;115

                 the Step One Commitment Letter and the Step Two Commitment Letter cross-
                  referenced each other, and the Step One Commitment Letter made the execution
                  and delivery of the Merger Agreement without waiver, amendment or
                  modification a condition precedent to the initial borrowing under each of the Step
                  One Financing Documents (as defined in the Commitment Letters);116

                 the Step One Commitment Letter, Step Two Commitment Letter, and Senior Loan
                  Agreement explicitly conditioned the borrowing under these facilities on the
                  continued existence of the financing commitments (for both Step One and Step
                  Two) set out in the Merger Agreement;117

                 the fairness opinions on shareholder consideration issued by Merrill Lynch and
                  Morgan Stanley, on which the Board relied in approving the LBO in April 2007,
                  evaluated and referred to the Merger Agreement as the governing document and
                  considered share acquisitions at Step One and Step Two together;118 and

                 the Company’s press release announcing the deal prior to the close of Step One
                  referred to the LBO as a “two-stage transaction,” and explained that, “[u]pon
                  completion of the transaction, the company will be privately held, with an
                  Employee Stock Ownership Plan (ESOP) holding all of Tribune’s then-
                  outstanding common stock.”119

         The LBO Lenders’ documents and communications are in line with this evidence. For

 example, all of the LBO Lenders analyzed the LBO, which they referred to as a “two-step

 transaction,” as one transaction, and sought internal approval to participate in both steps in


 113
     Id. at Vol. I at 134 & Vol. II at 171.
 114
     Id. at Vol. I at 139 & Vol. II at 168.
 115
     Id. at Vol. I at 134 & Vol. II at 168.
 116
     NPP 1335 (4/5/07 Amended & Restated First Step Commitment Letter); NPP 1336 (4/5/07 Amended & Restated
 Second Step Commitment Letter).
 117
     NPP 1332 (4/5/07 Amended & Restated First Step Fee Letter) at ML-TRIB-0000851.
 118
     DCL 757 (4/1/07 Morgan Stanley Opinion Letter).
 119
     NPP 782 (Exam’rs Rpt.), Vol. I at 135 & Vol. II at 168-69; see also NPP 215 (3/1/07 Project Tower Presentation)
 at 37.


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                                                       A735
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 advance of Step One.120 Moreover, a senior member of the Merrill Lynch team commented that

 the ratings agencies would “immediately rate Tribune for the entirety of the buyout transaction

 when the purchase agreement is signed,” noting that JPMorgan, Citigroup and Merrill Lynch

 “would commit to both steps in order to ensure financing for the whole transaction.”121

         The Examiner concluded that “although the question admittedly is close . . . a court is

 somewhat unlikely to collapse Step One and Step Two for [a balance sheet] solvency

 analysis.”122 This conclusion is based primarily on the Examiner’s assessment that although the

 first two factors of the three-prong test developed in Mervyn’s are satisfied, the third factor—

 whether the two steps were mutually dependent or conditioned on one another—is not, because

 there were limited outs to closing Step Two.123 The Noteholder Plan Proponents posit, however,

 that the Examiner erred in finding that the existence of the limited conditions to closing Step

 Two would cause a court to conclude that collapsing is not warranted. While the cases

 addressing collapsing make clear that courts will consider all three of the factors established in

 Mervyns, none hold that each must be satisfied in order for collapsing to be appropriate.124

                           b.      The Step Two Debt Should Be Considered In Assessing The
                                   Company’s Capital Adequacy And Ability To Pay At Step One

         The Step Two debt should also be considered in assessing the Company’s capital

 adequacy at Step One, given that, as the Examiner noted, a capital adequacy assessment requires

 a forward-looking analysis. At the time of Step One, Step Two was at a minimum “highly

 120
     NPP 218 (3/1/07 Tribune Rating Agency Presentation) at MS 48333; NPP 399 (BOA Credit Approval Report) at
 5-7; NPP 435 (5/17/07 Leveraged Finance Final Approval Memorandum) at 2, 5-6; NPP 451 (JPM Tribune
 Transaction Proposal) at 4-6, 12-16; NPP 1256 (3/28/07 Citigroup Leveraged Finance Final Approval Memo
 Update) at 2-3; NPP 1387 (5/3/07 BAS Credit Approval Report) at 5-7; NPP 1534 (Tribune Problem Exposure
 Report) at ML-TRIB-0216120-21; NPP 782 (Exam’rs Rpt.), Vol. II at 178.
 121
     NPP 1166 (3/6/07 email between T. Kaplan and C. Kim) at 1.
 122
     NPP 782 (Exam’rs Rpt.), Vol. II at 182.
 123
     Id. at Vol. II at 173.
 124
     Mervyn’s Holdings, 426 B.R. at 497 (citing Hechinger, 327 B.R. at 546-47)). See Tabor Court Realty Corp., 803
 F.2d at 1302 (concluding that two loans should be treated as “one integrated transaction” by focusing on the
 knowledge and expectations of the lender, not on whether the loans were dependent or conditioned on one another).


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 likely” to occur.125 Thus, as the Examiner found, the Step Two debt must be included when

 analyzing whether the Company would be able to service its liabilities at Step One.126

          The Step Two debt should also be included in assessing the Company’s ability to pay its

 debts as they become due at Step One, which is, once again, consistent with the Examiner’s

 conclusions.127 The plain language of Bankruptcy Code section 548(a)(2)(B)(iii) explicitly

 requires consideration of obligations that the debtor “[i]ntended to incur, or believed [it] would

 incur.”128 Thus, “it is necessary to consider . . . the Step Two Debt” when conducting this

 analysis.129

                   2.       The Company Was Balance Sheet Insolvent At Step One

          The extensive analysis conducted by Tuliano, who holds credentials in public accounting,

 valuation analysis and financial forensics, and has been involved in approximately 100

 fraudulent conveyance cases,130 shows that when the Step Two debt is considered, a court would

 find that the Company was balance sheet insolvent at Step One, even if management’s

 unreasonable February Projections are used to perform the analysis. Tuliano’s application of

 widely-accepted valuation techniques shows that the Company’s debt exceeded the fair market

 value of its assets as of June 4, 2007 by $2.3 billion, when using the February Projections.131 To

 reach this conclusion, Tuliano used both a discounted cash flow (“DCF”) approach, to which he




 125
     NPP 782 (Exam’rs Rpt.), Vol. II at 184; NPP 782 (Exam’rs Rpt.), Vol. I at 285; NPP 1284 (3/30/07 Special
 Committee Meeting Minutes) at 1-2; Persily Dep. Tr. 268:2-17.
 126
     The Examiner concluded that “a court is highly likely to consider all obligations that were reasonably foreseeable
 at the time of Step One, including those caused by Step Two.” Id. at Vol. II at 183.
 127
     Id. at Vol. II at 187.
 128
     11 U.S.C. § 548(a)(2)(B)(iii).
 129
     NPP 782 (Exam’rs Rpt.), Vol. II at 184.
 130
     3/18/11 Trial Tr. 17:12-20:4 (Tuliano).
 131
     NPP 944 (Tuliano Rpt.) at 8; 3/18/11 Trial Tr. 66:3-16 (Tuliano).


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 applied a 67% weighting, and a comparable company, or market, approach, to which he applied a

 33% weighting.132

         Given the unreasonableness of the February Projections, Tuliano also conducted a

 balance sheet solvency analysis using projections that were adjusted to reflect information

 known to Company management prior to the Step One close (the “Step One Adjusted

 Projections”). Tuliano adjusted management’s projections by using actual results through May

 2007, and then applying the cumulative month-over-month growth rates set forth in the 2007

 plan for the remainder of the year. As Tuliano noted, “[t]his is the type of analysis that could

 have been done very easily by the company.”133 Moreover, despite the fact that the growth rates

 embedded in the February Projections were highly optimistic, Tuliano gave management “the

 benefit of the doubt with respect to those growth rates,” by adopting them in his Step One

 Adjusted Projections.134 When the Step One Adjusted Projections are used, Tuliano’s analysis

 shows that the Company was insolvent at Step One by $3.0 billion.135

         Tuliano also conducted a separate balance sheet solvency analysis of Tribune’s

 subsidiaries at Step One using both the February Projections and the Step One Adjusted

 Projections.136 In so doing, Tuliano corrected the Examiner’s mistake of including the Chicago

 Cubs as a parent asset, by attributing the value of that asset to Tribune’s subsidiaries.137 Based

 on this analysis, Tuliano concluded that Tribune’s subsidiaries were insolvent by $206 million

 132
     Tuliano underweighted the market approach because – as recognized by the Examiner – the trading multiples of
 the Company’s comparable companies at the time were inflated. 3/18/11 Trial Tr. 55:17-56:20 (Tuliano).
 Nevertheless, Tuliano used the median EBITDA multiple of the comparable companies analysis, notwithstanding
 that the multiples were inflated, and that the Company underperformed most of them. 3/18/11 Trial Tr. 63:8-64:4
 (Tuliano).
 133
     3/18/11 Trial Tr. 44:15-45:7 (Tuliano).
 134
     Id. at 45:15-21 (Tuliano).
 135
     NPP 944 (Tuliano Rpt.) at 8.
 136
     To determine the value of Tribune’s subsidiaries, Tuliano began with his value conclusion for the consolidated
 Company, and then deducted the fair market value of the assets belonging solely to the Tribune parent company, as
 well as the debt for which only the parent company was liable. 3/18/11 Trial Tr. 66:17-67:3 (Tuliano).
 137
     Id. at 67:8-12 (Tuliano).


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 when the February Projections were used, and by $949 million when the Step One Adjusted

 Projections were used.138

                   3.       The DCL Plan Proponents Have Not Rebutted The Evidence Showing
                            Balance Sheet Insolvency At Step One

          Fischel testified that the Company was balance sheet solvent at Step One. In order to

 reach this conclusion, however, he deviated significantly from well-accepted valuation

 methodology, employing techniques that Tuliano, in his more than 20 years as a valuation

 professional, has never before seen.139 Thus, Fischel’s analysis disregards many of the standards

 by which the valuation community abides, and appears particularly result-oriented.

          Perhaps the most egregious of Fischel’s errors is his application of “real economic value”

 to assess the Company’s balance sheet solvency, and his decision to include within “real

 economic value” the tax benefits arising from the Company’s conversion to an S Corp/ESOP.140

 Widely-recognized principles of solvency and valuation recognize that “fair market value”

 (which is also referred to as “fair value”) should be used to assess balance sheet solvency,141 and

 that tax benefits associated with an S Corp/ESOP structure should not be included within a

 balance sheet solvency analysis:

                   the definition of fair market value, when considered with respect to the S
                   Corporation ESOP, does not confer value from the ESOP tax structure on
                   the value of the subject stock. While it is true that the ESOP receives an
                   economic advantage that translates to additional value for the participants,
                   this economic benefit does not confer additional value on the stock itself.
                   Only another special-purpose buyer (e.g. another S Corporation ESOP)




 138
     Id. at 66:17-67:6 (Tuliano); NPP 944 (Tuliano Rpt.) at Ex. III.
 139
      DCL 1106 (Fischel Rpt.) at Ex. O.
 140
      3/10/11 Trial Tr. 115:6-117:4, 138:5-139:3 (Fischel).
 141
      3/18/11 Trial Tr. 51:2-16 (Tuliano); NPP 955 (Tuliano Rebuttal Rpt.) at 12; see also 3/18/11 Trial Tr. 86:20-89:5
 (Tuliano).


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                                                         A739
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                 could enjoy the same economic advantage. Therefore, the economic
                 benefit is not part of the fair market value of the subject stock.142

         Here, VRC’s engagement letter required a specific modification of the definition of “fair

 value” in order to enable VRC to include in its solvency assessment value arising from the S

 Corp/ESOP structure.143 Bryan Browning, a managing director at VRC who has worked on 400

 to 500 solvency opinions (including the Company’s opinions), does not believe he had ever

 worked on a solvency opinion that modified the definition of fair value in that fashion.144

         Similarly, Thomas Kenny, who has been performing valuation work for more than 20

 years and is a senior vice president at Murray Devine, the solvency firm hired by the LBO

 Lenders in advance of Step Two, testified that, prior to reviewing VRC’s solvency opinion in the

 Tribune matter, he had never seen a fair value determination that included value resulting from

 unique aspects of a buyer. Kenny also testified that he “would probably say it’s not

 appropriate” to include such value.145 Kenny testified further that a balance sheet solvency test

 should assume a hypothetical buyer, and that an S Corp is not a hypothetical buyer.146 Fischel’s

 inappropriate inclusion of value arising from the Company’s S Corp/ESOP tax status in his

 balance sheet solvency test increased his value conclusion at Step One by approximately $1.0

 billion.147

         Fischel’s balance sheet solvency test is also fundamentally flawed because he

 miscalculated the amount of the Company’s PHONES Notes by ascribing a value of $663

 million, rather than the $1.256 billion face amount of the notes (less the value of the Time

 142
     NPP 782 (Exam’rs Rpt.), Vol. II at 27-28, n.87 (citing Ackerman and Gould, S Corporation ESOP Valuation
 Issues (Chapter 6) in THE HANDBOOK OF BUSINESS VALUATION AND INTELLECTUAL PROPERTY ANALYSIS at 148-49
 (Robert F. Reilly and Robert P. Schweihs, eds., 2004)).
 143
     Id. at Vol. I at 225 (citing NPP 1349 (4/11/07 VRC Solvency Engagement Letter)).
 144
     Id. at (Exam’rs Rpt.), Vol. I at 226.
 145
     Deposition of Thomas Kenny dated February 24, 2011 (“Kenny Dep. Tr.”) 13:16-23, 81:13-19, 111:7-23
 (emphasis added).
 146
     Id. at 185:8-186:2 (emphasis added).
 147
     NPP 955 (Tuliano Rebuttal Rpt.) at 26.


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 Warner shares that could be netted against the liability upon redemption).148 Fischel derived his

 number from the Company’s financial statements, which calculate the PHONES Notes using a

 mix of book and fair values pursuant to Financial Accounting Standard FAS No. 133.149

         There is no dispute, however, that the Company was required to pay the face amount of

 the PHONES Notes (less the value of the Time Warner shares) upon maturity.150 Moreover, the

 Third Circuit has held that debt should be calculated at face value for purposes of performing a

 balance sheet solvency test.151 Indeed, Fischel himself testified that he cannot recall ever valuing

 debt in the way that he valued the PHONES Notes before.152 And Kenney testified that Murray

 Devine generally uses the contractual rate (i.e. face value) to calculate debt in a balance sheet

 solvency test.153

         Additionally, both JPMorgan and Merrill Lynch used the face value of the PHONES

 Notes (minus the value of the Time Warner shares) in the solvency analyses that they prepared

 prior to Step Two, as did Blackstone, the financial advisor to the McCormick Foundation, a large

 Tribune shareholder.154 VRC valued the PHONES Notes at face value (minus the value of the

 Time Warner shares) in its Step One solvency opinion, as well as in the initial version of its Step

 Two Solvency Opinion, and adjusted the number to accounting value only at the last minute.155

 Furthermore, the Company itself considered the PHONES Notes at face value in the Statement

 148
     Id. at 13-14; 3/10/11 Trial Tr. 165:16-25 (Fischel).
 149
     NPP 672 (12/30/07 Tribune 10-K) at 43, n.10.
 150
     3/10/11 Trial Tr. 166:1-21 (Fischel).
 151
     In re Trans World Airlines, Inc., 134 F.3d 188, 196-7 (3d Cir. 1998)
 152
     3/10/11 Trial Tr. 166:16-21 (Fischel).
 153
     Kenny Dep. Tr. 138:11-20.
 154
     See NPP 625 (12/10/07 JPM Tribune Valuation Update) at JPM_00108127; NPP 634 (12/12/07 JPM Tribune
 Valuation Update) at JPM_00108134; NPP 642 (12/13/07 JPM Tribune Valuation Update) at JPM_00156034; NPP
 658 (12/18/07 JPM Tribune Valuation Update) at JPM_00155179; NPP 1830 (12/16/07 Merrill Lynch Valuation
 Analysis of Tribune) at ML-TRIB-0009936; NPP 1831 (12/16/07 Merrill Lynch Valuation Analysis) at ML-TRIB-
 0009936; NPP 446 (5/23/07 Blackstone Project Spice Presentation) at BLACKSTONE051304.
 155
     Compare NPP 1741 (12/3/07 VRC Preliminary Solvency Analysis) at VRC0060988 and NPP 1745 (12/4/07
 VRC Preliminary Solvency Analysis) at TRB0272813 (using face value to calculate PHONES Notes) against NPP
 1878 (12/18/07 VRC Preliminary Solvency Presentation) at VRC0109244-45 (using accounting value to calculate
 PHONES Notes).


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 of Facts submitted in these cases, as well as the ratings agency presentations it prepared in March

 and October 2007.156 Fischel’s miscalculation of the PHONES Notes increased his value

 conclusion at Step One by $593 million.157

          Professor Fischel also erred by calculating the Company’s terminal value by choosing an

 exit multiple from a selection of purportedly “comparable” companies, and multiplying that

 multiple by the Company’s average projected EBITDA for the years 2007-2010.158 This is

 problematic for two reasons. First, the comparable companies used by Fischel, which were

 selected solely because contemporaneous financial advisors used such companies in their

 analyses (and not because Fischel did any analysis to determine that they are comparable),159

 include companies that, unlike the Company, are not diversified media companies, and that

 consistently traded at higher multiples than the Company.160

          Second, as Tuliano testified, authoritative valuation literature shows that the use of an

 exit multiple to calculate a terminal value results in an improper blending of the income and

 market approaches.161 The LBO Lenders’ solvency expert from the time of the LBO, Kenny,

 acknowledged this fact, testifying that the Gordon Growth Model used by Tuliano is a preferable




 156
     NPP 767 (Leveraged ESOP Statement of Facts) at 12; NPP 218 (3/07 Tribune Rating Agency Presentation) at
 MS 48361; NPP 580 (10/1/07 Tribune Rating Agency Presentation) at ML-TRIB-0032747.
 157
     NPP 955 (Tuliano Rebuttal Rpt.) at 14.
 158
     3/18/11 Trial Tr. 60:15 (Tuliano); NPP 944 (Tuliano Rpt.) at 93; 3/10/11 Trial Tr. 100:20-102:4 (Fischel).
 159
     Professor Fischel gave no consideration to how these financial advisors applied these multiples in their analyses.
 Many of these advisors treated the Publishing and Broadcasting companies differently either by comparing the
 specific industry multiples to the portion of earnings derived by the Tribune’s Publishing or Broadcasting division or
 by weighting the selected multiple in line with the percentage of Tribune’s Publishing or Broadcasting earnings.
 NPP 955 (Tuliano Rebuttal Rpt.) at 20, n.76.
 160
     3/10/11 Trial Tr. 101:25-102:4 (Fischel); 3/18/11 Trial Tr. 92:9-11, 93:5-94:25 (Tuliano). Fischel’s inclusion of
 companies that are not diversified media companies in his collection of comparable companies also increased the
 value conclusion of his comparable company analysis, which increased his overall value conclusion at Step One by
 approximately $1.2 billion to $1.3 billion. NPP 955 (Tuliano Rebuttal Rpt.) at 21.
 161
     NPP 88 (VALUING A BUSINESS, Shannon Pratt) at 251; 3/18/11 Trial Tr. 60:15-19, 91:20 -92:6 (Tuliano).


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 and more common approach to calculate a terminal value when valuing a business as a going

 concern, and is the method that is generally used by his firm.162

          Moreover, “the greater the impact of the terminal value on the total present value, the

 more important this distinction becomes, and the more the method will be seen as a market

 versus income method.”163 Given that the terminal value constitutes the vast majority of

 Fischel’s DCF value, his flawed market approach is the dominant driver of his DCF analysis.164

          Other fundamental errors committed by Fischel in his Step One balance sheet solvency

 test include:165

                   His decision to include within his assessment of the Company’s value 401(k) and
                    stock-based compensation cost savings that the Company expected to realize as a
                    result of its conversion to an S Corp/ESOP. 166 This violates the fair market value
                    standard by including benefits that arise only as a result of the unique attributes of
                    a specific buyer, and unrealistically assumes that the Company could simply
                    eliminate these costs without providing other forms of competitive compensation
                    to its employees;167

                   His decision to rely upon the February Projections without applying any critical
                    analysis; 168

                   His use of an overly aggressive long term growth rate, which is higher than the
                    growth rates applied contemporaneously by the Company, Duff & Phelps (the
                    financial advisor to the ESOP trustee), JPMorgan, and Morgan Stanley.169

                   His decision to calculate the weighted average cost of capital (“WACC”) in his
                    DCF analysis using a Company-specific, rather than industry average, capital



 162
     Kenny Dep. Tr. 78:7-82:22 (“If you don’t have good comparables, your market multiple method is probably not
 that reliable. And then if you’re taking that information and then also using it in your discounted cash flow, that’s
 going to make that potentially less reliable as well . . . So you could compound your problem there.”).
 163
     NPP 88 (VALUING A BUSINESS, Shannon Pratt) at 251.
 164
     3/18/11 Trial Tr. 91:23-92:6 (Tuliano).
 165
     A more detailed discussion of the errors made by Fischel in his balance sheet solvency analysis, and the dollar
 impact of those errors, is set forth in NPP 955 (Tuliano Rebuttal Rpt.) at pages 11-26. Correcting all of Fischel’s
 errors results in a finding that the Company was insolvent as of June 4, 2007.
 166
     NPP 955 (Tuliano Rebuttal Rpt.) at 14-15.
 167
     3/18/11 Trial Tr. 88:23-90:14; 218:25-219:7; 220:6-13 (Tuliano); NPP 955 (Tuliano Rebuttal Rpt.) at 14-15.
 168
     3/10/11 Trial Tr. 146:13-17, 165:10-12 (Fischel); see also 3/18/11 Trial Tr. 89:5-16 (Tuliano).
 169
     NPP 488 (7/13/07 Tribune Co. Proxy Statement); NPP 293 (3/29/07 Duff & Phelps Tribune Valuation Analysis);
 NPP 365 (4/5/07 JPM Tribune Credit Analysis).


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                   structure.170 This significantly decreased the discount on value imposed by the
                   WACC, as debt carries a lower discount than equity, and the Company’s capital
                   structure at Step One (as applied by Fischel) was approximately 75-85% debt,
                   compared to the industry average of approximately 30% debt;171 and

                  His decision to include in his company comparable analysis “pure play”
                   broadcasting and newspaper companies that are not comparable to the Company
                   on a consolidated basis materially inflated his results.172

 When the errors in Fischel’s balance sheet solvency analyses are corrected, the analysis show

 that the Company was insolvent at Step One by as much as $ 3.144 billion.173

          The unreliable and inflated nature of Fischel’s balance sheet insolvency analysis is well

 illustrated by the share prices implied by his valuation conclusions.174 As Tuliano explained at

 trial, an implied share price can be derived by deducting $5 billion of pre-Step One debt from the

 total enterprise values arrived at by Fischel, and then dividing those numbers by the 241 million

 shares of the Company’s stock that were then outstanding.175 This exercise shows that Fischel

 asks this Court to believe that, at the time of Step One, the value of the Company’s shares could

 have been as high as $68 per share, and was no lower than $36 per share.176 No one was

 placing anywhere near that kind of value on the Company at that time.177 Indeed, in a May 20,


 170
     3/10/11 Trial Tr. 102:8-103:1, 161:9-14 (Fischel). Widely-accepted valuation literature instructs that an industry
 average should be used where, as here, a controlling interest is being valued, because a “control buyer would have
 the power to change the capital structure and the industry average capital structure could represent the most likely
 result.” NPP 88 (VALUING A BUSINESS, Shannon Pratt) at 218-19; NPP 955 (Tuliano Rebuttal Rpt.) at 18. In
 apparent recognition of this principle, Fischel testified at trial that “the conclusion doesn’t change if I use the
 industry average debt ration.” 3/10/11 Trial Tr. 118:18-20 (Fischel). This is the case, however, only because
 Fischel committed the aforementioned error of using a terminal multiple rather than the Gordon Growth Model to
 calculate his terminal value, which “significantly diminishes the impact of the WACC.” NPP 955 (Tuliano Rebuttal
 Rpt.) at 17.
 171
     3/18/11 Trial Tr. 62:4-5 (Tuliano); NPP 955 (Tuliano Rebuttal Rpt.) at 18-19.
 172
     Id. at 63:8-18; 93:5-94:25 (Tuliano); NPP 955 (Tuliano Rebuttal Rpt.) at 21. Indeed, the LBO Lenders’ solvency
 expert from the time of the LBO once again disagrees with Professor Fischel’s approach, and testified that, when
 conducting a comparable company analysis of the Company, the weight afforded to multiples derived from pure
 play broadcasting companies should be adjusted based on the amount of business coming from Tribune’s
 broadcasting segment (which in this case was only approximately 32%). Kenny Dep. Tr. 120:2-122:10.
 173
     NPP 955 (Tuliano Rebuttal Rpt.) at 25.
 174
     3/18/11 Trial Tr. 108:8-109:2 (Tuliano); NPP 2478 (Tuliano Trial Demonstratives) at 50.
 175
     Id. at 108:15-19 (Tuliano); NPP 2478 (Tuliano Trial Demonstratives) at 50.
 176
     NPP 2478 (Tuliano Trial Demonstratives) at 50.
 177
     3/18/11 Trial Tr. 108:20-109:2 (Tuliano).


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 2007 declaration submitted on the Company’s behalf, Black declared that the stand alone value

 of the Company’s shares, absent the overhang of the LBO, was likely “well below $32” a share,

 and Black acknowledged at trial that it could have been “$29” a share.178 This is entirely in

 keeping with Tuliano’s analysis, which found that the implied share price of Tribune’s stock at

 Step One was approximately $28 per share using the February Projections, and approximately

 $25 per share when the February Projections are appropriately adjusted to incorporate

 information known at that time.179

                  4.       The Company Was Inadequately Capitalized And Unable To Pay Its
                           Debts As They Became Due At Step One

         The evidence also shows that the Company was inadequately capitalized and unable to

 pay their debts as they became due at Step One. Tuliano assessed the Company’s capital

 adequacy and ability to pay using widely-accepted techniques that he has routinely employed in

 performing valuation and solvency work.180 In conducting this analysis, Tuliano performed

 detailed analyses of the Company’s leverage and liquidity before and after the LBO, and its

 ability to service its debt from operating cash flow and/or other sources of cash.181

         With respect to the Company’s leverage and liquidity, Tuliano compared the Company’s

 debt to EBITDA ratios with those of its competitor companies for the periods before and after

 Step One.182 This showed that the Company was highly leveraged in comparison to its

 competitors even before the LBO, and that its debt to EBITDA ratio skyrocketed to more than 6




 178
     NPP 2314 (5/10/07 Black Declaration) at 6, n.7; 3/9/11 Trial Tr. 274:23-25 (Black).
 179
     3/18/11 Trial Tr. 107:13-108:7 (Tuliano); DCL 2008 (Revised Tuliano Trial Demonstratives).
 180
     Id. at 67:22-68:7 (Tuliano).
 181
     NPP 944 (Tuliano Rpt.) at 100; 3/18/11 Trial Tr. 68:8-25 (Tuliano).
 182
     3/18/11 Trial Tr. 69:1-70:2 (Tuliano); NPP 2478 (Tuliano Trial Demonstratives) at 29; NPP 944 (Tuliano Rpt.) at
 103-104.


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 times that of its most highly-leveraged competitor following Step One, and more than 8 times

 that of the industry average.183

          In analyzing whether the Company could service the significant amount of leverage

 imposed by the LBO, Tuliano also reviewed the Company’s interest coverage ratios.184 This

 analysis showed that following Step One, the Company had the lowest coverage ratio among its

 comparable companies and that, based on its twelve-month trailing EBITDA, it was likely that

 the Company would not be able to cover its interest expense even without taking into account

 reasonably foreseeable contingencies.185

          Tuliano also considered the Company’s ability to service its debt with cash from

 operations following Step One based on projections for the period 2007 – 2011. Tuliano

 performed this analysis using not only the February Projections and Step One Adjusted

 Projections, but also four downside cases: the Step One Adjusted Projections with a 15%

 downside sensitivity, Wall Street low estimates, an S&P sensitivity case that was prepared by the

 Company during its discussions with the rating agencies in advance of Step One, and

 management’s Downside Case B1, which was similar to management’s Downside Case B but

 held the Broadcasting Segment’s operating cash flow flat instead of projecting a 1% decline.186

          Notably, the evidence shows that the Downside Case B1, which would have left the

 Company with less cumulative EBITDA over the five-year period than the Wall Street Low

 estimates or the Step One Adjusted Projections with the 15% downside sensitivity, was more

 akin to a base case than a downside case. As discussed above, Black testified at trial that the



 183
     NPP 2478 (Tuliano Trial Demonstratives) at 29; NPP 944 (Tuliano Rpt.) at 103-104.
 184
     3/18/11 Trial Tr. 70:3-16 (Tuliano).
 185
     NPP 944 (Tuliano Rpt.) at 109-110; 3/18/11 Trial Tr. 70:6-71:4 (Tuliano).
 186
     3/18/11 Trial Tr. 71:11-72:22 (Tuliano). Fischel and the Examiner also utilized downside cases in their capital
 adequacy analyses, see DCL 1106 (Fischel Rpt.) ¶¶ 68, 93, 94, and Fischel acknowledged at trial that a capital
 adequacy test should be performed using downside projections.


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 Company’s performance in the first five months of the year was already tracking the Company’s

 Downside Case B.187 Tuliano’s analysis conclusively shows that following Step One, the

 Company’s operating cash flows were insufficient to meet its debt service obligations in all four

 downside cases, as well as under the February Projections and the Step One Adjusted

 Projections.188

         In light of the Company’s inability to service its debt obligations through operations

 under even the February Projections, Tuliano next analyzed whether the Company would be able

 to generate sufficient capital to service its debt in a downside scenario when additional sources of

 cash, such as its revolving line of credit, asset sales and equity investments, were considered.189

 Additionally, Tuliano assumed that, as a result of its S Corp/ESOP status, the Company would

 not have to pay 401(k) or stock based compensation expenses.190 Even after giving the Company

 the benefit of all these assumptions, however, the analysis still shows that the Company would be

 unable to service its debt and lacked adequate liquidity following Step One under the downside

 projections.191

                   5.      The DCL Plan Proponents Have Not Rebutted The Evidence Showing
                           That The Company Was Left With Inadequate Capital And Unable
                           To Pay Its Debts As They Came Due At Step One

         The DCL Plan Proponents have not rebutted the evidence showing that the Company was

 left with inadequate capital and unable to pay its debts as they came due at Step One. Indeed,

 Fischel’s own analysis shows that Tribune did not have adequate capital to pay its debts as

 they came due at Step One. Specifically, Fischel’s Step One capital adequacy and ability to pay

 analysis shows that, using the average of downside case projections prepared before June 4, 2007
 187
     NPP 2314 (Black Garamella Declaration) at 15 n.22; NPP 944 (Tuliano Rpt.) at 116; 3/9/11 Trial Tr. 272:23-24,
 273:24-274:4 (Black).
 188
     3/18/11 Trial Tr. 74:9-21, 77:6-13 (Tuliano).
 189
     Id. at 76:10-14; 15-22, 76:23-77:5; 77:20-78:1(Tuliano); NPP 944 (Tuliano Rpt.) at 122.
 190
     Id. at 78:6-10 (Tuliano).
 191
     Id. at 77:6-16 (Tuliano); NPP 2478 (Tuliano Trial Demonstratives) at 34.


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 and considering the Step Two debt anticipated by the Company, the Company would have

 negative $79 million in 2009, negative $45 million in 2010, and a mere $9 million in 2011.192

 As Fischel testified, “in 2010 and 2011, the revolver numbers turn negative, meaning that in

 those years, the Tribune does not have enough liquidity in order to meet its mandatory

 obligations.”193

          Fischel tried to explain away the results of his own analysis by testifying that that he

 could have used a higher number for cash proceeds from asset sales, and that “[although] “this”

 analysis produced a result that was close to the line . . . there would be steps that could be taken

 to create a bigger cushion than is reflected on this exhibit.”194 Yet these arguments are

 unavailing. To begin with, a company with $5 billion of debt should not take on $8 billion more

 when its solvency is “close to the line.”195 Fraudulent transfer law should deter companies and

 lenders from such reckless risk taking where, as here, a company already has substantial pre-

 existing debt.

          Moreover, Fischel did not conduct any analysis to determine whether the Company could

 in fact have taken steps to generate additional cash, or how much cash it could have generated by

 doing so.196 It is not appropriate to disregard the results of a capital adequacy test by simply

 assuming that any company can take generic steps to cure a cash deficit. Indeed, if such an

 assumption was appropriate, no company would ever fail a capital adequacy test. Moreover, this

 assumption is particularly misplaced here, given that the Company had already implemented

 several cost-cutting measures prior to Step One, and thus had limited flexibility in excising



 192
     DCL 1106 (Fischel Rpt.) at Ex. Q.
 193
     3/10/11 Trial Tr. 123:3-7 (Fischel).
 194
     Id. at 123:14-125:3 (Fischel).
 195
     Id. at 124:22-125:3 (Fischel).
 196
     Id. at 207:9-15 (Fischel).


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 additional costs.197

          Fischel’s proceeds from asset sales argument also fails, as Tuliano’s review of the

 downside cases utilized by Fischel showed that certain of the projections understated the

 Company’s expenses and/or overstated its income. For example, the “Citi Downside Case” does

 not appear to include expenditures for investments in acquisitions, but also projected that the

 Company would receive income from future acquisitions.198 Fischel conducted no substantive

 analysis of the downside projections utilized in his analysis, however, and thus made no

 adjustments to account for such mistakes.199 Fischel cannot turn the negative numbers generated

 by his analysis into positives by retroactively cherry picking the portions of the projections he

 wishes to adjust.

          D.       Constructive Fraudulent Transfer At Step Two

                   1.       The Company Fails All Three Solvency Tests at Step Two

          Applying the same widely-accepted valuation techniques utilized at Step One, Tuliano

 concluded that the Company was also balance sheet insolvent, inadequately capitalized and

 unable to pay its debts as they came due at Step Two.200 Tuliano’s conclusions are consistent

 with the Examiner’s conclusions that it was “highly likely” that the Company was insolvent and

 inadequately capitalized at Step Two. Indeed, even Fischel conceded that the Company was

 “very borderline solvent” at Step Two, and that the Company’s solvency at Step Two was a “very

 close call.”201




 197
     3/18/11 Trial Tr. 95:23-96:23 (Tuliano).
 198
     Id. at 95:11-15 (Tuliano).
 199
     DCL 1106 (Fischel Rpt.) at 23.
 200
     3/18/11 Trial Tr. 22:24-23:12, 64:25-65:1 (Tuliano).
 201
     3/10/11 Trial Tr. 92:11-12, 200:8-9 (Fischel).


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                            a.       The Company Was Balance Sheet Insolvent At Step Two

          Tuliano’s balance sheet solvency analysis shows that the Company’s debt exceeded the

 fair market value of its assets as of December 20, 2007 by $2.9 billion when using the October

 Projections.202 Additionally, because Tuliano and the Examiner both concluded that the October

 Projections could not be relied upon, Tuliano conducted a DCF analysis using adjusted

 projections (the “Step Two Adjusted Projections”), which utilized the Company’s actual results

 through November 2007, and then applied the year-over-year growth rates embedded in the

 February Projections. Notably, these Step Two Adjusted Projections are almost identical to the

 average third-party base case projections compiled by Fischel (the “Average Third Party Base

 Case Projections”).203 When these Step Two Adjusted Projections, rather than the unrealistically

 optimistic October Projections are used, Tuliano’s analysis shows that the Company was

 insolvent at Step Two by $3.3 billion.204 Tuliano also conducted a balance sheet solvency

 analysis of Tribune’s subsidiaries, which shows that the liabilities of Tribune’s subsidiaries

 exceeded their assets by $848 million at Step Two.205

          Fischel’s analysis of the Company’s balance sheet solvency at Step Two suffers from the

 same deficiencies as his Step One analysis. Nevertheless, even Fischel admitted that the

 Company was “borderline solvent in December.”206 When Fischel’s mistakes are corrected at

 Step Two, the Company is balance sheet insolvent by approximately $3.1 billion using

 management’s projections, and by approximately $3.2 billion using Average Third Party Base

 Case Projections.207



 202
     3/18/11 Trial Tr. 66:3-16 (Tuliano); NPP 944 (Tuliano Rpt.) at Ex. 7-B.
 203
     Id. at 49:18-22 (Tuliano).
 204
     NPP 944 (Tuliano Rpt.) at 131.
 205
     3/18/11 Trial Tr. 66:17-67:6 (Tuliano); NPP 944 (Tuliano Rpt.) at Ex. 8.
 206
     3/10/11 Trial Tr. 129:7-8 (Fischel); DCL 1106 (Fischel Rpt.) at Ex. W.
 207
     NPP 955 (Tuliano Rebuttal Rpt.) at 25.


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                            b.       The Evidence Shows That The Company Was Inadequately
                                     Capitalized And Unable To Pay Its Debts As They Came Due
                                     At Step Two

          There can be little doubt that, as of December 20, 2007, the Company was left with

 unreasonably small assets or capital to operate its business, and had incurred debts beyond its

 ability to pay as they matured. Tuliano’s analysis shows that, following Step Two, the Company

 was excessively leveraged compared to its peers, including a debt-to-EBITDA ratio that was

 nearly double that of the Company’s closest peer company and more than eight times higher

 than the average of the comparable companies.208 Additionally, following consummation of Step

 Two, the Company was the only one of its peers that had a negative debt-to-equity ratio, and also

 had the lowest interest coverage ratio among its peers, regardless of whether capital expenditures

 were included in the calculation.209

          As with his capital adequacy analysis at Step One, Tuliano considered four downside

 cases in his capital adequacy analysis at Step Two, all four of which were higher than several

 other contemporaneous downside cases prepared by the Company’s advisors and market

 participants.210 His analysis shows that the Company’s operating cash flows were insufficient to

 meet its debt service obligations in all four downside cases, even after considering available

 liquidity, proceeds from asset sales, and cash received from equity investments.211 Thus, there

 simply was “not [ ] sufficient capital within the business to be able to ultimately deal with a

 downturn.”212

          Tuliano’s analysis also demonstrates that non-operating sources of cash would not rescue

 the Company from its insolvency at Step Two because, as at Step One, (1) the S Corp/ESOP tax

 208
     NPP 944 (Tuliano Rpt.) at 141-42.
 209
     Id. at 143-48.
 210
     3/18/11 Trial Tr. 80:8-10 (Tuliano); NPP 944 (Tuliano Rpt.) at 157; 3/18/11 Trial Tr. 79:18-23 (Tuliano).
 211
     Id. at 80:15-81:24 (Tuliano).
 212
     Id. at 81:20-24 (Tuliano).


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 structure would limit the Company’s ability to divest assets to raise cash, and (2) as a minority

 equity investor, the Company had no ability to control the distribution of cash by the equity

 investment entities, which was confirmed by the Company’s prior experience.213

          Fischel’s capital adequacy/ability to pay analysis also shows that the Company was

 inadequately capitalized and unable to pay its debts as due at Step Two. Specifically, Fischel

 concluded that, based on an average of contemporaneous downside projections prepared as of

 December 20, 2007, the Company was projected to have negative $5 million in liquidity by

 2012.214 Nevertheless, as at Step One, Fischel concludes that “[t]o the extent Tribune were to be

 able to further reduce capital expenditures, reduce operating expenses, eliminate public

 company-related expenses, sell some assets, and/or use a portion of its pension overfunding, it

 could meet its obligations without fully drawing the revolver by 2012.”215 Once again, however,

 Fischel conducted no analysis to determine whether any of these steps could actually be taken.

          E.       The Examiner’s Analysis Of Step One Was Incomplete

          While it cannot be disputed that the Examiner conducted a comprehensive and thoughtful

 analysis of the LBO Claims that materially advanced a thorough understanding of the LBO, the

 Noteholder Plan Proponents believe the Examiner erred in concluding that “a court would likely

 conclude that it would be inappropriate to revise the February [Projections] based on declines in

 performance in April and May.”216 This results from the Examiner’s failure to recognize the

 disparity not only between the Company’s operating performance and February Projections for

 the first five months of the year, but also between the actual operating performance for those




 213
     NPP 955 (Tuliano Rebuttal Rpt.) at 29.
 214
     DCL 1106 (Fischel Rpt.) at Ex. Z.
 215
     Id. at 32.
 216
     NPP 782 (Exam’rs Rpt.), Vol. II at 213.


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 months and the same five months of 2006.217 The Examiner also appears to have overlooked that

 the February Projections were significantly back-end loaded, and that the out years of the

 February Projections were premised on compliance with the 2007 plan, all of which made the

 likelihood that the Company would be able to meet the February Projections notwithstanding its

 dismal performance through May 2007 highly unrealistic.218 As Tuliano testified:

                 I believe the examiner missed the fact that the company’s deteriorating
                 performance relative to 2006 for the entirety of that five-month period
                 prior to the close of the step one and how the plan ramped up very
                 significantly relative to 2006 for the remainder of the year. I think had the
                 examiner looked at that and drilled down into the various newspapers he
                 might have reached a different conclusion.219

         Additionally, although the Examiner noted that “management’s projected 2007 revenue

 and EBITDA generally was consistent with analyst expectation at the time,”220 in fact, Wall

 Street consensus estimates in March 2007 predicted decreasing EBITDA over the projection

 period, and were meaningfully below the upward trend predicted by the February Projections.221

 Moreover, the Average Third Party Base Case Projections compiled by Fischel show that

 projections prepared by parties involved in the LBO were also significantly below those of

 Company management. Prior to Step One, the adjusted EBITDA projected in the February

 Projections exceeded the average adjusted EBITDA projected by Merrill Lynch, Citigroup, Bank

 of America, JPMorgan (all LBO Lenders), and Blackstone (the advisor to the McCormick

 Foundation, one of Tribune’s largest shareholders) by at least $29 million in 2007, at least $137

 million in 2008, at least $161 million in 2009, at least $192 million in 2010, at least $202 million

 in 2011, and at least $214 million in 2012.222


 217
     3/18/11 Trial Tr. 85:10-86:6 (Tuliano).
 218
     NPP 782 (Exam’rs Rpt.), Vol. II at 212.
 219
     3/18/11 Trial Tr. 85:14-21 (Tuliano).
 220
     NPP 782 (Exam’rs Rpt.), Vol. II at 213.
 221
     NPP 944 (Tuliano Rpt.) at 37, 74.
 222
     Compare Appendix H, p. 2 of DCL 1106 (Fischel Rpt.) against Appendix E, p. 3 of DCL 1106.


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         The Examiner’s failure to conduct a detailed analysis of the February Projections led him

 to also overlook the strong evidence of intentional fraud at Step One. Because the Examiner did

 not recognize the surge in performance that the Company would have had to achieve in order to

 meet its 2007 projections and, by extension, its projections for the out years, the Examiner failed

 to appreciate that management’s decision to continue to rely on those projections is highly

 suggestive of intentional fraud. Additionally, it appears that the Examiner was unaware of the

 Company’s acknowledgment, prior to Step One, that it was tracking its lowest downside

 projections, which sheds light on Bigelow’s admission, also prior to Step One, that even if the

 Company performed in accordance with a more optimistic downside case, it would have no

 equity value for the five years following the LBO.223

         The Examiner’s analysis of the Company’s financial condition at Step One was also

 incomplete, and once again affected by the Examiner’s assessment of the February Projections.

 To begin with, the Examiner did not perform a balance sheet solvency test at Step One, and

 relied on management’s wholly unreliable February Projections in evaluating the Company’s

 capital adequacy and ability to pay its debts.224 Additionally, the Examiner improperly assumed

 that the Company would be able to refinance its debt.225 Additionally, the Examiner made a

 mathematical error in his capital adequacy assessment, by adding cash tax expense to cash flows

 rather than deducting it, which erroneously increased the projected amount of the Company’s

 cash flows from $245 to $353 million.226 Correcting these errors in the Examiner’s analysis




 223
     NPP 2314 (5/10/07 Black Declaration) at 15 n.22; NPP 259 (3/24/07 email between J. King and C. Bigelow).
 224
     3/18/11 Trial Tr. 86:11-16 (Tuliano).
 225
     NPP 782 (Exam’rs Rpt.), Vol. II at 214; 3/18/11 Trial Tr. 83:16-84:5, 85:10-86:6 (Tuliano); NPP 944 (Tuliano
 Rpt.) at 10-13, 162-165.
 226
     3/18/11 Trial Tr. 84:6-25 (Tuliano); NPP 944 (Tuliano Rpt.) at 10-13, 162-165.


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 would result in the conclusion that the Company was inadequately capitalized as of June 4, 2007

 in six out of the seven capital adequacy tests presented by the Examiner in his report.227

          F.       The DCL Plan Proponents’ Purported “Market Evidence” Does Not Rebut
                   The Clear Evidence That The Company Was Insolvent, Inadequately
                   Capitalized, And Unable To Meet Its Debts As They Came Due At Step One
                   And Step Two

          Fischel testified that “in all [his] work as an expert witness,” he “always emphasize[s] the

 role of market evidence and the value of market evidence,” which he believes is entitled to

 “particular deference” when performing a solvency analysis.228 As set forth in great detail in

 Tuliano’s expert report, however, there is substantial evidence showing that sophisticated market

 participants perceived the Company to be excessively leveraged and at significant risk of being

 unable to pay its debts as due at both steps of the LBO.229 The purported “market evidence”

 cited by Fischel is entirely consistent with (rather than contradictory to) Tuliano’s testimony and

 reports.

 Sam Zell’s “Investment”

          Fischel cited “the investment by Zell and his entity” as evidence of the Company’s

 solvency at Step One and Step Two.230 Yet even Black admitted that “the fact that Zell may have

 a reputation as a smart investor . . . doesn’t preclude in any way the possibility that he overpaid”

 for Tribune.231 Moreover, the $315 million of total capital Zell contributed to the Company in

 the LBO was dwarfed by the $7.9 billion of incremental debt amassed by the Company in the

 transaction, bringing the Company’s total debt to more than $13 billion. Several

 contemporaneous market participants commented on the negligible amount of equity contributed


 227
     Id. at 84:23-85:4 (Tuliano).
 228
     3/10/11 Trial Tr. 94:21-95:10 (Fischel).
 229
     NPP 944 (Tuliano Rpt.) at 111-115, 149-150.
 230
     3/10/11 Trial Tr. 95:23-24, 126:17-20, 199:6-17 (Fischel).
 231
     3/9/11 Trial Tr. 201:24-202:3 (Black).


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 by Zell. For example, on May 11, 2007, Peter Cohen, a Managing Director at JPMorgan,

 notified JPMorgan Chief Executive Officer Jamie Dimon and other members of JPMorgan’s

 executive management that the Tribune deal was “struggle[ing] in the market,” and cited the

 “low equity check from Sam” as one of the “investor concerns.”232 Additionally, Moody’s stated

 on March 29, 2007 that the “negligible amount of equity invested” was a key driver of the credit

 downgrade, and would “weakly position the company.”233 As one Morgan Stanley banker

 viewed it after concluding that the Company would have “negative equity value” following the

 LBO:

                  I was explaining why the ev would be negative . . but as a secret . . you
                  should know this deal is happening because zell is soo f-n rich . . he’s
                  putting in $65 mm to get 40% of a multi-billion dollar co234

         Indeed, by July 2007, JPMorgan had determined that the deal would fail if Zell did not

 contribute additional equity. In an internal JPMorgan email, banker J.P. Casey emailed his

 colleagues that the bank needed to ask Zell for

                  1)       More equity
                  2)       Even more equity
                  3)       More rate235

 Casey stated further “He [Zell] needs to hear unequivocally [sic] that this deal will fail without a

 lot more help from Zell. We don’t need to market it to know that – we know it now.”236

 Nevertheless, Zell did not contribute any additional equity to the transaction.

 The Ratings Agencies Downgrades

         Fischel also cited the ratings agency downgrades that took place in advance of Step One

 and Step Two as “highly relevant market evidence on the issue of solvency,” opining that “[t]he

 232
     NPP 416 (5/11/07 email between P. Cohen and J. Dimon); see also NPP 191 (2/6/07 email from J. Persily to D.
 Wirnam).
 233
     NPP 303 (3/29/07 Moody’s Investor Service Letter) at TRB0098756, 0098757.
 234
     NPP 1619 (10/9/07 email between I. Novoselsky and D. Schuster) at MS_104984.
 235
     NPP 511 (7/26/07 email between J.P. Casey and A. O’Brien).
 236
     Id.


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 ratings assigned to Tribune around the time of April 2, 2007 and as of June 4, 2007 are indicative

 of a highly leveraged company but not one that is insolvent.” 237 As Tuliano testified, however,

 ratings issued by ratings agencies are not intended to be proxies for solvency.238 Nevertheless,

 the downgrades do indicate the ratings agencies’ beliefs that the Company was at a heightened

 risk of default at both Step One and Step Two, and thus support, rather than contradict, Tuliano’s

 findings. Specifically, in advance of Step One:

                 Standard & Poor’s (“S&P”) downgraded the Company to a BB- from a BB+,
                  noting that the “rating would reflect the company’s highly leveraged capital
                  structure, weakened credit metrics, and reduced cash flow-generating capability
                  as a result of its LBO.”239 Pursuant to S&P’s rating definitions, companies with a
                  BB or B rating “may be vulnerable to default even during benign conditions
                  because of sector-specific or issuer-specific characteristics and events.”240

                 Moody’s downgraded the Company’s Corporate Family Rating to a Ba3 from a
                  Ba1, downgraded the Senior Notes to a B2 from a Ba1, and downgraded the
                  PHONES Notes to a B2 from a Ba2, noting that the “the increase in leverage is
                  occurring at a time of pressure on Tribune’s advertising revenue and operating
                  margins.”241

                 Fitch Ratings (“Fitch”) downgraded the Company to a BB- from a BB+ on April
                  2, 2007, noting that the “action reflects the significant debt burden the announced
                  transaction would place on the company’s balance sheet as its revenue and cash
                  flow have been declining.” Fitch further downgraded the Company to a B+ on
                  May 3, 2007.242

         Additionally, S&P cautioned that a more prolonged sector downturn would subject the

 Company to a payment default in 2009, and found that in that event the Company’s assets would

 not be sufficient to cover the Senior Notes or the PHONES Notes:

                  [g]iven the amount of priority debt ahead of [the Senior Notes], upon close
                  of the proposed bank transaction, Standard & Poor’s will assign them a



 237
     DCL 1106 (Fischel Rpt.) at ¶¶ 24-28.
 238
     3/18/11 Trial Tr. 98:18-20 (Tuliano).
 239
     NPP 944 (Tuliano Rpt.) at 40, 111, 150; NPP 1317 (4/2/07 S&P Research Report).
 240
     NPP 730 (6/3/09 S&P, “Understanding Standard & Poor’s Rating Definitions”).
 241
     NPP 944 (Tuliano Rpt.) at 40, 111, 150; NPP 303 (3/29/07 Moody’s Investor Service Letter).
 242
     Id. at 40, 111, 150; DCL 769 (Fitch Downgrades for Tribune’s IDR).


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                 recovery rating of ‘5’, indicating the expectation for negligible (0%-25%)
                 recovery of principal in the event of a payment default.243

         In advance of or at Step Two, all three ratings agencies issued further downgrades,

 indicating an even greater risk of default.244 Fischel’s assertion that these downgrades are

 evidence of the Company’s solvency is not credible.

 The Yields to Maturity On The Company’s Bonds and Credit Default Swaps

         Fischel also testified that the yield to maturity on the Company’s bonds in advance of

 Step One demonstrates that the Company was solvent at that time, stating that if “investors in the

 marketplace consider the new entity . . . a sufficiently riskier venture . . . they would demand a

 much higher rate of return, which would manifest itself in much higher yields.”245 In support of

 this assertion, Fischel cited to a chart comparing the yield to maturity on the Company’s debt

 against those of comparable companies and rating indices.246 Yet, as the chart demonstrates, the

 yield to maturity on three of the five Tribune bond issuances is higher than all of the other yields

 shown, with the exception of rating indices for (i) companies in distress, (ii) companies having a

 rating of Ca to D, and (iii) companies having a rating of CCC or lower.247 These indices include

 companies that have defaulted or are in bankruptcy.248

         Moreover, Tuliano testified that the Tribune bonds were highly illiquid, trading between

 only one and seven times a day.249 Conversely, the Company’s credit default swaps (“CDS”),

 which is essentially insurance against the risk of default, could be purchased in a far more liquid


 243
     3/18/11 Trial Tr. 98:14-17 (Tuliano); NPP 944 (Tuliano Rpt.) at 111; NPP 302 (3/29/07 S&P Letter); NPP 378
 (S&P Tribune Research Update) at JPM_00148673.
 244
     NPP 944 (Tuliano Rpt.) at 112; NPP 528 (8/20/07 S&P Rating Action Update); NPP 668 (12/20/07 S&P Tribune
 Research Update); NPP 605 (11/29/07 Moody’s Rating Action); NPP 667 (12/20/07 Fitch Ratings Action); NPP 782
 (Exam’rs Rpt.), Vol. I at 462-464, n.2139, n.2142; NPP 531 (8/20/07 S&P Recovery Report) at JPM_00107629.
 245
     3/10/11 Trial Tr. 96:12-23, 197:2-15 (Fischel); DCL 1106 (Fischel Rpt.) ¶¶ 29-31.
 246
     Id. at 197:2-15 (Fischel); DCL 1106 (Fischel Rpt.) at Ex. A.
 247
     DCL 1106 (Fischel Rpt.) at Ex. A.
 248
     3/10/11 Trial Tr. 197:16-198:11 (Fischel).
 249
     3/18/11 Trial Tr. 100:3-8 (Tuliano)


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 market. Thus, CDS offered a cheaper and easier way for a creditor to protect against loss on its

 bond than selling the bond, and is a more accurate market indicator of the Company’s solvency

 than the yields to maturity on the illiquid bonds.250

         The spread on the Company’s CDS increased significantly in April 2007, the month in

 which the LBO was announced, and continued to rise steadily thereafter.251 Additionally, there

 was a substantial spike in the CDS spread in July. This coincided with (i) the disclosure that cash

 flow at the Los Angeles Times, the Company’s largest newspaper, fell 27% in the second quarter,

 marking, in the words of the newspaper’s publisher, “one of the worst quarters [the newspaper

 had] ever experienced,”252 and (ii) the Company’s decision to revise downward the projections

 for 2007 to reflect the Company’s deteriorating performance through the second quarter.253

 According to an article published by Bloomberg, the Company’s CDS prices implied that

 “investors consider[ed] the company the fourth-riskiest debt issuer among” a group of almost

 1,200 worldwide.254 Similarly, Merrill Lynch observed that the cost of the Company’s CDS as of

 July 20, 2007 indicated “a 49 percent risk of default.”255

         The vast majority of the information regarding the Company’s performance through the

 second quarter of 2007, including operating results for January through April and information

 regarding advertising revenue and circulation for May, was readily available to Company

 management at the Step One close.256 Accordingly, as discussed above, the Company could

 have, and should have, revised the projections then. As Tuliano testified, had they done so, it is



 250
     3/18/11 Trial Tr. 99:4-100:24 (Tuliano).
 251
     Id. at 101:1-6 (Tuliano); NPP 944 (Tuliano Rpt.) at 151.
 252
     NPP 502 (7/20/07 Bloomberg Article) at 1.
 253
     3/18/11 Trial Tr. 101:6-23 (Tuliano); NPP 501 (7/20/07 Merrill Lynch Problem Exposure Report); NPP 944
 (Tuliano Rpt.) at 114-115.
 254
     3/18/11 Trial Tr. 102:9-14 (Tuliano); NPP 944 (Tuliano Rpt.) at 114.
 255
     NPP 944 (Tuliano Rpt.) at 114(quoting NPP 501 (7/20/07 Merrill Lynch Problem Exposure Report)).
 256
     NPP 782 (Exam’rs Rpt.), Vol. I at 94, n.251.


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 likely the CDS spreads would have been even higher prior to Step One.257

         The CDS spreads also spiked just prior to Step Two, providing yet another market

 indicator of the Company’s deepening insolvency. Indeed, the Examiner found that the

 “significant” increase in pricing in the Company’s CDS, as well as the discounts to par at which

 Tribune’s bonds and bank debt were trading, contradicts a finding that the Company was solvent

 at Step Two.258

 The LBO Lenders’ Internal Analyses and Decision to Fund

         Fischel testified that the Company’s solvency at Step One and Step Two is also evidenced

 by the LBO Lenders’ “internal analysis of value” and “their decision to fund” the LBO.259 But,

 as Black admitted, “banks do finance deals and lend to companies where there is a likelihood of

 insolvency.”260 And the record is replete with documents showing that here, the LBO Lenders

 decided to participate in and proceed with the LBO for reasons that were wholly unrelated to a

 belief that the Company was solvent. For example, contemporaneous communications show the

 LBO Lenders were highly motivated by fees, with JPMorgan commenting “ka-ching!” and

 “wooooo hoooo!” over its $75 million payday, and Persily citing “big fees” as a reason she was

 warming to the deal.261 Additionally, on March 28, 2007, four days before the LBO Lenders

 committed to fund Steps One and Two, Jeffrey Sell, the former head of the Special Credits Group

 at JPMorgan, wrote to his supervisor that he had “told the team I’m not comfortable approving




 257
     3/18/11 Trial Tr. 101:24-102:19 (Tuliano).
 258
     NPP 782 (Exam’rs Rpt.), Vol. I at 552-557.
 259
     3/10/11 Trial Tr. 95:25-96:7 (Fischel); DCL 1106 (Fischel Rpt.) at 6-8.
 260
     3/9/11 Trial Tr. 202:8-13 (Black).
 261
     NPP 1263 (3/29/07 Cohen email) at JPM_00284644; NPP 193 (2/8/07 email from J. Persily to R. Zogheb); NPP
 782 (Exam’rs Rpt.), Vol. I at 265; see also NPP 1322 (4/5/07 email between P. Cohen and K. Parkhill). Documents
 also show that in advance of Step One, Merrill Lynch was also very focused on the fees it would reap from the LBO.
 NPP 1175 (3/11/07 email between M. Costa and T. Kaplan) at ML-TRIB-0385024-25; NPP 1141 (2/24/07 email
 between M. Costa and C. Kenney) at ML-TRIB-1075295.


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 the new structure [of the LBO] for the reasons cited but would understand if Senor [sic]

 Mangemnt [sic] wanted to do this to further the Zell relationship.”262

          Moreover, in an email dated March 29, 2007, Persily wrote that Chad Leat, her boss’s

 boss, did not want to commit to “this highly leveraged deal,” because he was “scared that the

 co[mpany] [would] deteriorate[].”263 Persily’s emails show that the head of Citigroup’s Mergers

 & Acquisitions group pressured Persily and Leat to commit to the transaction, because he and his

 colleagues were “very afraid that Morgan Stanley (advisor to the special committee)” would use

 the fact that “Citi drop[ped] at the last minute” against Citigroup “in marketing all the time.”264

 Persily wrote:

                   Chad feels pressure to move forward. (I do also at this late date) owing to
                   franchise risk. Firm is sensitive to point that morgan stanley is advisor to
                   special committee and will trash us in the mkt if we back away now.265

          Fischel’s reliance on the LBO Lenders’ decision to fund is also undermined by the fact

 that the LBO Lenders attempted to minimize their exposure by syndicating the overwhelming

 majority of their LBO debt. Citigroup, for example, sought to syndicate the entirety of its more

 than $3.1 billion term loan commitment.266 And Bank of America underwrote $112.5 million of

 the Company’s $750 million revolving credit facility (the “Revolver”), but targeted to reduce its

 holding to as little as $35 million as Step One approached.267 Likewise, Merrill Lynch

 committed to funding $207.9 million of the Revolver and $78.9 million of the Delayed Draw

 Term Loan, but subsequently targeted to hold only $50 million of that exposure on its books.268


 262
     NPP 289 (3/28/07 email between J. Sell and B. Sankey) at JPM_00353677.
 263
     NPP 296 (3/28/07 emails between J. Persily and J. Fishlow Minter).
 264
     NPP 284 (3/28/07 email between J. Persily and C. Leat).
 265
     NPP 297 (3/29/07 email between J. Persily and J. Purcell); see also NPP 296 (3/29/07 email between J. Persily
 and J. Fishlow Minter) (Ms. Persily writes: “Christina afraid that Morgan Stanley (special advisor to the board) will
 trash us in the market place. That’s what got me on Board! [sic]”).
 266
     NPP 435 (5/17/07 Citi Leveraged Finance Final Approval Memorandum) at 3.
 267
     NPP 399 (BOA Credit Approval Report) at 4.
 268
     NPP 501(7/20/07 Merrill Lynch Problem Exposure Report) at ML-TRIB-0211277, 0211283.


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         With respect to Step Two, as described infra, contrary to Fischel’s assertion, the LBO

 Lenders moved forward with the LBO not because of a belief that the Company was solvent, but

 because they determined that they were contractually bound to do so, notwithstanding their

 knowledge that the Company was insolvent.269

 Other Contemporaneous Market Participants

         An abundance of additional evidence also shows that other contemporaneous market

 participants believed that the Company could not handle the heavy debt burden imposed by the

 LBO. Potential investors demonstrated their skepticism of this transaction and wariness of the

 Company’s financial condition through a lack of interest in the transaction. On May 10, 2007,

 for example, Todd Kaplan, Merrill Lynch’s Chairman of Global Leveraged Finance, wrote that

 he had “misjudged [the] level that investors would require here,” noting that the “major

 pushback has been on [the] newspaper business,” and attributing the difficulties in syndicating

 not to market conditions generally, but to “this deal” specifically.270 And JPMorgan’s head of

 global credit agreed with Merrill Lynch that the syndication problems were “deal specific.”271 In

 a draft email to JPMorgan CEO Jamie Dimon, a managing director wrote that “investor concerns

 include total leverage (8.9x EBITDA), continuing deterioration of newspaper industry

 fundamentals, price and overhang from the expected Second step of the transaction…”, and

 suggested that JPMorgan increase the interest rate on the debt and attempt to sell it at a discount

 to par.272 Ultimately, Sell, the head of JPMorgan’s Special Credits Group, concluded that

 “us[ing] fees to increase yield to investor” was “the right approach.”273 Bank of America also

 concluded that the only way to convince investors to take up some of its Revolver exposure was

 269
     See infra at II.G.
 270
     NPP 414 (5/10/07 email between T. Kaplan and V. Nesi) at ML-TRIB-0390795.
 271
     NPP 1409 (5/11/07 email between C. Linneman and D. McCree) at JPM_00351771.
 272
     NPP 416 (5/11/07 email between P. Cohen and J. Dimon).
 273
     NPP 424 (5/12/2007 email between J. Sell and B. Sankey) at JPM_00353687.


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 to reserve more than $2.6 million in fees to cover losses from selling a portion of its exposure at

 a discount to par.274

         Moreover, Houlihan Lokey, which was contacted by the Company in late March

 regarding a possible solvency retention, declined the engagement, noting that it “may be tough”

 to conclude that the company was solvent.275 Houlihan affirmed this opinion in mid-December,

 when it was contacted by Citigroup to challenge VRC’s solvency opinion, concluding “if we end

 up where I think we all know we would end up with our analysis, we may be the ones to ‘kill the

 deal’ so to speak . . .”276 Ben Buettell, a Managing Director at Houlihan Lokey, remarked on

 December 7, 2007 that the “company was insolvent in [M]ay and more so now.”277

         G.       The LBO Lenders Do Not Have A Good Faith Defense

         The LBO Lenders cannot maintain any “good faith” defenses under Bankruptcy Code

 section 548(c). As discussed supra, the evidence shows that the LBO Lenders committed to the

 “highly leveraged” LBO notwithstanding a heightened awareness that it burdened the Company

 with an enormous debt load it could not sustain.278 The evidence also shows that, by the fall of

 2007, they knew that completing Step Two would render the Company insolvent. In a memo

 marked “Highly Confidential, Internal Distribution Only,” JPMorgan wrote:

                  JPMorgan deal team’s DCF and sum of the parts analysis based on revised
                  July projection indicate that the current valuation of Tribune is
                  approximately $[10] to $[13] billion, potentially failing the solvency tests
                  (i.e., debt amount exceeds value of Borrower).279




 274
     NPP 462 (6/5/07 BOA Modification to Credit Approval Report) at 4.
 275
     NPP 275 (3/28/07 email between B. Buettell and A. Stull).
 276
     NPP 632 (12/12/07 email from B. Buettell to J. Werbalowsky, et al.).
 277
     NPP 2451 (12/7/07 email between B. Buettell and S. Reynolds).
 278
     See Section II.F.
 279
     NPP 544 (9/10/07 JPM Memo) [in original].


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 Similarly, Todd Kaplan of Merrill Lynch informed the Zell entity on August 20, 2007 that it was

 “highly unlikely that [the Company’s solvency firm] can get there.”280 Daniel Petrik of Bank of

 America echoed this sentiment on September 10, 2007, stating “I think the solvency opinion

 might be difficult, in my opinion.”281

         Moreover, solvency analyses prepared by each of JPMorgan, Merrill Lynch and Citigroup

 in the days leading up to the Step Two close concluded that the Company was insolvent under

 various scenarios.282 Specifically:

                Solvency analyses prepared by Citigroup using Citigroup valuation parameters
                 (rather than VRC’s) and “Citigroup Projections” show that the Company was
                 insolvent by more than $1.4 billion.283 Notably, Ms. Persily testified that
                 Citigroup “didn’t believe the Company’s projections were achievable” and
                 “created [its] own set.”284

                Solvency analyses prepared by Merrill Lynch show that the Company was
                 insolvent by more than $1.5 billion in the “low” cases, and by at least $287
                 million in the “mid” cases.285

                Solvency analyses prepared by JPMorgan on December 13 and December 18,
                 2007 show that Tribune was insolvent in certain “low” and “stress” cases.286

         The evidence also shows that the LBO Lenders did not want to go forward with Step

 Two, but believed they were contractually obligated to do so. In an email regarding a July 3,

 2007 call with the Company, Persily stated “I expect a real problem. Let’s hope that it is so bad

 that they trip the 9x covenant that they have to meet to close Step 2.”287 Persily reiterated this

 sentiment on July 20, 2007, stating:


 280
     NPP 1513 (8/20/07 email between B. Pate and N. Larsen).
 281
     NPP 543 (9/10/07 email from D. Petrik to S. Seaton).
 282
     Bank of America does not appear to have conducted its own solvency analyses prior to Step Two.
 283
     NPP 20 (Project Tower Materials).
 284
     Persily Dep. Tr. 92:14-17.
 285
     NPP 1830 (12/16/07 Tribune Valuation Analysis); NPP 1831 (12/16/07 Tribune Valuation Analysis); NPP 1832
 (12/16/07 Tribune Valuation Analysis) (emphasis added).
 286
     NPP 640 (12/13/07 JPM Tribune Valuation Update) at JPM_00156022; NPP 658 (12/18/07 JPM Tribune
 Valuation Update) at JPM_00155179 (emphasis added).
 287
     NPP 482 (6/29/07 email between J. Persily and T. Dilworth).


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                                                    A764
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                   I’m told there are only 3 ways that the deal won’t close:
                   -they miss the 9x gteed debt covenant
                   -they don’t get a solvency opinion
                   -whatever the FCC determines causes a MAC in the broadcasting
                   business.
                   I’m hoping for one of the first two.288

          In the days preceding the Step Two close, the LBO Lenders weighed their belief that the

 Company was insolvent against this perceived contractual obligation to fund.289 Notes from a

 December 14, 2007 meeting taken by Petrik of Bank of America reflect these deliberations:290

                   JPM - Not 100% final but leaning
                   Going ahead and funding
                   Risk greater if do not fund

                   MRL - Not 100% but leaning to not fund
                   - Reasonable that not a solvent company
                   - Not planning on being lone wolf

                   Citi - Numerous and not significant to not fund
                   - More risk if end up in bk
                   - Focus on understanding risk of not funding

                   - Not yet landed

                   . . . if in good faith—good defense291

 Not surprisingly, JPMorgan. Citigroup and Bank of America each referred the LBO debt to their

 distressed groups prior to the Step Two close.292 And JPMorgan downgraded its Tribune credit

 (following a series of prior downgrades) the day after Step Two closed.293




 288
     NPP 497 (7/20/07 email between J. Persily and T. Dilworth).
 289
     See, e.g., Persily Dep. Tr. at 224:11-15, 225:6-12, 230:8-25.
 290
     NPP 1821 (12/14/07 Petrik Handwritten Notes); Petrik Dep. Tr. 204:13-205:4, 211:6-17, 230:11-231:7 (testifying
 that the notes accurately reflect portions of the December 14, 2007 call with LBO Lenders).
 291
     Id.
 292
     Persily Dep. Tr. 161:12-162:11 (testifying that Tribune was placed on Citi’s Enhanced Monitoring list in August
 2007); Petrik Dep. Tr. 158:15- 160:6 (testifying that Tribune was referred in August 2007 to Bank of America’s
 Special Asset Group, for credits going through difficult situations); 3/9/11 Trial Tr. 45:17-22 (Kulnis video) (Kulnis
 Dep. Tr. 34:24-35:11).
 293
     NPP 670 (12/21/07 email from J. Kowalczuk to M. Kulnis) at 00572350.


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                                                         A765
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 III.     THE DCL PLAN CANNOT BE CONFIRMED BECAUSE NON-LBO
          CREDITORS WOULD RECEIVE FAR GREATER RECOVERIES IF THE
          CLAIMS WERE LITIGATED

          A.       There Are Numerous Litigation Outcomes That Would Result In Non-LBO
                   Creditor Recoveries Far In Excess Of The Proposed Settlement

          The DCL Plan Proponents’ contention that the Proposed Settlement is fair and reasonable

 depends on their assumption that only one litigation outcome against the LBO Lenders could

 result in greater recoveries for the Non-LBO Creditors—full avoidance of the obligations

 incurred at both Step One and Step Two.294 The DCL Plan Proponents concede that, were the

 claims to be litigated, full avoidance would result in all Non-LBO Creditors receiving full

 payment of their respective claims against the Debtors’ estates.295 Nevertheless, the DCL Plan

 Proponents contend that the Proposed Settlement is generous because a court or jury is unlikely

 to find Step One avoidable, and therefore the chances of full avoidance are low.296 The DCL

 Plan Proponents are wrong.

          First, as explained above, the facts demonstrate that the claims seeking to avoid,

 subordinate or disallow both the Step One and Step Two debt stand a strong chance of

 prevailing.297 On this basis alone, the Proposed Settlement is inadequate. Second, full avoidance

 is not the only litigation outcome that would result in the Non-LBO Creditors recovering more

 than the paltry consideration offered in the Proposed Settlement. Rather, the record establishes

 that there are several other probable, if not highly probable, litigation outcomes vis-à-vis the




 294
     See 3/7/11 Trial Tr. 44:11-22 (Opening Statement); 3/8/11 Trial Tr. 93:20-94:6 (Kurtz); 3/9/11 Trial Tr. 113:5-
 114:5 (Black); DCL Confirmation Brief at 29-30, 34-35, 37 [ECF No. 8173].
 295
     Id. at 44:19-22 (Opening Statement) (“This is the home run litigation scenario . . . [i]f step one is avoided in its
 entirety, it’s a complete win for the notes, for the PHONES, for the parent general unsecureds.”); see also 3/9/11
 Trial Tr. 113:5-114:5, 170:21-171:5 (Black).
 296
     See 3/7/11 Trial Tr. 44:23-45:16 (Opening Statement); 3/9/11 Trial Tr. 170:21-171:5 (Black); DCL Confirmation
 Brief at 29-31 [ECF No. 8173].
 297
     See supra at II.


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 LBO Lenders that would result in litigation proceeds that dwarf the Proposed Settlement. For

 this reason, the Proposed Settlement cannot be deemed reasonable.

                  1.       Step Two Avoidance, With WEAR, Provides A Full Recovery To The
                           Senior Notes And A Substantial Recovery To The PHONES Notes

         One of the litigation outcomes that the DCL Plan Proponents (intentionally) ignore is the

 scenario where Step One debt is allowed and Step Two debt is avoided, but the Step One Lenders

 are not permitted to participate in any of the resulting disgorgement or the distributions that

 otherwise would have gone to the holders of Step Two debt. As detailed above,298 a

 determination that the Company was rendered insolvent by Step Two is all but a foregone

 conclusion, irrespective of the likely outcome respecting Step One. The DCL Plan Proponents

 and their witnesses concede as much.299

         Nevertheless, the DCL Plan Proponents contend that the avoidance of the Step Two

 obligations will not result in significant recoveries for the Non-LBO Creditors because the Step

 One Lenders would swallow up most of the value that otherwise would have gone to the Step

 Two Lenders, and most of the disgorged payments recovered as a result of the avoidance of the

 Step Two debt.300 While the Step One Lenders would recover approximately 75.7% of their

 allowed claims if the Step Two obligations are not avoided, under the DCL Plan Proponents’

 theory, the Step One Lenders would recover 100% of their allowed claim if Step Two is

 avoided.301 Therefore, if the DCL Plan Proponents were correct, the Step One Lenders would

 actually gain from the avoidance of Step Two debt.



 298
     See supra at II.F.
 299
     See 3/9/11 Trial Tr. 108:1-12 (Black).
 300
     See DCL Confirmation Brief at 31-32, 34 [ECF No. 8173]; 3/7/11 Trial Tr. 46:1-13 (Opening Statement); 3/9/11
 Trial Tr. 38:11-19 (Kulnis).
 301
     See NPP 2473 (NPP Opening Demonstrative) at 1; see also DCL 329 (NPP Specific Disclosure Statement) at 37
 (estimating 100% of recovery for Step One claims if the Step Two debt is avoided and Step One Lenders are entitled
 to benefit therefrom, and 75.6% recovery for Step One if the LBO Debt is not avoided).


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          Equity, settled legal doctrine and the facts of this case preclude such a result. As

 discussed in detail in the NPP Objection, doctrines of waiver, equitable estoppel, and assumption

 of the risk (collectively referred to as “WEAR”) work on parallel tracks to prevent the facilitators

 of, and willing participants in, a transaction from benefiting from that transaction’s avoidance or

 undoing at least until those innocent parties who did not participate in and were harmed by the

 transaction are made whole.302

          The WEAR doctrine directly applies to the facts of this case. The record establishes that

 the Step One Lenders willingly participated in the Step Two financing. Indeed, the original Step

 One lenders and the Step Two lenders were one and the same.303 In addition, these lenders

 conceived of Step One and Step Two as part of a single transaction, and always assumed that

 both steps would take place. They planned and analyzed the steps simultaneously,304 committed

 to them together on the same day,305 and marketed them “concurrently.”306 Furthermore, the Step

 One Lenders structured the financing of both steps to be interlocking by entering into a loss-

 sharing provision that made the Step One and Step Two debt fungible.307 They also negotiated

 and obtained enhanced pricing and fees for their Step One debt based on the assumption that

 Step Two would close.308 Finally, as detailed above, the Step One Lenders also come to the table

 with “unclean hands.” The evidence demonstrates that the LBO Lenders were more concerned

 by their own franchise risk and the lure of large fees than they were with the wisdom of the


 302
     See NPP 2474 (NPP Objection) at 116-128.
 303
     As noted in the Examiners’ Report, the lenders who participated in Step One are “the same creditors (or their
 successors) who . . . participated in, funded, and made possible the Step Two Transactions.” NPP 782 (Exam’rs
 Rpt.), Vol. II at 301.
 304
     See e.g., NPP 451 (5/29/07 JPM Tribune Transaction Proposal); NPP 435 (5/17/2007 Citi Leveraged Finance
 Final Approval Memorandum); NPP 399 (5/3/2007 BOA Credit Approval Report).
 305
     See NPP 1335 (4/5/07 Amended & Restated First Step Commitment Letter); NPP 1336 (4/5/07 Amended &
 Restated Second Step Commitment Letter).
 306
     See NPP 342 (Tribune Confidential Information Memorandum) at 28.
 307
     NPP 1899 (Senior Unsecured Interim Loan Agreement) §§ 2.13, 2.15.
 308
     NPP 1420 (Executed Copy of Credit Agreement) at 2-3.


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 transaction, and marched headlong into Step Two with the full knowledge that the Company was

 insolvent, but with the comfort of the “equity cushion” provided by its existing debt.309

         If, under the WEAR principles, the Step One Lenders are barred from participating in the

 value created by the avoidance of the Step Two obligations—and, with these facts, they clearly

 should be—then the avoidance of Step Two would produce a full recovery to Senior Noteholders

 and very substantial payment to the holders of the PHONES Notes.310 Specifically, there would

 be about $1.6 billion of value available from the avoidance of the Step Two obligations311 and

 $318 million (before prejudgment interest) from the disgorgement of Step Two fees and

 payments. There is simply no justification to disregard this scenario in assessing the

 reasonableness of the Proposed Settlement.

         Incredibly, while the DCL Plan Proponents pretend that this possible litigation scenario

 does not exist, the pending Creditors’ Committee Complaint against the LBO Lenders asserts

 multiple claims based on WEAR seeking this very relief. Count Four alleges that the Step One

 Lenders should be estopped from sharing in any value resulting from an avoidance of Step Two

 because they planned and participated in Step Two and knowingly and intentionally assumed the

 risk that the Company would be rendered insolvent.312 Similarly, Count Five seeks to estop the

 LBO Lenders from benefitting from the avoidance and recovery of Step Two as intentionally

 fraudulent transfers.313 And Count Seven also seeks similar relief under the theory of unjust

 enrichment, arguing that if Step One is permitted to benefit from an avoidance of Step Two, the

 LBO Lenders will receive a greater distribution in the event that the Step Two obligations are

 309
     See supra at II.G.
 310
     See 3/15/11 Trial Tr. 241:9-242:10 (Gropper).
 311
     $2.1 billion of Step Two debt claims, at the artificially low $6.75 billion DEV, would produce approximately
 $1.6 billion in recovery. 3/15/11 Trial Tr. 241:9-13 (Gropper).
 312
     NPP 2203 (UCC First Amended Complaint against JPM) at 53-55. Black admitted that he failed to review this
 complaint against the LBO Lenders before performing his opinion that the proposed DCL settlement was fair. See
 3/9/11 Trial Tr. 197:16-199:9 (Black).
 313
     NPP 2203 (UCC First Amended Complaint against JPM) at 55-57.


                                                        59
                                                       A769
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 avoided and recovered.314 Both the Creditors’ Committee Complaint and the Examiner’s Report

 recognize that claims based on the doctrines incorporated in the WEAR theory are totally

 independent and distinct from equitable subordination and equitable estoppel, as a legal matter,

 such that WEAR might well apply even if full equitable estoppel does not.315 The strong

 probability that a court would apply WEAR to prevent Step One Lenders from sharing in the

 proceeds of Step Two avoidance and disgorgement, establishes that the Proposed Settlement is

 patently unreasonable and cannot be approved.

                  2.       Step Two Avoidance Even Without WEAR Provides Nearly Full
                           Recovery To The Senior Notes, General Unsecured Creditors And
                           PHONES Notes With A DEV Higher Than $6.75 Billion

         The Non-LBO Creditors can also achieve near full recoveries with the avoidance of just

 the Step Two obligations even if WEAR does not apply. If the Court determines that the

 Debtors’ DEV is higher than the $6.75 billion contemplated in the DCL Plan—and there is

 significant evidence that it is316—then a finding of fraudulent conveyance at Step Two together

 with a determination not to allow the Step One Lenders to collect post-petition interest would

 bring far greater recoveries to the Senior Notes, General Unsecured Creditors, and PHONES

 Notes.317 In fact, Black conceded that “as you … raise the value … knocking out step two only [

 ] starts to become an important source of recovery for the notes.”318

         The DCL Plan Proponents conveniently ignore this litigation outcome in arguing the

 reasonableness of the Proposed Settlement. Without entitlement to post-petition interest, the

 314
     NPP 2203 (UCC First Amended Complaint against JPM) at 60-62.
 315
     Compare NPP 2203 (UCC First Amended Complaint against JPM) at 65-67 (Count 9 alleging claims based on
 equitable subordination and equitable disallowance), with id. 53-57 (Counts Four and Five alleging claims based on
 WEAR); compare NPP 782 (Exam’rs Rpt.), Vol. II at 332, 339 (presenting the Examiner’s conclusions regarding
 claims based on equitable subordination and equitable disallowance), with id. at 298, 301-303, Annex B (discussing
 the possibility that the doctrine of equitable estoppel could prevent Step One from recovering value accruing from
 an avoidance of Step Two, even if the standards governing equitable subordination are not satisfied).
 316
     See supra at VI.
 317
     See 3/15/11 Trial Tr. 297:3-298:17 (Gropper).
 318
     3/9/11 Trial Tr. 162:3-5 (Black); see id. 162:6-15, 165:13-166:5 (Black).


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 Step One Lenders cannot recover more than $6.47 billion, the amount of their allowed claims.

 Thus, assuming that only Step Two is avoided, at a $7.5 billion DEV, nearly $1.2 billion dollars

 in value would flow directly to Non-LBO Creditors because the Step One Lenders will have

 been paid in full.319 The DCL Plan Proponents cannot contest that this litigation outcome would

 produce significant recoveries for the Non-LBO Creditors.

          Instead, the DCL Plan Proponents argue that, before any value can flow to Tribune’s

 creditors, the Step One Lenders must be paid post-petition interest.320 However, before the Step

 One Lenders can be entitled to receive post-petition interest, the pre-petition intercompany

 claims of Tribune against the Guarantor Debtors have to be paid in full. Because there is

 insufficient value at the Guarantor Debtors to satisfy all of their liabilities (including the

 intercompany claims), post-petition interest cannot be paid to the Step One Lenders under any

 circumstance. Moreover, in order for the Step One Lenders to be paid post-petition interest from

 the Guarantor Debtors, at least one of the Guarantor Debtors must be solvent.321 Based on the

 valuation analyses conducted by both Lazard and Raymond James, none of the Guarantor

 Debtors will be solvent. Accordingly, the Step One Lenders would not be entitled to post-

 petition interest, and so this scenario would lead to significant recoveries for the Non-LBO

 Creditors.

                   3.       Avoidance Of Both Steps At The Parent Level Alone Would Provide
                            The Non-LBO Creditors With Full Recovery

          Another litigation scenario which undermines the Proposed Settlement involves

 avoidance at both Step One and Step Two, but only at the parent level (or avoidance of the LBO


 319
     See 3/15/11 Trial Tr. 297:3-298:17 (Gropper); 3/9/11 Trial Tr. 161:20-162:15 (Black).
 320
     See DCL Confirmation Brief at 61-62 [ECF No. 8173].
 321
     See In re PPI Enterprises (U.S.), Inc., 324 F.3d 197 (3d Cir. 2003) (holding that a solvent debtor must pay
 postpetition, pre-confirmation interest on a claim to render such claim unimpaired); In re Washington Mut., Inc., 442
 B.R. 314, 356 (Bankr. D. Del. 2011) (internal citations omitted).


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 debt at the parent level and subsidiaries, but the value at the subsidiaries remains “trapped”).

 Under these scenarios, the Senior Notes, other Parent Claims and PHONES Notes would receive

 a full recovery. Specifically, an avoidance of parent-level debt would lead to the disgorgement of

 about $1.87 billion in payments at Step One and $318 million in payments at Step Two.322 The

 Step One and Step Two disgorgement, combined with the approximately $564 million of value at

 the Tribune level,323 would provide a recovery of $2.75 billion dollars for the Non-LBO-

 Creditors at the parent—more than enough to pay those creditors in full.

                  4.       Equitable Subordination, Disallowance, And Aiding And Abetting

         The LBO Lenders’ decision to move forward with Step Two of the LBO for their own

 business and pecuniary interests, notwithstanding their knowledge that it would render the

 Debtors insolvent and significantly prejudice the Pre-LBO Noteholders, also supports several

 meritorious claims against the LBO Lenders, including claims for equitable subordination,

 equitable disallowance, and aiding and abetting the Debtors’ breaches of fiduciary duties. In the

 LBO context, these claims may be independently maintained where, as here, a lender, motivated

 by greed, knowingly and recklessly facilitates an LBO transaction despite its knowledge of

 insolvency.324 All of these claims, if successful, would yield a full recovery for Non-LBO

 Creditors (plus post-petition interest).




 322
     A schedule of the pre-petition payments made by Tribune to the LBO Lenders is available in the Examiner’s
 Report, Volume II Annex C. See NPP 782 (Exam’rs Rpt.), Vol. II at Annex C; id. Vol. I at 207-210, 461-62.
 323
     The DCL Plan uses a DEV of $6.75 billion with 8.4% (or $564 million) allocated to Tribune and 91.6% (or $6.19
 billion) allocated to the Subsidiary Debtors (on a consolidated basis). DCL 1039 (Exhibits to DCL Joint Disclosure
 Statement) at Ex. F.
 324
     See NPP 2474 (NPP Objection) at 137-45; see, e.g., Schubert v. Lucent Tech. (In re Winstar Commc’ns, Inc.),
 554 F.3d 382, 411 (3d Cir. 2009); In re O’Day, 126 B.R. 370, 412 (Bankr. D. Mass. 1991); In re Yellowstone
 Mountain Club, LLC, No. 08-61570-11, 2009 WL 3094930, at *9 (Bankr. D. Mont. May 12, 2009); In re HealthCo
 Int’l II, 208 B.R. 288, 301, 309 (Bankr. D. Mass. 1997); In re OODC, 321 B.R. at 144-45; Official Comm. of
 Unsecured Creditors v. Fleet Retail Finance Grp. (In re Hechinger Inv. Co.), 274 B.R. 71, 94 (Bankr. D. Del. 2002).


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         B.       Decision-Tree Analysis Of The Examiner’s Findings Establishes That The
                  Proposed Settlement Consideration Is “Not Even Close” To Reasonable

         The Proposed Settlement should also be rejected because the settlement consideration is

 unreasonable given the Examiner’s findings. The parties offered competing expert witnesses at

 trial on this specific issue. On the one hand, the Noteholder Plan Proponents presented Dr. Bruce

 Beron—an expert with over 20 years of experience analyzing the reasonableness of settlements

 using expected value and decision-tree analysis.325 Accepted by the Court as an expert in his

 field, Beron relied exclusively on the Examiner’s conclusions to undertake a methodical and

 comprehensive analysis of the LBO Claims against the LBO Lenders.326 Based on that analysis,

 Beron testified that (i) these claims have an expected value of $1.51 to $1.83 billion, (ii) they

 have a high chance of producing a recovery far in excess of the consideration offered in the

 Proposed Settlement327 and (iii) therefore, the Proposed Settlement is “not even close” to

 reasonable.328 His trial testimony fully substantiated these opinions, and his initial and rebuttal

 expert reports were admitted at trial in full.329

         In contrast, the DCL Plan Proponents’ proffered witness, Black, did not perform anything

 remotely approaching the rigor and objectiveness of Beron’s analysis. Instead, he relied on a

 totally subjective approach, and gave opinions that relied on decision-trees he calculated “in his


 325
     NPP 2476 (Beron Rpt.) at 1; 3/17/11 Trial Tr. 104:5-106:5 (Beron).
 326
     Id. at 2-3; 3/17/11 Trial Tr. 115:17-116:3, 160:18-161:6 (Beron); see also id. 120:8-25 (Beron) (accepting Beron
 as an expert witness).
 327
     See id. at 3, 5, 16, 17; see also 3/17/11 Trial Tr. 144:12-16, 167:5-19, 167:25-168:20 (Beron).
 328
     3/17/11 Trial Tr. 170:4-11 (Beron); see also NPP 2474 (NPP Objection) at 49-50, 59-60 (cases cited therein
 where courts rejected settlements because they were less than the expected value of the litigation or the litigation
 had better than 50% chance of success).
 329
     See id. 145:12-20, 165:6-18, 250:16-257:16 (Beron) (admitting into evidence NPP 2476 (Beron Rpt.) and NPP
 957 (Beron Rebuttal Rpt.); see also 3/17/11 Trial Tr. 120:8-25 (Beron) (accepting Beron as an expert witness).
 Beron’s qualifications and extensive experience in decision-tree and expected value analysis are well established.
 Beron began his career at the Stanford Research Institute, or SRI, where the modern technique of decision-tree
 analysis was developed and promulgated. He has since spent over 20 years as a litigation risk consultant, advising
 scores of Fortune 500 clients about the reasonableness of settlements using expected value and decision-tree
 analysis. See 3/17/11 Trial Tr. 103:11-18, 104:5-20, 105:3-106:5, 106:20-108:13 (Beron); NPP 2476 (Beron Rpt.) at
 1.


                                                         63
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 head”—and that he later had to correct.330 He also ignored the Examiner’s findings and reached

 his own conclusions of law and fact, even though he admitted he is not a bankruptcy law expert

 and he never conducted his own factual investigation.331

         Beron modeled virtually every conceivable litigation outcome for the fraudulent

 conveyance claims in six sets of complex decision trees to determine the probabilities of various

 recovery outcomes and to compute the expected value of the claims.332 These decision trees lay

 out the potential outcomes associated with the elements needed to establish and defend against

 the fraudulent conveyance claims, and map how those outcomes lead to a variety of different

 recovery amounts for the Non-LBO Creditors based on conclusions assigned by the Examiner.333

         As Beron explained at trial, decision-tree and expected value analysis is a common and

 well-accepted technique often used to assess the reasonableness of settlements.334 Indeed, the

 DCL Plan Proponents did not even bother to try to refute the legitimacy of this methodology at

 trial and Liebentritt, the Debtors’ Chief Restructuring Officer, acknowledged in his deposition

 that he has relied on decision-tree analysis in the past to evaluate appropriate settlement value of

 claims.335

         In performing his analysis, Beron relied exclusively on the Examiner’s conclusions,

 which are well-suited for the decision-tree analysis he performed.336 A court-appointed examiner

 is an “objective nonadversarial party,” whose report should act as a “resource containing




 330
     3/9/11 Trial Tr. 230:5-231:2 (Black).
 331
     DCL 1484 (Amended Black Rpt.) at 3, 17-18, 23-24; 3/9/11 Trial Tr. 194:22-196:22, 197:16-199:9 (Black).
 332
     See 3/17/11 Trial Tr. 127:3-128:12, 136:15-17 (Beron); NPP 2476 (Beron Rpt.) at 7.
 333
     See 3/17/11 Trial Tr. 108:20-109:9, 127:3-128:12, 136:15-17 (Beron); NPP 2476 (Beron Rpt.) at 19-20; NPP 957
 (Beron Rebuttal Rpt.) at 11, 15.
 334
     See 3/17/11 Trial Tr. 106:2-5, 106:20-24 (Beron); NPP 957 (Beron Rebuttal Rpt.) at 11; NPP 2474 (NPP
 Objection) at 48-50 (cases and articles cited therein).
 335
     See Liebentritt Dep. Tr. 78:3-79:21.
 336
     See NPP 2476 (Beron Rpt.) at 2-3; 3/17/11 Trial Tr. 115:17-116:3, 160:18-161:6 (Beron).


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 information and observations of an independent expert.”337 There is no dispute that the

 Examiner fits that description. His investigation is by far the most comprehensive factual and

 legal review of the LBO Claims and, as the only truly independent party to undertake that

 review, he was in the best position to provide the most neutral assessments of those claims—

 points the Debtors and their experts have repeatedly conceded.338

          In constructing his decision trees, Beron relied on the Examiner’s specific, “bottom-line”

 conclusions, based on what was known to the Examiner at the time of his investigation, for each

 element, defense and important issue relating to the fraudulent conveyance claims at Step One

 and Step Two.339 The Examiner “frame[d]” those “conclusions … in a uniform fashion” along a

 “continuum” of seven, verbal descriptors.340 Because the Examiner did not attribute a numerical

 probability to these conclusions, Beron determined probability percentages for each, which are

 comparable to the ranges assigned by Black to those same phrases:341




 337
     In re Fibermark, Inc., 339 B.R. 321, 325 (D. Vt. 2006) (“The record compiled by the examiner is meant to be a
 source of information that assists parties in identifying assets of the estate, evaluating a plan of reorganization, or
 describing likely and legitimate areas for recovery.”).
 338
     See NPP 2186 (DCL Solicitation Motion) at ¶ 69 (“Accordingly, the exhaustive investigations already conducted
 and the extensive record already developed should guide the structure of the confirmation process relating to the
 LBO-Related Causes of Action. Indeed, the Court previously has noted as much, explaining that the Examiner’s
 Report would ‘probably inform not just the parties, but the Court about the scope … of the Confirmation
 Hearing.’”); 3/8/11 Trial Tr. 138:14-16 (Kurtz) (conceding Examiner is “formidable academic in the bankruptcy
 arena”); 3/9/11 Trial Tr. 201:10-13 (Black) (conceding Examiner is “independent in the sense that he had no bias
 against any of the parties”).
 339
     NPP 782 (Exam’rs Rpt.), Vol. I at 4; NPP 2476 (Beron Rpt.) at 19-20; 3/17/11 Trial Tr. 121:3-122:8 (Beron).
 340
     Id. at Vol. I at 6; see also 3/17/11 Trial Tr. 122:9-123:3 (Beron).
 341
     See NPP 2476 (Beron Rpt.) at 6; DCL 1484 (Amended Black Rpt.) at 13; NPP 957 (Beron Rebuttal Rpt.) at 2-3;
 NPP 2519 (NPP Beron Demonstrative) at 26. These percentages are the “base set” of percentages Beron assigned to
 the Examiner’s conclusions. For purposes of running a sensitivity analysis on these percentage determinations,
 Beron also performed his calculations using a “contracted set” and “spread set” of percentages. Because the
 “contracted” and “spread” set percentages did not have a material effect on his analysis, his conclusions are based on
 the “base set.” See NPP 2476 (Beron Rpt.) at 6-7. Although Black assigned ranges of percentages to the
 Examiner’s conclusions (instead of a singular percentage for each of the seven descriptors as Beron did), the mid-
 point of Black’s ranges were essentially the same as the base set of percentages used by Beron.


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       Examiner’s Seven                  Probability Percentages        Probability Ranges Assigned
       Sets of Conclusions                 Assigned by Beron                      by Black
       Highly Likely                               85%                              ≥ 85%
       Reasonably Likely                           70%                             70-85%
       Somewhat Likely                             60%                             55-70%
       Equipoise                                   50%                             45-55%
       Somewhat Unlikely                           40%                             30-45%
       Reasonably Unlikely                         30%                             15-30%
       Highly Unlikely                             15%                              ≤ 15%



 For example, because the Examiner concluded that it was “somewhat likely” that a court would

 find that the Step Two financing was an intentional fraudulent conveyance,342 Beron assigned a

 60% probability to this conclusion in his trees.343

         These probabilities were inputted into two decision trees Beron created for the fraudulent

 conveyance claims against the LBO Lenders for the Step One and Step Two financings.344 These

 two trees yielded a total of 104 fraudulent transfer outcomes.345 After combining these outcomes

 into a third tree to map the potential litigation outcomes for both Step One and Step Two,346

 Beron organized the outcomes from this tree into seven “branches,” so that he could combine

 like outcomes and differentiate between (i) those outcomes that did not result in an avoidance of

 any of the LBO debt, (ii) those that involved the avoidance of the Step One debt, the Step Two

 debt or both, (iii) those that involved different outcomes at the parent and subsidiary levels, and

 (iv) those where the intentional fraudulent conveyance claims succeeded at either step (because

 these claims are not subject to a section 546(e) defense).347



 342
     NPP 782 (Exam’rs Rpt.), Vol. II at 32.
 343
     See NPP 2476 (Beron Rpt.) at 28.5, 38; 3/17/11 Trial Tr. 124:2-16 (Beron).
 344
     See 3/17/11 Trial Tr. 129:4-135:12 (Beron); NPP 2476 (Beron Rpt.) at 27.5, 28.5.
 345
     See id. at 130:10-15, 136:3-17 (Beron); NPP 2476 (Beron Rpt.) at 27.5, 28.5.
 346
     See id. at 135:13-139:1 (Beron); NPP 2476 (Beron Rpt.) at 29.5.
 347
     See id. at 137:2-139:1 (Beron); NPP 2476 (Beron Rpt.) at 29.5.


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          Beron inputted these seven branches of outcomes into a fourth decision tree that

 implemented the Examiner’s conclusions regarding various statutory and equitable defenses and

 remedies (which were modeled by two other sets of decision trees created by Beron).348 This

 recovery tree then used a waterfall recovery model produced by Aurelius to identify the potential

 recoveries to the Non-LBO Creditors for each outcome in this tree.349 Inputting the recovery

 amounts generated by that waterfall model, Beron computed specific recoveries for each

 outcome in his recovery tree, which he in turn used to calculate the expected value of the

 fraudulent conveyance claims against the LBO Lenders.350

          In developing the decision trees for his analysis, Beron made a number of conservative

 assumptions. Each one of these assumptions led to a lower expected value determination for the

 LBO Claims.351 For example, Beron’s analysis did not include any recoveries for the Non-LBO

 Creditors in scenarios involving a “partial avoidance”—where there is a finding of avoidance at

 the parent level but not at the subsidiary level, or vice versa.352 Also, because the Examiner

 never addressed the issue, to the extent Step Two debt was not considered for the “capital


 348
     See NPP 2476 (Beron Rpt.) at 31.5, 33.5, 35.5; 3/17/11 Trial Tr. 141:19-142:10 (Beron). Specifically, based on
 the Examiner’s conclusions, this tree modeled whether: (i) the section 546(e) defense could apply to outcomes
 involving a finding of constructive fraudulent transfer; (ii) parent creditors could recover value from subsidiary
 estates when both the parent and subsidiary levels of LBO Lender debt are avoided; (iii) equitable disallowance or
 subordination would apply; and (iv) the Step One Lenders could participate in recoveries and distributions from the
 avoidance of Step Two debt. See id.
 349
     See 3/17/11 Trial Tr. 143:20-144:16 (Beron); NPP 31 (Aurelius Waterfall Recovery Model); see also 3/16/11
 Trial Tr. 22:12-24:10 (Gropper); Over the DCL Plan Proponents’ objection, the Court held that Beron’s reliance on
 the Aurelius waterfall model was appropriate under FRCP, 703, which permits experts to base their opinions on
 information “reasonably relied upon by experts in the particular field.” 3/17/11 Trial Tr. 257:15-16. As the Court
 implicitly held, it was perfectly reasonable for Beron to rely on the Aurelius waterfall model, an excel spreadsheet
 that simply performs mathematical recovery calculations based on uncontroversial facts concerning the Debtors’
 capital structure and creditor priorities, and the litigation outcome probabilities provided to Aurelius by Beron from
 his decision trees. 3/16/11 Trial Tr. 23:25-24:10.
 350
     See 3/17/11 Trial Tr. 140:17-144:11 (Beron); NPP 2476 (Beron Rpt.) at 33.5.
 351
     See id. at 145:23-151:17 (Beron); NPP 2476 (Beron Rpt.) at 23-24.
 352
     See id. at 148:5-149:3 (Beron). For instance, one scenario (“scenario 8”) involved an outcome resulting in a
 constructive fraudulent conveyance for Step One at the parent level, but not at the subsidiary level. Because this
 scenario was grouped into a branch of outcomes that do not give credit for fraudulent conveyance at Step One, this
 scenario did not contribute to any recoveries for Non-LBO Creditors under Beron’s analysis. See NPP 2476 (Beron
 Rpt.) at 29.5; 3/17/11 Trial Tr. 138:8-139:1 (Beron).


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 adequacy” or “ability to pay” financial condition tests, the trees modeled the tests as if they were

 satisfied in favor of the LBO Lenders so there was no chance of a finding of constructive fraud at

 Step One in those scenarios.353 Beron made similarly conservative assumptions with respect to

 equitable disallowance and subordination, and the section 548(c) lender good faith defense.354 In

 total, Beron assumed 100% LBO Lender success on 17 different nodes in his decision trees.355

         Based on this thorough analysis, and his 20-plus years of experience of assessing the

 reasonableness of settlements with decision-tree and expected value techniques, Beron

 concluded that the Proposed Settlement was “not even close” to reasonable.356 His computations

 showed that the expected value of litigating the LBO Claims against the LBO Lenders was $1.57

 billion to $1.79 billion.357 In addition, Beron determined that there was a 74% chance that the

 recovery for the Non-LBO Creditors in litigation would exceed the Proposed Settlement, and a

 57% chance that they would recover in full if the litigation was pursued.358 Therefore, the DCL

 Plan Proponents are asking the Court to approve a settlement that is roughly one-third of the

 expected value of the litigation and that would release claims that have a significant chance of

 prevailing.

          C.       Black’s Limited Rebuttal Of Beron’s Analysis Is Baseless

         Faced with this comprehensive analysis grounded on a methodology they could not and

 did not challenge, the DCL Plan Proponents attempted to discredit Beron with the opinions and

 testimony of Black. Essentially, Black offered largely legal opinions masqueraded as expert

 analysis, which were aimed more at the Examiner and his findings than at Beron. In any event,

 353
     See id. at 146:14-148:4 (Beron); NPP 2476 (Beron Rpt.) at 23-24.
 354
     See id. at 149:4-151:17 (Beron); NPP 2476 (Beron Rpt.) at 24.
 355
     See id. at 146:14-151:17 (Beron); NPP 2476 (Beron Rpt.) at 24; NPP 2519 (Beron Trial Demonstrative) at 21-24.
 356
     See id. at 170:4-11 (Beron).
 357
     See id. at 144:12-16, 169:21-170:3 (Beron). The expected value of $1.57 billion is for the “low PHONES
 scenario.” If the PHONES Notes claim amount is assumed higher (the “high PHONES scenario”), then the expected
 value is $1.79 billion. See NPP 2476 (Beron Rpt.) at 4.
 358
     NPP 2476 (Beron Rpt.) at 16; 3/17/11 Trial Tr. 166:21-167:19 (Beron).


                                                        68
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  on rebuttal, the Court refused to permit Black to testify as a decision-tree expert or to provide

  decision-tree analysis,359 and the few limited points he was allowed to address are, as discussed

  below, without factual or legal basis.360

                    1.       Beron Properly Relied On The Examiner’s “Bottom-Line”
                             Conclusions

           Unhappy with the Examiner’s conclusions, Black contended on rebuttal that Beron took

  those conclusions out of context.361 For example, Black suggested that when the Examiner

  concluded that it was “reasonably unlikely” for a court to conclude that there was an intentional

  fraudulent conveyance at Step One,362 the Examiner must have meant that there was actually no

  likelihood of such a finding because the Examiner stated elsewhere in his report that he “did not

  find credible evidence” that there was an actual intent to defraud creditors at Step One.363

           In conducting his analysis, however, Beron did exactly what the Examiner instructed the

  readers of the Examiner’s Report to do—looked at the opening conclusion of each section

  analyzing the issues regarding the fraudulent conveyance claims against the LBO Lenders.364

  Specifically, the Examiner stated up front that his Report was organized to allow a reader to

  quickly find the Examiner’s “bottom-line” conclusions on every issue at the “outset” of each

  “subsection” in Volume II of his report:

  359
      See 4/12/11 Trial Tr. 123:16-22, 124:21-125:3 (Black).
  360
      See id. at 141:13-147:8. See also, e.g., Brooks v. Outboard Marine Corp., 234 F.3d 89, 92 (2d Cir. 2000)
  (granting summary judgment where plaintiff’s expert had been excluded and thus plaintiff had no evidence in the
  record to support a claim for design defect). Cf. In re Hanover Direct, Inc. S’holders Litig., Nos. 1969-CC, 3047-
  CC, 3291-CC, 2010 WL 3959399, *1-2 (Del. Ch. Sept. 24, 2010) (accepting respondent’s position regarding
  valuation in shareholder appraisal action after rejecting petitioner’s valuation expert trial testimony and assigning
  full weight to testimony of respondent’s expert).
  361
      See 4/12/11 Trial Tr. 141:13-143:3, 180:12-25 (Black) (Black testifying that Beron wrongly assumed “it doesn’t
  matter what else the examiner said about the particular situation”); id. at 180:24-25 (Black) (Black testifying he
  thinks “the examiner does not restrict himself to the seven main categories”).
  362
      NPP 782 (Exam’rs Rpt.), Vol. II at 22.
  363
      4/12/11 Trial Tr. 142:15-21 (Black) The statement focused on by Black is contained in a completely separate
  volume of the Examiner’s multi-volume Report from where he stated his “bottom-line” conclusion regarding
  intentional fraudulent conveyance at Step One. Compare NPP 782 (Exam’rs Rpt.), Vol. I at 7 with NPP 782, Vol. II
  at 22.
  364
      See NPP 2476 (Beron Rpt.) at 3; 3/17/11 Trial Tr. 121:3-122:8 (Beron).


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                    The Examiner has organized this portion of the Report (as well as Volume
                    Three) to enable the reader to obtain, in a relatively quick fashion, the
                    Examiner’s “bottom line” regarding the issues presented. To accomplish
                    this objective, the Report sets forth the Examiner's conclusions regarding
                    the principal issues addressed in each subsection at the outset of that
                    subsection, followed immediately by the Examiner’s factual and legal
                    analysis.365

  Thus, the Examiner provided expressly that his “bottom line” conclusions reflect and are

  informed by all of the detailed analysis found in other related sections of the Examiner’s Report.

  Black’s attempt to contradict the Examiner’s conclusion based on a single phrase plucked out of

  the Examiner’s discussion – in a separate Volume of the Report – flouts the carefully designed

  structure of the Examiner’s Report.

           Thus, Beron was correct to rely on the conclusion found at the “outset” of the Examiner’s

  discussion that an intentional fraudulent transfer was “reasonably unlikely,” and to populate the

  corresponding node in his decision tree with the percentage associated with that phrase.366

  Finally, Beron was consistent in his approach, and also did not consider statements in the

  Examiner’s Report that were favorable to the Non-LBO Creditors if those statements were not

  part of the Examiner’s “bottom-line” conclusions—a fact Black conveniently ignores.367




  365
      NPP 782 (Exam’rs Rpt.), Vol. I at 4 (emphasis added).
  366
      NPP 2476 (Beron Rpt.) at 7-8; 3/17/11 Trial Tr. 123:4-124:1 (Beron). Notably, the Examiner did not assign his
  lowest probability phrase – highly unlikely – to the issue of intentional fraud at Step One. NPP 782 (Exam’rs Rpt.),
  Vol. I at 6; id. Vol. II at 22; 3/17/11 Trial Tr. 123:4-124:1 (Beron); see also DCL 1484 (Amended Black Rpt.) at 14,
  42-43.
  367
      For example, for each of Step One and Step Two, the Examiner determined in Volume II that it was “highly
  likely” (that is, an 85% chance using Beron’s probabilities) that a court would find that reasonably equivalent value
  was not exchanged. NPP 782 (Exam’rs Rpt.), Vol. II at 90. But the Examiner also concluded flat out in Volume I
  that “the Tribune Entities did not receive reasonably equivalent value” for the LBO Transaction as a whole. NPP
  782 (Exam'rs Rpt.), Vol. I at 19. If Beron did as Black suggested, he could have ascribed a 100% chance that these
  findings would be made.


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                   2.       That Beron Did Not Make Certain Findings Contingent Upon Or
                            Correlated With Others Is Not A Flaw And, In Any Event, Has No
                            Material Effect On His Analysis

          Black also claimed on rebuttal that Beron’s analysis should have correlated certain

  elements of the fraudulent conveyance claims and remedies.368 For example, Black argued that

  the Examiner’s conclusions regarding intentional fraudulent conveyance must be read as

  duplicative of his conclusions as to constructive fraudulent conveyance—and thus add nothing to

  the expected value of the litigation—because a finding of the former cannot happen without a

  finding of the latter.369 He also contended that the Examiner’s conclusions regarding the three

  financial condition tests for constructive fraudulent transfer must be correlated.370

          Black is wrong for several reasons. First, Beron modeled the Examiner’s Report, and

  when the Examiner concluded that specific aspects of the fraudulent conveyance claims were

  related in some way, he explicitly stated so.371 For example, the Examiner conditioned his

  findings on balance-sheet insolvency at Step One on his conclusion as to whether Step Two debt

  should be included with the Step One debt.372 The Examiner also expressly conditioned his

  conclusions regarding the financial condition test of the intent to incur debts beyond the ability to

  pay and the test for good faith for a section 548(c) defense on his conclusion as to whether those

  tests should be subjective or objective.373 In contrast, the Examiner did not conclude that a

  finding of intentional fraud is contingent upon a finding of any of the elements of constructive




  368
      See 4/12/11 Trial Tr. 143:4-144:18 (Black).
  369
      See id. at 143:7-144:5 (Black); see also 3/17/11 Trial Tr. 203:19-25 (Beron).
  370
      See id. at 143:13-144:18 (Black); see also 3/17/11 Trial Tr. 229:8-233:12 (Beron).
  371
      3/17/11 Trial Tr. 203:19-25, 229:19-21, 236:2-7 (Beron).
  372
      See NPP 782 (Exam’rs Rpt.), Vol. II at 77; 3/17/11 Trial Tr. 133:4-22, 135:1-6, 146:14-147:9 (Beron).
  373
      See id. at Vol. II at 239-240; 3/17/11 Trial Tr. 204:5-12 (Beron).


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  fraud, nor that the three financial condition tests under 548(a)(1)(B) should really be treated as

  just one test.374

           Second, Black’s position is not only inconsistent with the Examiner’s Report, it directly

  contradicts the evidence and the law. Some “badges of fraud” used to establish a intentional

  fraudulent transfer—like insolvency or lack of value—are also elements needed to establish a

  constructive fraudulent transfer.375 However, the law is clear that a party does not need to prove

  any particular badge of fraud to prevail on a claim for intentional fraudulent transfer.376 In this

  case the record compiled by the Examiner reveals multiple badges of fraud which would sustain

  a finding of intentional fraudulent conveyance independent of his findings of insolvency and lack

  of reasonably equivalent value.377 For example, the Examiner found evidence of “secrecy,

  concealment, or dishonesty” at Step Two, a badge of fraud that supports a finding of an

  intentional fraudulent conveyance regardless of whether or not the elements of constructive fraud

  are also present.378 That claims for intentional fraudulent and constructive fraudulent

  conveyance require different and independent forms of proof is also not subject to debate. In

  addressing the fraudulent transfer claims asserted against the Tribune shareholders, the Creditors’

  Committee itself told this Court that “[w]hile the respective causes of action may implicate




  374
      See 3/17/11 Tr. 203:19-25, 229-:19-21, 236:2-7 (Beron); 3/9/11 Trial Tr. 241:17-18 (Black); 4/12/11 Trial Tr.
  182:3-10 (Black).
  375
      See Liquidation Trust of Hechinger Inv. Co. v. Fleet Retail Fin. Group (In re Hechinger Inv. Co.), 327 B.R. 537,
  550-51 (D. Del. 2005) (citing authorities), aff’d, 278 F. App’x 125 (3d Cir. 2008); Moody v. Sec. Pac. Bus. Credit,
  Inc., 127 B.R. 958, 990 (Bankr. W.D. Pa. 1991), aff'd, 971 F.2d 1056 (3d Cir. 1992).
  376
      See In re Manhattan Inv. Fund Ltd., 397 B.R. at 8 (“‘badges of fraud are not a prerequisite to a finding of actual
  fraudulent intent’”) (quoting In re Actrade Financial Technologies Ltd., 337 B.R. 791, 791 (Bankr. S.D.N.Y. 2005));
  see also Fisher v. Sellis (In re Lake States Commodities, Inc.), 253 B.R. 866, 871 (Bankr. N.D. Ill. 2000) .
  377
      NPP 782 (Exam’rs Rpt.) Vol. II at 22-77; see also supra at II.B.
  378
      Id. at Vol. II at 35-36; see also In re Lake States Commodities, 253 B.R. at 871 (“The focus in the inquiry into
  actual intent is on the state of mind of the debtor. Neither malice nor insolvency are required.”).


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  similar operative facts, it cannot be disputed that [] the prima facie elements of (and the required

  evidence to support) the different claims … are demonstrably different.”379

           Likewise, with respect to the three financial condition tests for constructive fraudulent

  transfer, the Bankruptcy Code states the tests in the disjunctive, and does not provide that a

  finding of one is conditioned upon the finding of another.380 Indeed, the test for balance sheet

  solvency is clearly independent from the other two tests for adequacy of capital and ability to

  pay—a company may be balance sheet solvent but have inadequate capital or be unable to pay its

  debts as they become due.381 Therefore, the Examiner’s Report is consistent with prevailing law,

  and Beron correctly modeled the three tests as unrelated.

           Third, Black admitted on cross-examination that if one were to revise Beron’s decision

  trees and probabilities to reflect any alleged correlation between various conclusions of the

  Examiner (as Black argued for), to be consistent any revision would also have to include changes

  that increased, as well as decreased, his expected value conclusion.382 Black further admitted

  that there would in fact be several potential revisions to Beron’s decision trees that would




  379
      Creditors’ Committee Statement in Support of Aurelius’s State Law Actions Motion at ¶¶ 8-9 [ECF No. 8396]
  (emphasis added); see also NPP 2532 (3/22/11 Hr’g Tr.) at 58:20-23 (counsel for Creditors’ Committee explaining:
  “[T]he two claims really are not the same. There are different pleading elements, different burdens of proof,
  different recoveries, and of course, most notably different defenses.”).
  380
      See, e.g., In re Vadnais Lumber Supply, Inc., 100 B.R. 127, 133-137 (Bankr. D. Mass. 1989) (“Because the
  statute is in the disjunctive, we deal only with the issue of unreasonably small capital, finding and ruling that this
  element has been established… Unreasonably small capitalization is not the equivalent of insolvency in either the
  bankruptcy or equity sense.”).
  381
      See id.; MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport Services Co., 910 F. Supp. 913, 943-945
  (S.D.N.Y. 1995) (“A transfer may be set aside as fraudulent if the transferor, though its assets exceed its liabilities,
  is rendered unable to pay its debts as they come due.”) (citing Crowthers McCall, 129 B.R. at 997); Boyer v. Crown
  Stock Distribution, Inc., 587 F.3d 787, 794-95 (7th Cir. 2009). (“The difference between insolvency and
  “unreasonably small” assets in the LBO context is the difference between being bankrupt on the day the LBO is
  consummated and having at that moment such meager assets that bankruptcy is a consequence both likely and
  foreseeable…. Focusing on the second question avoids haggling over whether at the moment of the transfer the
  corporation became ‘technically’ insolvent, a question that only accountants could relish having to answer.’”).
  382
      4/12/11 Trial Tr. 183-191 (Black).


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  increase Beron’s conclusions as to the probability of success of the LBO Claims against the LBO

  Lenders and their overall expected value.383

           Finally, Black never attempted in his rebuttal testimony to quantify in any way what the

  impact would be on the value of the litigation if Beron had modeled the Examiner’s conclusions

  as Black claimed they should be. Beron, on the other hand, did run sensitivities and testified

  about them at trial. Specifically, he adjusted the decision trees so that (i) a finding of the ability

  to pay debts could not be made if there was not first a finding of inadequate capital, and (ii) a

  finding of equitable subordination could not be made if there was not first a finding of equitable

  disallowance.384 Beron also adjusted the way in which his recovery decision-tree modeled

  whether Step One Lenders could participate in the recovery of disgorgements and distributions to

  the extent Step Two debt was avoided.385 Making these adjustments, the expected value of the

  fraudulent conveyance claims against the LBO Lenders under Beron’s analysis would still be at

  least $1.3 billion—2.3 times higher than the consideration being offered to Non-LBO Creditors

  in the Proposed Settlement.386 Therefore, even if one were to accept, arguendo, that some of the

  Examiner’s findings on fraudulent transfer are correlated, Beron’s analysis would still show that

  the Proposed Settlement is far from reasonable.

                    3.       Beron Was Correct Not To Include Potential Litigation Trust
                             Recoveries In Analyzing The Fairness Of The Proposed Settlement

           Black also testified that he thought Beron’s analysis was incomplete because it did not

  examine the potential recoveries from the Litigation Trust proposed under the DCL Plan.387 As

  discussed in more detail below, the Litigation Trust recoveries are both unsupported and

  383
      Id. at 183-191 (Black) (admitting intentional fraudulent transfer and constructive fraudulent transfer would
  almost certainly be found at Step Two if it was first found at Step One; admitting that an adverse ruling on certain
  defenses would be dispositive of or materially reduce the LBO Lenders’ chances of prevailing on other defenses).
  384
      See 3/17/11 Trial Tr. 246:20-250:3 (Beron).
  385
      See id. at 173:9-176:8 (Beron).
  386
      See id. at 248:1-12 (Beron).
  387
      See 3/9/11 Trial Tr. 146:16-147:16 (Black).


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  irrelevant to an assessment of the reasonableness of the Proposed Settlement.388 The purpose of

  Beron’s analysis was to determine the expected value of the LBO Claims actually being settled

  in the Proposed Settlement—namely, the fraudulent transfer claims against the LBO Lenders.

  Therefore, his $1.57 billion expected value figure is directly comparable to the approximately

  $557 million in consideration offered to the Non-LBO Creditors under the DCL Plan.389

                   4.      There Is No Reason To Discount The Expected Value Of The LBO
                           Claims For The “Time Value Of Money”

          Black also contended in his rebuttal testimony that Beron should have discounted his

  expected value determination for the time value of money.390 Again, this is less an attack of

  Beron than it is a complaint about the Examiner, who did not take into account the time value of

  money in calculating example recovery cases for the LBO Claims.391 In lodging this criticism,

  Black failed to take into account pre-judgment interest, which would more than offset any

  discount that might reasonably apply for the time value of money. As Beron testified, it is not his

  practice to discount the time value of money in an expected value analysis precisely because of

  this pre-judgment interest offset.392

          Therefore, this Court should disregard Black’s attempts on rebuttal to critique Beron’s

  comprehensive analysis. Instead, it should rely on Beron’s conclusions finding the Proposed

  Settlement to be far from reasonable, based on the Examiner’s neutral determinations and

  Beron’s 20-plus years of decision-tree and expected value analysis.




  388
      See infra at V.
  389
      See NPP 2476 (Beron Rpt.) at 3; 3/17/11 Trial Tr. 165:20-166:20 (Beron). Recoveries for the Non-LBO
  Creditors under the DCL Plan are estimated to be $557 million (excluding recoveries for the Swap Claim). See DCL
  1429 (DCL Specific Disclosure Statement) at 13-16; DCL 376 (General Joint Disclosure Statement) at 24.
  390
      4/12/11 Trial Tr. 146:4-17 (Black).
  391
      3/17/11 Trial Tr. 236:21-237:6, 237:16-238:5 (Beron); NPP 782 (Exam’rs Rpt., Vol. II at (Annex B).
  392
      Id. at 237:1-10 (Beron).


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           D.       Black’s Affirmative Opinions and Testimony Should Also Be Completely
                    Disregarded

           The affirmative testimony of Black deserves little, if any, evidentiary weight. Instead of

  performing the robust decision-tree and expected value analysis that Beron undertook, Black

  conceded he did his analysis “in [his] head.”393 This back-of-the-envelope analysis resulted in

  Black having to amend his report in order to change 37 separate probabilities in his tables, all of

  which were based on his subjective judgment.394 His approach was also incomplete, omitting

  36% of the total probabilities of fraudulent conveyance litigation scenarios395—omissions Black

  conceded necessarily impacts the expected value calculation.396

           In addition, rather than rely on the Examiner’s exhaustive investigation, Black attempted

  to second-guess the Examiner’s factual and legal conclusions.397 Yet Black conceded he is “not

  an expert in bankruptcy law.”398 His review of the underlying facts was similarly inadequate.

  He did not review the complaint asserting the causes of action he was supposed to assess, or the

  transcripts of the depositions and interviews of the witnesses knowledgeable of the LBO and

  critical to some of the LBO Lenders’ defenses.399 Black also did not develop any part of his

  analysis on his own. Instead, he relied on significant input from the Debtors’ counsel on the

  probabilities he used.400




  393
      3/9/11 Trial Tr. 230:5-231:2 (Black).
  394
      Id. at 260:13-261:1 (Black); NPP 2465 (page from Black’s work papers used to develop Table 3 at Black Report
  26, annotated to show changes); see generally 3/9/11 Trial Tr. 251:22-261:1 (Black); DCL 1484 (Amended Black
  Rpt.) at 25, Table 3; NPP 2367 (Black’s working spreadsheets); NPP 2465 (comparison of Black work papers);
  3/9/11 Trial Tr. 220:13-222:2 (Black).
  395
      See NPP 957 (Beron Rebuttal Rpt.) at 17-19; 3/17/11 Trial Tr. 164:4-20 (Beron).
  396
      See 3/9/2011 Trial Tr. 206:18-25 (Black).
  397
      NPP 957 (Beron Rebuttal Rpt.) at 5-10; DCL 1484 (Amended Black Rpt.) at 3, 17-18, 23-24.
  398
      DCL 1484 (Amended Black Rpt.) at 3, 17; 3/9/11 Trial Tr. 180:12-181:2 (Black).
  399
      See 3/9/11 Trial Tr. 194:22-196:22, 197:16-199:9 (Black).
  400
      See id. at 188:19-23 (“So I didn’t develop the probabilities in Table 3 entirely on my own. I developed them in
  consultation with Sidley as to, you know, the likely success of different claims in the bankruptcy court.”), 185:17-
  189:4.


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          Black also skewed his analysis. For 18 of the 22 critical legal issues that he re-examined,

  Black reached conclusions that were significantly less favorable to the Non-LBO Creditors than

  the Examiner’s conclusions.401 Of course, that is not surprising since Black had already given

  the Debtors “real time” advice in support of their DCL Plan before he ever issued his report.402

  The Court therefore should disregard the biased and pre-determined opinions Black offered in his

  affirmative testimony and initial report, because they are based on unscientific judgments about

  legal and factual issues for which he has no expertise or familiarity.403

  IV.     THE BAR ORDER IS INEQUITABLE AND UNSUPPORTED BY THE RECORD

          In addition to the proposed estate and creditor releases of all LBO Claims against the

  LBO Lenders, the DCL Plan Proponents are asking this Court to prospectively (a) bar all

  contribution and non-contractual indemnity claims to be asserted by the non-settling defendants

  against the LBO Lenders, and (b) impose proportionate judgment reduction in respect of all

  remaining LBO Claims, including State Law Avoidance Claims (the “Preserved Claims”).404 It

  is undisputed that this provision has the potential to materially reduce, or even eliminate,

  additional future recoveries, and was neither negotiated by nor consented to by the Non-LBO

  Creditors whose recoveries are at stake.

          Under the proposed Bar Order, the non-settling defendants’ liability and, therefore, the

  recoveries with respect to the Preserved Claims, will be reduced by the proportionate fault of the


  401
      See NPP 957 (Beron Rebuttal Rpt.) at 8; 3/17/11 Trial Tr. 159:7-160:7 (Beron).
  402
      3/9/11 Trial Tr. 190:19-192:9 (Black).
  403
      See, e.g., Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 580 (1993) (expert must be qualified to give
  opinion testimony under FED. R. EVID. 702); Bankruptcy Serv., Inc. v. Ernst & Young (In re CBI Holding Co.), No.
  96-9143A, slip op. at 17-18 (Bankr. S.D.N.Y. Oct. 23, 2000) (Lifland, J.) (excluding testimony of proffered expert
  in bench trial because expert was conflicted); Berckeley Inv. Grp. v. Colkitt, 455 F.3d 195, 217 (3d Cir. 2006)
  (“expert witness is prohibited from rendering a legal opinion”); Oddi v. Ford Motor Co., 234 F.3d 136, 156, 158-9
  (3d Cir. 2000) (expert opinion properly disregarded because it was based on “little, if any, methodology beyond his
  own intuition” and on “haphazard, intuitive inquiry” that could not be tested, submitted to peer review or assessed
  by court).
  404
      See DCL 1586 (DCL Plan) § 11.3.


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  settling defendants (via contribution), or eliminated all together (via common law

  indemnification).405 The Bar Order therefore constitutes an unjustifiable third-party release of

  claims, since it would prevent Preserved Claims beneficiaries from recovering their full value.406

           Moreover, independent of the material affect it may have at trial, proportionate judgment

  reduction will hand the non-settling defendants an enormous weapon in settlement negotiations,

  enabling them to maintain that even if they are found liable to the Litigation Trust (or directly to

  the individual creditors), most or all of the fault should be shifted onto the settling defendants

  and they will therefore face little, if any, exposure. Armed with another defense, the non-settling

  defendants will have little incentive to offer anything beyond a token settlement.

           The Bar Order simply may not be approved on the record developed here. The DCL Plan

  Proponents have offered no evidence regarding what affect the Bar Order will have on recoveries

  in respect of the Preserved Claims, or that the consideration to be provided by the LBO Lenders,

  together with the Bar Order, constitutes reasonable consideration for the underlying releases.407

  Nor have they offered any evidence of the LBO Lenders’ comparative fault vis-à-vis the non-

  settling defendants. Without such findings the “hallmarks of permissible non-consensual

  releases—fairness, necessity to the reorganization, and specific factual finding to support these

  conclusion—“cannot be deemed present.”408 On top of these critical gaps in the record, the DCL


  405
       Id. at §11.3. The Noteholder Plan Proponents do not concede in any respect that contribution or indemnity
  would have been available to the non-settling defendants, or that judgment reduction will apply (assuming of course
  the DCL Plan is confirmed). The LBO Lenders and the non-settling defendants, however, maintain that the non-
  settling defendants would in fact be entitled to claim over against the arranger banks and LBO Lenders in the
  absence of a bar order, and, therefore, that they will be entitled to judgment reduction in respect of the Preserved
  Claims. See 4/13/11 Trial Tr. 121:5-8, 123:1-4, 127:6-12 (McCambridge) (discussing contribution/indemnity claims
  of D&O defendants); DCL Confirmation Brief at 112-13, 120 [ECF No. 8173].
  406
      This Court has recognized the inequity of releasing creditor claims against third parties without consent. See In
  re Exide Techs., 303 B.R. 48, 72, 75 (Bankr. D. Del. 2003). Similarly, in In re Continental Airlines, 203 F.3d 203,
  214-215 (3d Cir. 2000), the Third Circuit rejected a reorganization plan that released lawsuits against certain non-
  debtor officers and directors without a sufficient evidentiary and legal basis. See also In re Genesis Health
  Ventures, Inc., 266 B.R. 591 (Bankr. D. Del. 2001).
  407
      See 3/15/11 Trial Tr. 299:3-25 (Gropper); 3/8/11 Trial Tr. 156:22-157:5 (Kurtz).
  408
      In re Continental Airlines, 203 F.3d at 214.


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  Plan Proponents offered no evidence that the Bar Order is not severable, or that the LBO Lenders

  would not have entered into the Proposed Settlement unless the Bar Order was included.

           Contrary to the DCL Plan Proponents’ assertions, the Bar Order is not at all similar to

  those approved by other courts.409 In each of those cases, the plaintiff made a calculated

  agreement to potentially limit its own future recoveries against the non-settling defendants based

  on the amount being paid by the settling defendant(s) and its view of relative fault, and the party

  objecting to the Bar Order was not the plaintiff but was the non-settling party.410

           Here, however, the creditors who stand to have their Preserved Claim recoveries limited

  by the Bar Order, were not involved in the negotiation of the settlement,411 have not consented to

  the very real risk posed by the Bar Order, and dispute that the meager settlement proposed here is

  proportionate to the fault that a jury might ascribe to the settling defendants. While Creditors’

  Committee’s counsel apparently agreed to the Bar Order, that does not bring the proposed Bar

  Order within the ambit of the cases on which the DCL Plan Proponents rely. All of the Creditors’

  Committee members (save one) who voted to approve the Proposed Settlement have no interest

  in the Litigation Trust because their claims are being paid in full or their contracts are being

  assumed under the DCL Plan. Hence, these members face none of the risks associated with the

  Bar Order, yet were eager to impose it on Pre-LBO Noteholders in exchange for their own




  409
      See DCL Confirmation Brief at 111-14 [ECF No. 8173].
  410
      For example, in In re SemCrude, the bar order at issue was not opposed by the litigation trustee, who negotiated
  and agreed to the settlement, or the trust board. See In re SemCrude, Nos. 08-11525, 09-50189 (BLS), 2010 WL
  4814377, at *3 (Bankr. D. Del. Nov. 19, 2010) (“The Settlement is also unanimously supported by the governing
  board of the Litigation Trust, which is comprised of representatives of the Debtors' unsecured and lender
  creditors.”). The same was true in Eichenholtz, where the Third Circuit noted that “[t]he risk of a ‘bad’ settlement
  falls on the plaintiffs, who have a financial incentive to make certain that each defendant bears its share of the
  damages.” Eichenholtz v. Brennan, 52 F.3d 478, 487 (3d Cir. 1995).
  411
      This problem is present even where plaintiff input is sought, as has been noted by the Fourth Circuit. See In re
  Jiffy Lube Sec. Litig., 927 F.2d 155, 161 n.3 (4th Cir. 1991) (“the final determination of the amount of setoff is
  necessarily delayed, making it difficult to frame a notice to the plaintiff class that fairly presents the merits of the
  proposed settlement.” ).


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  plan treatment.412 Thus, unlike the facts in the DCL Plan Proponents’ line of cases, the parties

  put at risk by the judgment reduction clause did not negotiate or agree to the Bar Order and, as a

  result, such Bar Order should not be permitted.

           The DCL Plan Proponents’ case law also is inapposite here—this Court has never

  determined, and the DCL Plan Proponents have never argued, the relative fault of the LBO

  Lenders. In the absence of any findings apportioning fault, circuit courts have rejected bar

  orders even with judgment reduction.413 And the Third Circuit has approved of bar orders only

  after determining that the underlying settlement is generous in light of the merit of the

  contribution claims being eliminated.414

           Finally, the Bar Order inappropriately shifts the burden of proving damage allocation

  from the non-settling defendants onto the Litigation Trust or individual creditors. Instead of the

  defendants exhausting resources to determine who must contribute to a judgment, the Litigation

  Trust (on behalf of Non-LBO Creditors) will be forced to argue in each action that the Debtors’

  advisors, directors, officers, and pre-LBO shareholders should be held entirely responsible for

  the disastrous LBO and not the LBO Lenders, who are barred from contribution or

  indemnification.

           For the reasons set forth above, based on the record of these cases and under applicable

  legal precedent, the Bar Order cannot be approved.
  412
      See DCL 1586 (DCL Plan) at Ex. A, §§ 3.3.5 (Classes 2E through 111E – General Unsecured Claims), 6.5
  (Compensation and Benefit Programs); see also NPP 2223 (NPP Confirmation Brief) ¶ 11; NPP 2474 (NPP
  Objection) ¶ 53; see infra Section VII(B).
  413
      See Eichenholtz, 52 F.3d at 487 n.17 (quoting TBG, Inc. v. Bendis, 36 F.3d 916, 923 (10th Cir. 1994) (“Since the
  court did not decide the settling defendants' proportional fault and order a credit in that amount, the court had no
  power to bar the non-settling defendants' contribution claim.”)).
  414
      See In re Nutraquest, Inc, 434 F.3d 639, 649 (3d Cir. 2006) (also cited by the DCL Plan Proponents, where the
  Third Circuit noted that the District Court approving the underlying settlement did so based on “the relative
  weakness of the claims, as shown by plaintiffs’ well-researched decision not to sue” the settling defendants) (citing
  Johnson v. United Airlines, 784 N.E.2d 812, 818 (2003)); see also SemCrude, 2010 WL 4814377, at *3 (noting “the
  uncertainty of the Trustee’s success on the merits.”); Munford v. Munford, Inc. (In re Munford, Inc.), 97 F.3d 449,
  456 (3d Cir. 1996) (approving bar order challenged by non-settling defendants upon determination that contribution
  or indemnity claims were unlikely to prevail and litigating them would deplete any remaining assets of the debtor).


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  V.       THE POTENTIAL FOR LITIGATION TRUST PROCEEDS DOES NOT CURE
           THE INADEQUACY OF THE PROPOSED DCL SETTLEMENT

           The DCL Plan Proponents contend that the preservation of the Litigation Trust Claims

  under the DCL Plan adds meaningful additional settlement consideration and supports the overall

  “reasonableness” of the Proposed Settlement.415

           This argument fails for several fundamental reasons. First, the DCL Plan Proponents

  have the burden of proving the value of the alleged consideration being provided under the DCL

  Plan to settle the claims against the LBO Lenders, and have utterly failed to do so.416 Despite the

  DCL Plan Proponents’ promise during opening arguments to present evidence showing that the

  Litigation Trust Claims have “very substantial value” and add significant additional

  consideration for release of the claims against the LBO Lenders, they produced no evidence on

  this point at all at trial.417 Indeed, the Debtors admitted they have no idea what the Litigation

  Trust Claims are worth, if anything, and were not aware of any DCL Plan Proponent—or anyone

  else, for that matter—attempting to determine the value of the Litigation Trust Claims.418

           Instead, the DCL Plan Proponents opted to rely on Black’s speculation – which he

  described as a mere “illustrative assessment”—that the Litigation Trust Claims may be worth as

  much as $300 million.419 Black’s testimony is neither competent nor credible, and should be

  given no weight.420 Black undertook no meaningful analysis of the Litigation Trust Claims, and

  based his testimony only on a series of dubious assumptions and his “professional judgment.”
  415
      See DCL 1586 (DCL Plan) Notice of Filing at 5; 4/14/11 Trial Tr. 150:3-9, 13-21 (Johnston).
  416
      See In re Young Broadcasting Inc., 430 B.R. 99, 128 (Bankr. S.D.N.Y. 2010) ("The proponent of a proposed plan
  bears the burden of proving essential elements of confirmation by a preponderance of the evidence.")
  417
      See 3/7/11 Trial Tr. 38:17-23 (Sottile); 4/14/11 Trial Tr. 150:13-16 (Johnston).
  418
      See 3/8/11 Trial Tr. 156:8-18 (Kurtz) (“Q: Now, to your knowledge, the debtor has never attempted to value the
  claims being preserved for the trust, have they? A: The debtor has never done a valuation, that I am aware of, of the
  claims that are going into the trust. That’s true. Q: Okay. And to your knowledge, no one else has attempted to
  value those claims, have they? A: Done a valuation on the claims? Q: Yes A: Not that I’m aware of.”); See
  Liebentritt Dep. Tr. at 276:22-25:14 (Q: [Y]ou don’t know whether the interest in the litigation trusts are worth more
  or less than $30 million; correct? A: No, does Aurelius?”).
  419
      3/9/11 Trial Tr. 147:19-152:2 (Black).
  420
      See id. at 149:23 (Black).


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  For example, fully 2/3 of the value Black assigns to the Litigation Trust supposedly comes from

  the claims against the Company’s directors and officers, and Black’s wild speculation about what

  might happen in future settlement negotiations with the Company’s D&O insurers concerning

  those claims. Even though he does not appear to have reviewed the policies at issue, or

  considered any of the potential defenses or other issues that inevitably arise in coverage

  litigation, Black states flatly that the insurers would agree to pay 100% of their $200 million in

  policy limits.421 This type of back-of-the-envelope supposition cannot possibly satisfy the

  Debtors’ burden of proving that the Litigation Trusts Claims have sufficient value to render the

  Proposed Settlement reasonable.

           Moreover, Blacks’ assessment is contrary to his other testimony, which was dismissive of

  the merits of many of the principal Litigation Trust Claims. Indeed, regarding the D&O claims

  upon which Blacks’ assessment primarily relies, Black testified: “I personally . . . I don’t think

  these claims are very good.”422 Black also testified that VRC, which he described as “the

  principle [sic] financial advisor here,” may not have liability insurance, and therefore may be

  judgment-proof.423 In fact, Black’s $300 million “assessment” does not actually reflect his own

  view of the value of the Litigation Trust Claims at all; rather, Black is merely speculating about

  the value that one might be ascribed to the Litigation Trust Claims if one makes assumptions

  about the merits of those claims that Black himself expressly rejects.424 This is not evidence at




  421
      Id. 148:14-17; NPP 2216 (Black Rpt.) at 9-12 (insurance policies not among the documents Black claims to have
  specifically reviewed).
  422
      See 3/9/11 Trial Tr. 148:9-12 (Black).
  423
      See id. at 149:17-22 (Black); Black also indicated his skepticism with respect to other Litigation Trust Claims,
  testifying that the claims against the shareholders are basically worthless, and asserting that no one has ever “chased
  shareholders successfully” in connection with a fraudulent conveyance case. See 3/9/11 Trial Tr. 150:24-25 (Black)
  (denying “there’s value in the claims at step one”); id. 151:10-13 (claiming Step Two claims are a “long shot”).
  424
      3/9/11 Trial Tr. 148:9-11 (Black).


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  all, much less the proof of “substantial value” the DCL Plan Proponents promised to deliver in

  their opening statement.425

           The asserted value of these claims is a red herring in any case, since the Litigation Trust

  Claims will be available to the estates whether or not the DCL Plan is approved, and their

  preservation under the DCL Plan does not and could not constitute additional consideration to

  the Non-LBO Creditors no matter what their value.426 While the DCL Plan Proponents make

  much of their proposed allocation of a larger share of the Litigation Trust proceeds to the Non-

  LBO Creditors, once again they offered absolutely no evidence as to the value of that

  reallocation.

           Moreover, the DCL Plan Proponents’ argument is based on the assumption that the LBO

  Lenders—who consented to and actively participated in the fraudulent LBO—would be

  permitted to receive any proceeds from claims arising out of the LBO, much less the “lion’s

  share” of the proceeds that they claim they would be entitled to absent the reallocation provided

  under the DCL Plan.427 In fact, the Litigation Trust arguably could be precluded from pursuing

  the Litigation Trust Claims if the LBO Lenders stand to benefit from those claims. Indeed,

  JPMorgan has asserted this very point in moving to dismiss claims asserted by the Lyondell




  425
      At trial, DCL Plan Proponent witness Miriam Kulnis claimed that Aurelius “put a lot of value” on the Litigation
  Trust Claims. 3/9/11 Trial Tr. 78:7-15 (Kulnis). Kulnis is incorrect. In fact, Aurelius and Beron determined the
  value of the claims against the LBO Lenders that the DCL Plan purports to release, not the preserved Litigation
  Trust Claims, which—as Black himself recognized—are subject to defenses, collectability problems and other
  obstacles to recovery from which the claims against the LBO Lenders are free. See 4/12/11 Trial Tr. 135:17-136:2
  (Black). Thus, contrary to Kulnis’s claim, there is no evidence in the record from either side establishing the value
  of the Litigation Trust Claims.
  426
      See 3/8/11 Trial Tr. 156:8-21 (Kurtz).
  427
      See 3/9/11 Trial Tr. 115:5-7. While the LBO Lenders will receive Distribution Trust Interests (and Creditors’
  Trust Interests) under the Noteholder Plan, the priority of such interests will be determined by the courts
  adjudicating the applicable causes of action. The Noteholder Plan Proponents do not expect that courts with
  jurisdiction over the LBO Claims and the State Law Avoidance Claims will permit the LBO Lenders to share in any
  litigation proceeds unless and until the Non-LBO Creditors are paid in full (inclusive of postpetition interest).


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  litigation trustee (e.g., that amounts due to the LBO Lenders cannot be pursued).428 If JPMorgan

  is correct, and the LBO Lenders have no right to share in proceeds from LBO Claims at all, their

  proposed reallocation of interests in the Litigation Trust could not possibly constitute additional

  consideration supporting the Proposed Settlement.429

           Finally, as a matter of law, any recoveries that may one day be realized from the

  Litigation Trust Claims cannot be considered by the Court in making its Rule 9019

  determination. In Martin, the Third Circuit opined that to determine the reasonableness of a

  settlement, courts should “assess and balance the value of the claim that is being compromised

  against the value to the estate of the acceptance of the compromise proposal.”430 Future

  recoveries that may result from the prosecution of claims against other parties, however, should

  not be considered. Instead, courts should evaluate the merits of each specific cause of action to

  be settled, the relative exposure of the involved parties and the consideration to be paid to settle

  the subject claims.431 In short, potential recoveries from third parties are not equivalent to

  consideration provided by the LBO Lenders and therefore do not impact the value of

  consideration offered in connection with the Proposed Settlement.

  VI.      THE DEBTORS’ ARTIFICIALLY LOW DEV OF $6.75 BILLION FURTHER
           ACCENTUATES THE UNREASONABLENESS OF THE PROPOSED
           SETTLEMENT

  428
      NPP 2520 (Lyondell Motion to Dismiss) at 44-47 (citing, In re Refco, Inc. Sec. Litig., 2009 WL 7242548, *11
  (S.D.N.Y. Nov. 13, 2009).
  429
      See, e.g., Phar-Mor, Inc. Sec. Litig., 900 F. Supp 784 (W.D. Pa. 1995) (holding that the trustee of a litigation
  trust may recover against a third party where the beneficiaries of the trust did not include the culpable parties and
  therefore the equitable principles of tort liability did not require imputation). During oral argument, the DCL Plan
  Proponents asserted that the above precedent was inapposite because the LBO Lenders’ bad acts were merely
  “unproven allegations.” 4/14/11 Trial Tr. 152:11-19. But success on many of the Litigation Trust Claims
  presupposes that the culpability/liability of the LBO Lenders has been established.
  430
      91 F.3d at 393; see also Key3Media Group, Inc. v. Pulver.com Inc. (In re Key3Media Group Inc.), 336 B.R. 87,
  93 (Bankr. D. Del. 2005) (internal citations omitted) (same).
  431
      See In re Washington Mut., Inc., No. 08-1229, 2011 WL 57111, *7-8 (Bankr. D. Del. Jan. 7, 2011) (declining to
  adopt the plan proponents’ “holistic approach” and finding that “each part of the settlement must be evaluated to
  determine whether the settlement as a whole is reasonable”); In re Fleming Packaging Corp., No. 03–82408, 2007
  WL 4556981, at *2 (Bankr. C.D. Ill. Dec. 20, 2007) (finding that “[t]he consideration that the estate is receiving
  must be reasonably equivalent to the value of the disputed claim”).


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          The DCL Plan is predicated on a DEV of $6.75 billion, with 8.4% (or $564 million)

  allocated to Tribune and 91.6% (or $6.19 billion) allocated to the Subsidiary Debtors (on a

  consolidated basis).432 The evidence presented at trial makes clear that this valuation is out of

  date and depressed, and that the Debtors’ true DEV is approximately $1.5 billion higher, thereby

  further compounding the patent unfairness of the Proposed Settlement. For example, based on

  this more accurate DEV, the Senior Noteholders could be paid in full if just the Step Two debt is

  avoided, and the holders of PHONES Notes would recover approximately 70% on their

  claims.433

          A.        Lazard Conceded That The Debtors’ DEV Is Higher Than $6.75 Billion

          The Debtors’ financial advisors at Lazard prepared a series of valuation reports in

  connection with their engagement, each one resulting in a valuation estimate higher than the last.

  Yet at trial, Lazard stubbornly clung to an earlier, out-of-date, and lower valuation.

          In March 2010, Lazard prepared a valuation in connection with the Debtors’ June 2, 2010

  Disclosure Statement (the “March Valuation Report”), and arrived at a valuation estimate of $6.1

  billion—a valuation which certain of the DCL Plan Proponents recognized was “conservative,”

  “likely inaccurate,” and inconsistent with trading prices for Tribune debt which indicated that

  “the market places a much higher value on Tribune.”434 In July 2010, Lazard increased its

  valuation to about $6.5 billion.435 Lazard next prepared an October valuation (the “October

  Valuation Report”) which resulted in a valuation estimate of $6.75 billion.436 The October

  Valuation Report was an update to, and incorporated the same approach and methodologies as,



  432
      See DCL 376 (General Joint Disclosure Statement) at Ex. F.
  433
      3/15/11 Trial Tr. 296:23-298:17 (Gropper).
  434
      3/11/11 Trial Tr. 20:9-12, 81:10-15 (Mandava); NPP 1989 (Credit Agreement Lenders’ Settlement Statement) at
  n.4.
  435
      Id. at 81:16-20 (Mandava).
  436
      Id. at 81:21-24 (Mandava).


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  the March Valuation Report.437 Three months later, Lazard prepared a further update (the

  “January Valuation Report”) which resulted in a midpoint valuation estimate of $7.019 billion.438

  The January Valuation Report was prepared “at the request of Sidley Austin LLP . . . to

  summarize Lazard’s conclusions as to the total distributable value of the Debtors’ consolidated

  estates based on the most recently available information.”439

           The January Valuation Report incorporated updated trading multiples and discount rates

  based on market data available as of January 19, 2011, and up-to-date performance numbers for

  2010 and 2011 projections based on a preliminary version of the 2011 budget (the “Preliminary

  2011 Plan”).440 The Preliminary 2011 Plan was presented to the Board in December 2010, and

  was the result of a ground-up process which began in October 2010.441 It incorporated month-

  end results through November 2010, which were available in the first week of December.442

           Mandava testified that he agreed with the methodologies, calculations, and results of the

  January Valuation Report, including the conclusion of a midpoint valuation estimate of $7.019

  billion, and that the valuation work performed in January was accurate.443 Likewise, Chachas

  testified that, as of February 8, 2011, the January Valuation Report contained Lazard’s “most

  current estimate” of the Debtors’ DEV.444 Thus, there can be no dispute that the January



  437
      3/11/11 Trial Tr. 81:25-82:5 (Mandava).
  438
      Id. at 82:12-25 (Mandava).
  439
      NPP 2284 (Lazard Valuation Supplement) at 1.
       Although the Lazard Expert Report was signed by two purported valuation experts – David Kurtz and Suneel
  Mandava –Kurtz did not provide any testimony at the Confirmation Hearing in support of the DCL Plan DEV; did
  not have any expert opinions as to the enterprise value of the Debtors; and did not have an opinion as to whether
  DCF, comparable company or precedent transactions analyses contained in the Lazard Expert Report were accurate
  or done correctly. 3/11/11 Trial Tr. 83:13-86:7 (Mandava).
  440
      3/11/11 Trial Tr. 70:18-71:15, 87:19-22 (Mandava).
  441
      3/14/11 Trial Tr. 124:19-125:1, 143:18-144:16 (Hartenstein).
  442
      Id. at 146:19-147:5 (Hartenstein).
  443
      3/11/11 Trial Tr. 82:19-25, 88:6-12 (Mandava).
  444
      Id. at 208:16-25 (Chachas) (“Q: And as of the February 8th date of the expert report that you submitted, isn't the
  January supplement the most current – the most current estimate that Lazard had prepared of Tribune’s distributable
  enterprise value? A: Yes, it was.”).


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  Valuation Report contains a better and more current estimate of the Debtors’ DEV than either

  Lazard’s October or March valuation reports.

          Incredibly, the Lazard Expert Report submitted on February 8, 2011445 relies on the $6.75

  DEV conclusion from the October Valuation Report—not the January Valuation Report—even

  though the October Valuation Report was four months old at the time, was based on stale stock

  prices as of October 4, 2010, and used stale inputs in the DCF such as, the risk-free rate and risk

  premiums.446 Indeed, the January Valuation Report was not even disclosed in the Lazard Expert

  Report, unlike the March and October valuation reports which were attached, nor was a single

  reference made to the $7.019 billion valuation conclusion reached by Lazard just weeks

  earlier.447

          The DCL Plan Proponents’ attempt to depress DEV and bury their own experts’ most

  recent valuation conclusion is understandable, given the impact that the Debtors’ true DEV has

  on the reasonableness of the settlement. A higher DEV results in a higher recovery for the Senior

  Lenders, and should also result in the Senior Lenders giving up a greater percentage of their

  recovery to settle the LBO Claims.448 At Lazard’s January DEV conclusion of $7.019 billion, the

  Step One Lenders (and General Unsecured Creditors at the Subsidiary Debtors) would be paid in

  full under a waterfall plan if only the Step Two debt is avoided (and no post-petition interest is

  allowed), leaving enough value to pay the Senior Noteholders well in excess of the Proposed

  Settlement.449 As previously explained, and according to the Examiner’s Report, the avoidance

  of Step Two is a virtual certainty if the claims are litigated. Further, recoveries to Pre-LBO

  445
      The Companion Expert Report of John G. Chachas is wholly duplicative and provides no additional expert
  opinions. See 3/11/11 Trial Tr. 193:24-194:5 (Chachas).
  446
      3/14/11 Trial Tr. 187:9-11, 189:1-3 (Hartenstein); DCL 1104 (Chachas Rpt.) Ex. 2 at 1 (“The present estimate of
  tribune’s Total Distributable Value was prepared in October 2010 as an update to Lazard’s March 2010 estimate.”);
  id. at 6-11, 23, 28, 34.
  447
      DCL 1104 (Chachas Rpt.) Ex. 2.
  448
      3/15/11 Trial Tr. 297:19-24 (Gropper).
  449
      Id. at 296:23-298:17 (Gropper).


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  Noteholders that would follow from the avoidance of Step Two and the application of WEAR

  would also materially increase with higher DEV thus, higher DEV directly impacts the

  settlement value of the LBO Claims against the LBO Lenders. Finally, the expected value of the

  LBO Claims against the LBO Lenders, as calculated by Beron, would also increase as DEV

  exceeds $6.75 billion.

           Despite their efforts to downplay Lazard’s January Valuation Report, the DCL Plan

  Proponents and their experts were unable to offer any credible evidence showing why the

  October Valuation Report would provide a better estimate of the Debtors’ DEV at the expected

  June 30, 2011 emergence date than the January Valuation Report. Moreover, the evidence

  presented at the Confirmation Hearing renders any defense of the $6.75 billion October valuation

  untenable. Indeed, the use of stale data is contrary to accepted valuation practice, and every

  valuation expert who testified at the Confirmation Hearing—including the DCL Plan Proponents’

  two testifying valuation experts—confirmed that it is critical to use the most up-to-date available

  information in conducting a valuation.450 Lazard’s failure to do so renders the Lazard Report

  unreliable.

           B.       Updating Lazard’s Valuation Based On Current Financial And Market Data
                    Results In A DEV Of $7.541 Billion

           Lazard’s January Valuation Report, while far more current than the October Valuation

  Report, was still stale as of the date of the Lazard Expert Report. The Noteholder Plan

  Proponents’ valuation expert, Raj Singh, brought Lazard’s valuation up-to-date as of the date of




  450
     3/14/11 Trial Tr. 188:1-3 (Singh); 3/11/11 Trial Tr. 86:23-87:5 (Mandava), 208:11-15 (Chachas) (“[E]very
  valuation expert in doing a valuation should rely upon the most up-to-date information available.”); see also, e.g., In
  re Mirant Corp., 334 B.R. 800, 824 (Bankr. N.D. Tex. 2005) (holding that the Court could not “accept unchanged
  any of the values for Mirant Group that [had] been placed in evidence,” because much of data relied on “was stale
  by the time of the Valuation Hearing.”).


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  his rebuttal report by using current financial and market data available as of February 21,

  2011.451

           Singh also used Tribune’s revised 2010A and 2011E EBITDA metrics available as of the

  Debtors’ February 2011 forecast, and the long-term projections prepared by the Debtors in

  October 2010.452 Notably, Singh used management’s most current projections without

  adjustment even though on the eve of the Confirmation Hearing, management conveniently

  predicted sharp declines in publishing revenue despite “stellar” performance in 2010.453

           In updating this data, Singh used a quantitative approach designed to update Lazard’s

  valuation solely for the impact of the updated market data.454 This alone resulted in an increase

  of $839 million over the DCL Plan value,455 a valuation at which the Senior Noteholders’

  recovery would exceed $1 billion if Step Two debt is avoided (and if Step One is allowed but

  post-petition interest is not).456

           C.      Lazard’s Valuation Contains Numerous Methodological Flaws And Errors
                   That Further Depressed Plan Value

           As described below and in the Rebuttal Report and testimony of Singh, Raymond James

  corrected numerous methodological flaws and errors in Lazard’s valuation, which resulted in

  further increasing Lazard’s DEV estimate by $750 million:457

       Lazard overweighted the publishing DCF: The DCF analysis was based on projections
        that predicted a steep continuing decline in the publishing business to the point that there
        would soon be no free cash flow at all.458 These projections are dramatically more negative
  451
      NPP 2469 (Revised & Amended Singh Rpt.) at 17.
  452
      NPP 2469 (Revised & Amended Singh Rpt.) at 21.
  453
      3/14/11 Trial Tr. 138:11-141:19 (Hartenstein); 191:7-194:14 (Singh); 3/11/11 Trial Tr. 96:19-23, 101:11-13
  (Mandava); 205:11-14 (Chachas).
  454
      3/14/11 Trial Tr. 189:4-17, 199:8-12 (Singh).
  455
      3/14/11 Trial Tr. 186:13-18 (Singh).
  456
      3/15/11 Trial Tr. 296:23-298:17 (Gropper); 3/9/11 Trial Tr. 162:10-22 (Black).
  457
      NPP 2470 (Singh Trial Demonstratives) at 9.
  458
      3/14/11 Trial Tr. 194:6-12 (Singh); 3/11/11 Trial Tr. 108:16-109:7, 35:17-21, 101:4-10(Mandava). In preparing
  these projections, management unrealistically assumed that while EBITDA was projected to fall by more than half
  over the projection period, capital expenditures would nonetheless remain flat. 3/11/11 Trial Tr. 105:22-107:2
  (Mandava). Indeed, the Company outperformed its publishing forecasts throughout 2010, revised its 2010


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      than the forecasts of the Company’s peers and other newspaper and publishing companies
      that have recently emerged from bankruptcy, inconsistent with broader industry forecasts
      which have predicted a revitalization of the publishing industry relative to recent lows, and at
      odds with the Company’s own improving performance throughout 2010.459 The Company
      performed so well in November and December 2010 that their fourth quarter operating cash
      flow ended up $20 million ahead of plan, and Mandava testified that if management were to
      reforecast 2012 to 2015 EBITDA as of February 2011, the projections would go up.460
      Implicitly recognizing the highly conservative nature of the Company’s projections – which
      drive the DCF calculation – Lazard included a scenario in its January Valuation Report which
      gave no weight to the publishing DCF analysis (versus the 30% weighting attributed to the
      publishing DCF analysis in the Lazard Expert Report), and which resulted in a midpoint
      DEV of $7.258 billion.461 Singh concluded that it was more appropriate to apply a 10%
      weighting to the publishing DCF, which reflected “serious consideration” but not great
      reliance on this methodology.462
     Lazard overweighted the broadcasting DCF: As with publishing, Lazard placed undue
      weight on the broadcasting DCF analysis in light of the Company’s conservative projections
      and performance against plan.463 Singh weighted the broadcasting DCF and comparable
      companies analyses equally, noting that it was inappropriate to underweight the comparable
      companies analysis given that the TV Station comparable company peer group is directly in
      line with the Company’s broadcasting operations.464
     Lazard’s Valuation of the Company’s Noncontrolled Interests was flawed: Singh
      corrected certain clear errors in Lazard’s valuation of the Company’s non-controlled interests,
      including Lazard’s valuation of the Company’s interest in Food Network,465 Classified
      Ventures,466 and CareerBuilder.467


  projections in October 2010 (the “October 2010 Projections”) in light of “stellar” year to date performance, and then
  outperformed even those revised projections by year end. 3/11/11 Trial Tr. 97:6-15 (Mandava); 3/14/11 Trial Tr.
  139:1-23 (Hartenstein), 190:11-191:6 (Singh). Inexplicably, despite the Company’s improved performance, and
  despite significant increases in online advertising revenue, the October 2010 Projections for the publishing segment
  predicted greater declines in growth in each year of the projection period than the earlier March 2010 projections.
  3/11/11 Trial Tr. 98:16-99:8 (Mandava). Mandava acknowledged that investors assessing the value of the Company
  at emergence “would take a point of view more similar or more akin to the way the capital markets are currently
  valuing publishing companies” than the outlook of the Company’s management. 3/11/11 Trial Tr. 35:21-36:3
  (Mandava).
  459
      3/11/11 Trial Tr. 103:3-105:6, 107:16-108:5, (Mandava); 3/14/11 Trial Tr. 192:5-25 (Singh).
  460
      3/11/11 Trial Tr. 126:15-21 (Mandava); 3/14/11 Trial Tr. 139:6-23 (Hartenstein). In addition, despite the
  Debtors’ claim that they have been “hampered and hobbled by the fact that we’re still in bankruptcy,” the October
  2010 Projections did not account for any benefits of the Debtors’ future emergence from bankruptcy. 3/14/11 Trial
  Tr. 109:25-110:8, 142:2-143:5 (Hartenstein).
  461
      NPP 2284 (Lazard Valuation Supplement) at 6.
  462
      3/14/11 Trial Tr. 195:14-16 (Singh). Although Mandava criticized this weighting by claiming that “[u]sing 10
  present [sic] is akin to just saying I’m not giving any consideration or any weight to it,” he later defended Lazard’s
  application of a 10% weighing in their valuation of Tribune Media Services by claiming that this weighting reflected
  “serious consideration” of the data that “we couldn’t ignore.” 3/11/11 Trial Tr. 36:4-10, 51:4-24 (Mandava).
  463
      3/14/11 Trial Tr. 200:6-21; NPP 2469 (Revised & Amended Singh Rpt.) at 10, 42.
  464
      Id.
  465
      Lazard did not account for Food Network’s 2010 actual results or updated 2011 projections (both of which
  exceeded prior projections) in conducting a DCF analysis of Food Network, and in fact did not include a DCF
  analysis for Food Network in their expert report at all, despite having done one. 3/11/11 Trial Tr. 62:8-63:12; 116:5-


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     Additional Errors in Lazard’s Valuation: Finally, Singh addressed certain flaws in
      Lazard’s treatment of the Company’s non-cash pension expense, Lazard’s treatment of
      distributable cash, and Lazard’s valuation of Tribune Media Services.468
           Collectively, correcting these errors and updating the financial and market data used in

  the Lazard Expert Report resulted in an estimated DEV of $8.291 billion, a $1.589 billion

  increase to Lazard’s midpoint, and a valuation at which the Proposed Settlement is entirely

  indefensible.469

  VII.     THE PROPOSED SETTLEMENT IS THE RESULT OF A TAINTED PROCESS

           The integrity of the process from which a proposed settlement arises is a significant

  consideration in the court’s evaluation of the Rule 9019 and Bankruptcy Code section 1129

  standards.470 Evidence of vigorous, arms’-length bargaining among properly motivated parties

  may provide reassurance to the court that the proposed settlement at least might be reasonable.

  On the other hand, a process marked by negotiations among insiders, professionals with divided

  118:12 (Mandava); 3 /14/11 Trial Tr. 205:22-206:17 (Singh). Had Lazard conducted a DCF valuation using these
  updated numbers, its valuation would have increased. 3/11/11 Trial Tr. 119:6-13 (Mandava). Instead, Lazard relied
  on only one comparable company (Food Network’s parent company Scripps Network) and on only one precedent
  transaction (the acquisition of Travel Channel). 3/14/11 Trial Tr. 207:8-210:14 (Singh). Lazard also failed to
  account for the fact that Food Network significantly outperforms its parent Scripps. 3/14/11 Trial Tr. 208:2-209:6
  (Singh). In fact, Lazard actually applied a discount to the Scripps multiple in its comparable company analysis, even
  though Food Network’s EBITDA margins and revenue growth significantly exceed those of Scripps as a whole, and
  those of Scripps excluding Food Network. 3/11/11 Trial Tr. 58:10-20 (Mandava); 3/14/11 Trial Tr. 206:19-209:6
  (Singh). Compounding this error, Lazard applied a 70% weighting to its comparable company analysis. 3/11/11
  Trial Tr. 64:8-10 (Mandava). Singh corrected these errors by adding Discovery Communications as a comparable
  company, adding the sale of Weather Channel as a precedent transaction, using updated 2010E EBITDA numbers,
  and weighting the comparable companies and precedent transactions analysis equally. 3/14/11 Trial Tr. 207:5-
  211:13 (Singh).
  466
      Lazard identified four comparable companies, but only relied on one of them – Internet Brands. 3/14/11 Trial Tr.
  214:12-15 (Singh). However, Internet Brands was no longer a comparable company at the time of the Lazard
  Expert Report because it had been sold. Singh appropriately utilized Internet Brands as a precedent transaction, as
  well as the other three companies identified by Lazard. 3/14/11 Trial Tr. 214:14-20 (Singh).
  467
      Singh corrected several errors in Lazard’s valuation of CareerBuilder, including Lazard’s failure to conduct a
  precedent transaction analysis despite Gannett’s recent acquisition of a 10% stake in CareerBuilder (an indisputably
  relevant precedent transaction), and Lazard’s improper consideration of Manpower as a comparable company for
  CareerBuilder, even though Manpower is in a completely different line of business than CareerBuilder. 3/14/11
  Trial Tr. 211:14-213:5 (Singh).
  468
      3/14/11 Trial Tr. 216;2-218:20; 219:1-220:10; 222:10-223:20 (Singh). Correcting these errors resulted in a $346
  million increase in value. NPP 2470 (Singh Trial Demonstratives) at 9.
  469
      NPP 2469 (Revised and Amended Singh Rpt.) at 7.
  470
      Exide, 303 B.R. at 67-68, 71; see also Abbots Dairies of Penn., Inc. v. Cumberland Farms Dairy, Inc., 788 F.2d
  143, 150 n.5 (3d Cir. 1986) (holding that 1129(a)(3) requires court to ensure plan is product of good faith in order to
  prevent the debtor “from effectively abrogating the creditor protections of Chapter 11).


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  loyalties, and fiduciaries whose parochial interests are not aligned with the interests of their

  constituencies, is far more likely to yield a settlement proposal that is unfair, and that does not

  reflect the true value of the claims being settled.471

           The inadequate settlement proposal before the Court is the product of such a flawed

  process. The negotiations were tarnished from beginning to end by fundamental, unresolved

  conflicts implicating the parties and professionals who negotiated the proposed deal, a Creditors’

  Committee controlled by a voting majority of members with no incentive to maximize the value

  of the settlement for Non-LBO Creditors, and by the exclusion from the bargaining table of

  Aurelius and the other creditors holding the largest economic stake in the outcome of the claims

  being settled. As a result, the consideration flowing to the Non-LBO Creditors actually declined

  after release of the Examiner’s Report, even though the Report demonstrated that the LBO

  Claims were even more valuable than the Debtors and others previously had admitted.

           Indeed, the otherwise inexplicable downward trajectory of the settlement despite

  mounting and overwhelming evidence that the Senior Lenders were party to a massive fraudulent

  transfer can be understood only against the backdrop of the flawed process from which it arose,

  and the myriad and manifest conflicts of interest of those by whom it was negotiated.

           A.       The Debtors, With Their Conflicted Management And Counsel, Failed
                    To Maximize The Settlement Value Of The Claims Against The LBO
                    Lenders

           The Debtors have been and remain represented by the same counsel, and dominated by

  many of the same directors and management—including Sam Zell—who designed the disastrous

  transaction that gave rise to the LBO Claims in the first place.472



  471
     In re General Motors Corp. Engine Interchange Litigation, 594 F.2d 1106, 1125 (7th Cir. 1979) (holding that
  integrity of negotiations critical in assessing class action settlement under FRCP 23); In re Carla Leather, Inc., 44
  B.R. 457, 466 (Bankr. S.D.N.Y. 1984) (holding that 9019 inquiry should parallel inquiry under FRCP 23).


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          Management was further conflicted by the Senior Lenders’ clumsy attempts during the

  settlement process to “curry favor with management in order to push company positions for their

  benefit.”473 Indeed, Randy Michaels actively lobbied the Senior Lenders to retain him as CEO

  after the company exited bankruptcy, and testified that at least one of the Senior Lenders—

  Oaktree—expressly tied its “support” for management to improved treatment of the Senior

  Lenders under any plan of reorganization.474 The Debtors and their management revealed

  unmistakably that they were primarily interested in “saving their own skin,” and were never

  going to argue vigorously that the LBO gave rise to compelling claims against its principal

  architects.475 Indeed, their stewardship of the LBO Claims was like the “fox guarding the

  henhouse,”476 and just as the Third Circuit warned in Cybergenics—the “real losers, [were] the

  [Noteholders and other] unsecured creditors” with the actual economic stake in the claims.477

          This dangerous dynamic manifested itself immediately when the Debtors decided to

  entrust the LBO Claims investigation and settlement to Don Liebentritt and Sidley Austin, both

  of whom were potential defendants in connection with the LBO, and otherwise manifestly

  unsuited to their assigned role as “honest broker” regarding the LBO Claims. By forming the

  Special Committee of supposedly independent directors in August 2010, the Debtors belatedly

  acknowledged these problems but did not fix them, as the Special Committee members



  472
      Until the belated formation of a Special Committee of supposedly independent directors in August 2010, the
  Board had “primary decision-making authority” with respect to the LBO Claims and all other matters relating to the
  Chapter 11 Cases. See Debtors’ Reply to Jones Day Retention Application ¶ 2 [ECF No. 5665]; see also NPP 2087;
  Deposition of Randy Michaels dated March 14, 2011 (“Michaels Dep. Tr.”) 53:11-25; Deposition of Mark Shapiro
  dated February 28, 2011 (“Shapiro Dep. II Tr.”) 49:6-20.
  473
      NPP 2088 (8/21/10 email from D. Liebentritt to F. Wood).
  474
      Michaels Dep. Tr. 58:11-59:4; see also Deposition of Don Liebentritt dated February 22, 2011 (“Liebentritt Dep.
  Tr.”) 181:5-82:4 (acknowledging concern that management could be perceived as “courting an Oaktree, or a
  JPMorgan or an Angelo Gordon or vice versa”).
  475
      Official Comm. of Unsecured Creditors of Cybergenics Corp. ex rel. Cybergenics Corp. v. Chinery, 330 F.3d
  548, 573 (3d Cir. 2003).
  476
      Id.
  477
      Id.


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  themselves were conflicted and simply rubber-stamped the proposal negotiated and

  recommended by Liebentritt and Sidley without any meaningful independent review.

                    1.       Liebentritt’s Deep And Abiding Conflicts Precluded Him From
                             Credibly Playing His Assigned Role Of “Honest Broker”

           According to the unanimous evidence, Liebentritt was and remained the Debtors’ point

  person in the investigation of the LBO Claims, and negotiation of all iterations of the Proposed

  Settlement and DCL Plan, even after formation of the supposedly independent Special

  Committee.478 Yet Liebentritt himself was a Step Two Selling Shareholder, and thus had a direct

  legal and financial interest in any settlement of the LBO Claims.479 In addition, for more than 30

  years Liebentritt has been a close advisor, associate and business partner of Sam Zell, the

  architect of the LBO, and one of the primary defendants in connection with the LBO Claims.480

  Indeed, so close was Liebentritt’s affiliation with Zell that at least one member of the Board

  labeled him “Sam’s guy.”481




  478
      3/08/11 Trial Tr. 111:6-11 (Kurtz); Liebentritt Dep. Tr. 177:12-17 (Liebentritt principal Debtor representative);
  3/15/11 Trial Tr. 150:1-10 (Shapiro video) (agreeing); 3/15/11 Trial Tr. 182:5-14 (Wilderotter video) (Liebentritt
  would take lead on any settlement); 2/18/10 Trial Tr. 56:9 (Kurtz) (stating he reports to Liebentritt on settlement
  issues); see also NPP 2523 (2/18/10 Hr’g Tr.) at 56:1-9 (Kurtz testifying that he reported to Liebentritt in connection
  with the investigation).
  479
      Liebentritt Dep. Tr. 206:22-208:5.
  480
      3/08/11 Trial Tr. 116:1-16 (Kurtz). Among many other ties to Zell, Liebentritt is the president of the trust that
  manages all Zell family assets, has between $10 million and $15 million invested in Zell entities, receives a
  $300,000 annual salary from Zell entities and, until recently, was the President of EGI TRB, another Zell entity,
  which currently owes Liebentritt some $3 million in deferred compensation. NPP 810 (8/21/10 email from M.
  Shapiro to M. Wilderotter).
  481
      See Letter from M. Hurley to J. Carey, Ex. 6 [ECF No. 7718]. The Debtors elected not to tell Aurelius about any
  of Liebentritt’s ties to Zell, 3/15/11 Trial Tr. 262:2-8 (Gropper), even though the Debtors recognized from the
  beginning that Liebentritt might not be able to discharge his role as an “honest broker” as a result of those ties.
  3/8/11 Trial Tr. 118:1-6 (Kurtz); see also NPP 2091 (8/23/10 email from M. Wilderotter to S. Dietze) at 1; NPP
  2103 (8/31/10 email from M. Shapiro to D. Liebentritt). The Debtors ultimately accepted Liebentritt’s ipse dixit
  assurance that he would not let his conflicts interfere with his duties to the estates, and let him continue as the
  Debtors’ point person regarding the LBO Claims on that basis. Shapiro Dep. II Tr. 50:4-51:3 (Shapiro persuaded by
  Liebentritt in meeting to report directly to Special Committee). Although the Debtors were always aware of
  Liebentritt’s ties to Zell, Liebentritt apparently failed to disclose, at least to Lazard and the Special Committee, that
  he also had a direct interest in the LBO Claims as a Step Two Selling Shareholder. Shapiro Dep. II Tr. 259:10-20;
  3/08/11 Trial Tr. 117:17-20 (Kurtz).


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          Liebentritt’s natural bias impacted the process in a variety of ways. For example, the first

  settlement Liebentritt recommended to the Debtors in April would have released all claims

  against Liebentritt’s wholly owned investment company, as well as all claims against Sam Zell

  and the rest of conflicted management, even though none of these parties were to provide any

  consideration for the releases.482 Later, Liebentritt suggested that if the Senior Lenders refused

  to pay for a release of the Step One claims, the Debtors should consider going to the Court for a

  declaration that the Step One claims were meritless as their “Plan B.”483 Liebentritt’s proposed

  “back up” plan if the Senior Lenders remained unwilling to pay fair consideration could hardly

  have been an effective bargaining tactic, and is particularly outrageous given the Senior Lenders’

  agreement just weeks later to pay hundreds of millions of dollars to settle those very claims.484

          Also telling was Liebentritt’s reaction to the Examiner’s findings in July 2010 that Step

  Two of the transaction was somewhat likely to have been the product of intentional fraud.

  Rather than seizing the opportunity to extract additional settlement value for the Non-LBO

  Creditors, Liebentritt circled the wagons around legacy management, claiming that the

  Examiner’s conclusion regarding intentional fraud was just plain wrong, and was a “problem

  [he] had to deal with.”485 Liebentritt also sought to convince members of the Special

  Committee—who, by this time, were supposed to be impartially evaluating the claims and the

  Proposed Settlement—that the Examiner’s Report was unreliable.486 For example, at a meeting

  in August 2010, Liebentritt told the Special Committee that the Examiner’s Report was

  482
      See NPP 1970 (Email from D. Liebentritt to D. Schaible, et al., re: Plan Support Press Release dated April 8,
  2010) (settlement support agreement is “a proposed settlement that we all hope and expect to get approval as part of
  a confirmed plan”); NPP 24 (Executed Settlement Support Agreement dated April 8, 2010).
  483
      Liebentritt Dep. Tr. 225:7-14, 227:9-21, 234:7-18; NPP 836 (Email from D. Liebentritt to J. Berg re: Pure Purity
  dated September 23, 2010).
  484
      NPP 12 (Term Sheet for Joint Plan) at 1. Moreover, there can be no serious doubt that the Step One claims
  accounted for a substantial portion of the consideration to be paid under the previously negotiated April deal, even
  though the April Plan did not specifically allocate consideration among the various claims.
  485
      Liebentritt Dep. Tr. 162:4-14.
  486
      3/15/11 Trial Tr. 165:1-167:7 (Shapiro).


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  “irresponsible,” was not the product of “thorough reporting and investigating,” had “holes in it,”

  and lacked “depth.487 Liebentritt’s attacks on the Examiner were without substance,488 but he

  still managed to convince Mark Shapiro, the Chairman of the Special Committee, that the

  Examiner’s Report was not reliable.489 Shapiro’s false impression may help explain the Special

  Committee’s subsequent approval of the Proposed Settlement, which is so at odds with the spirit

  of the Examiner’s Report.

           Liebentritt’s bias also was exposed by his unwarranted and overt hostility to Aurelius.

  For example, in an email to members of the Special Committee after Aurelius acquired

  Centerbridge’s position in the Senior Notes, Liebentritt disparaged Aurelius as a “terrorist” and

  claimed that “no one holds out any hope of achieving a settlement with Aurelius.”490 Again,

  Liebentritt had no basis for his reckless accusations,491 but they appear to have hit their mark

  with the Special Committee anyway. For example, Shapiro had never even heard of Aurelius

  until it bought Centerbridge’s position in the Senior Notes.492 Yet, on September 28, 2010—just

  five days after Liebentritt sent his anti-Aurelius memo and 14 days before the Second Mediation

  Term Sheet upon which the DCL Plan is based, was announced—Shapiro advised other members



  487
      3/15/11 Trial Tr. 165:1-167:18 (Shapiro).
  488
      At his deposition, Liebentritt was unable to identify a single flaw in the approach taken by the Examiner to the
  investigation. 3/15/11 Trial Tr. 167:12-24; Liebentritt Dep. Tr. 63:12-64:6. Moreover, the DCL Plan Proponents
  themselves argued that the Examiner’s investigation and Report was so thorough and “exhaustive” that any
  discovery regarding the LBO Claims in connection with this dispute would be merely cumulative. NPP 2186 (DCL
  Resolicitation Motion) at 41.
  489
      3/15/11 Trial Tr. 165:1-6 (Shapiro) (“Q: Is it your understanding that Mr. Klee undertook an exhaustive analysis
  of the LBO claims?” A: That’s purported you know. From talking to [Liebentritt], there were a lot of questions that
  weren't asked and sources that weren't interviewed.”).
  490
      NPP 836 (9/23/10 email from D. Liebentritt to J. Berg).
  491
      While Liebentritt claims his “terrorist” email reflected conversations with Messrs. Kurtz and others involved in
  these cases, Kurtz testified that his dealings with Aurelius were always “completely cordial,” that Liebentritt’s
  characterization to the contrary was “unfair,” and that he never said anything to Liebentritt that would support such
  an accusation. 3/8/11 Trial Tr. 74:6-10, 152:19-153:2 (Kurtz). In fact, not one witness corroborated Liebentritt’s
  version of events, not even Baiera (Angelo Gordon) who was another alleged source for the slander. Deposition of
  Gavin Baiera dated March 1, 2010 (“Baiera Dep. Tr.”) 105:14-106:6.
  492
      Deposition of Mark Shapiro dated October 13, 2010 (“Shapiro Dep. I Tr.”) 78:3-8 (as of September 13, Shapiro
  had never heard of Aurelius).


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  of the Special Committee that the strategy “all ha[d] to do with how to defend against Aurelius.

  That’s what this is about.”493

                   2.       Sidley Austin Represented The Company In The LBO, Had Close
                            Ties To Legacy Management And Was Otherwise Deeply Conflicted

          In addition to its regular representation of various Senior Lenders in other matters,494

  Sidley Austin’s capacity to impartially evaluate the LBO and related claims was crippled by an

  even more obvious, immediate and debilitating conflict of interest: Sidley Austin itself helped

  structure the LBO on behalf of the Company, and is a potential defendant in connection with the

  very claims it was tasked with investigating.495

          The Debtors were well aware of this glaring conflict of interest and even considered

  hiring conflicts counsel to investigate and evaluate the LBO Claims in lieu of Sidley back in late

  2009 or early 2010 when the investigation was just getting underway.496 Instead, for reasons

  unknown, the Debtors anointed Sidley as the sole law firm responsible for exploring the merits

  of the claims, a process which it largely completed long before the Special Committee was

  formed and retained counsel.497 Although Lazard was involved in the investigation, Lazard did

  not itself seek to identify relevant evidence, but instead relied on Sidley to direct it to the

  documents and 2004 deposition testimony that Sidley deemed material to the claims.498

          Predictably, the investigation performed by Sidley under Liebentritt’s management was

  far from the vigorous and searching undertaking one would expect from conflict-free fiduciaries

  493
      NPP 841 (9/23/10 email from M. Shapiro to F. Woods).
  494
      3/08/11 Trial Tr. 120:15-20 (Kurtz); Liebentritt Dep. Tr. 38:25-40:12.
  495
      Liebentritt Dep. Tr. 37:21-38:15; 3/8/11 Trial Tr. 119:14-120:8 (Kurtz).
  496
      Id. at 38:10-24.
  497
      3/8/11 Trial Tr. 119:1-10 (Kurtz) (Sidley conducted the investigation, which was “pretty much complete” by the
  time Jones Day was hired by the Special Committee in the fall of 2010); NPP 2523 (2/18/10 Hr’g Tr.) at 58:11-21
  (investigation led by Sidley); Liebentritt Dep. Tr. 173:13-22 (Jones Day did not conduct an investigation of the LBO
  Claims and did not have its own financial advisor).
  498
      3/8/11 Trial Tr. 106:20-108:25 (Kurtz). The activities of Sidley and Kurtz were “directed” by the Company
  through Liebentritt. Liebentritt Dep. Tr. 36:21-37:5; see also 3/8/11 Trial Tr. 111:6-11 (Kurtz); NPP 2523 (2/18/10
  Hr’g Tr.) at 56:1-9 (Kurtz).


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  seeking to maximize value for the estates.499 On the contrary, Sidley treated the investigation

  largely as a formality, reflecting the fact that the Debtors never seriously considered actually

  asserting the LBO Claims.500 Incredibly, Sidley never even caused the Debtors to evaluate

  whether the Company was insolvent when Step One closed on June 4, 2007, or when Step Two

  closed on December 20, 2007 (or at any other time for that matter), an extraordinary omission in

  light of the nature of the claims at issue.501 In contrast, after the Examiner found that it was

  reasonably likely that the Debtors’ management engaged in intentional misconduct with respect

  to Step Two of the LBO, Sidley wasted no time preparing a presentation to the Board seeking to

  refute the Examiner’s conclusions.502 Given the Debtors’ tepid approach to exploring and

  pressing the LBO Claims, the Senior Lenders could not have viewed the Debtors as a serious

  adversary, either in court or in negotiations.503

                   3.       The Debtors’ Appointment Of The Special Committee Was A Non-
                            Event

          The Debtors’ belated appointment of the Special Committee in August 2010 in an effort

  to restore confidence in the settlement process turned out to be an expensive charade. The

  Special Committee was allegedly “deemed necessary” by the Debtors in the wake of the release

  of the Examiner’s Report on July 26, 2010.504 The Special Committee was supposed to become


  499
      See e.g., Cybergenics, 330 F.3d at 568 (holding that paramount duty of debtor in possession is to maximize value
  of estates for benefit of creditors, including by identifying and pursuing all available avoidance actions).
  500
      NPP 2523 (2/18/10 Hr’g Tr.) at 51:22-52:5 (Kurtz).
  501
      3/08/11 Trial Tr. 105:25-106:2 (Kurtz).
  502
      NPP 2148 (9/30/10 Board Presentation); Shapiro Dep. II Tr. 149:3-151:15; NPP 2394 (1/18/11 Special
  Committee Privilege Log) at Item 216 (identifying Sidley as the author of the presentation). The Debtors redacted
  the entirety of the Sidley board presentation except its title, and invoked the privilege with respect to deposition
  questions regarding its contents, except to allow Wilderotter to testify that she concluded management “did nothing
  wrong” based in part on the Sidley presentation. Shapiro Dep. II Tr. 151:10-152:2; Wilderotter Dep. I Tr. 152:15-
  153:11; see also NPP 782 (Exam’rs Rpt.), Vol. I at 31 (noting that in their submissions to the Examiner the parties
  raised “just about every conceivable claim or defense that could be imagined, lest the Examiner not consider it”).
  503
      As discussed in Section VII.B. below, the Creditors’ Committee was suffering from its own conflicts of interest,
  and was unable or unwilling to aggressively champion the LBO Claims.
  504
      NPP 2109 (Special Committee Statement in Support of Jones Day Retention Application) ¶ 2; 3/8/11 Trial Tr.
  285:10-23 (Salganik).


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  “well and independently informed,” so that it could determin[e] [an] appropriate restructuring

  plan for the company” that took “into consideration, among other things, the conclusions

  reached by the examiner in his report.”505 Its members and activities were meant to be entirely

  “independent” of Sam Zell and the rest of the conflicted board and management, in order to

  “insulate the Debtors from any accusation that restructuring decisions were made by Board

  members who were not fully disinterested.”506

           The Debtors also emphasized the importance of the Special Committee relying on its own

  Special Counsel in lieu of Sidley, which was perceived as “represent[ing] management of the

  Debtors.”507 In a separate submission, the Special Committee was even more blunt, claiming

  that it “would undermine the entire purpose of the Special Committee” for the Special Committee

  “to use counsel who reports to the company and directors who others could assert are not

  disinterested in these matters.”508

           Unfortunately, the Special Committee abandoned all of the safeguards that it and the

  Debtors previously told this Court were necessary to restore confidence in the settlement process.

  For example, despite initial misgivings, the Special Committee allowed Liebentritt—Zell’s right

  hand man—to remain firmly in charge of the negotiations throughout.509 Moreover, Shapiro, the


  505
      Notice of Jones Day Retention Application ¶ 6 [ECF No. 5562]; NPP 2109 (Special Committee Statement in
  Support of Jones Day Retention Application) ¶¶ 2, 4.
  506
      Debtors Reply in Support of Jones Day Retention Application ¶ 2 [ECF No. 5665]; Notice of Jones Day
  Retention Application ¶ 6 [ECF No. 5562]; Shapiro Dep. II Tr. 38:10-23 (identifying criteria for membership on
  Special Committee as “no bias, prejudice or ties to Sam Zell”); Shapiro Dep. I Tr. 93:11-17 (testifying that the
  Special Committee was intended to exclude from the process anyone “that worked for Mr. Zell previously or was
  paid by Mr. Zell or contributed to the ESOP or whatever.”); Shapiro Dep. II Tr. 55:21-56:8 (emphasizing
  importance of “really establish[ing] and maintain[ing] that independence” from Zell).
  507
      NPP 2086 (8/21/10 email from M. Wilderotter to D. Liebentritt).
  508
      NPP 2109 (Special Committee Statement in Support of Jones Day Retention Application) ¶ 4; see also Shapiro
  Dep. II Tr. 63:25-64:14 (relating his understanding that Sidley “wasn’t able to represent the Special Committee,” in
  order for the Special Committee to maintain its “independence”).
  509
      Shapiro Dep. II Tr. 50:18-51:3; NPP 2103 (8/31/10 email from M. Shapiro to D. Liebentritt); Shapiro Dep. II Tr.
  123:5-16; see also Deposition of Maggie Wilderotter dated October 13, 2010 (“Wilderotter Dep. I Tr.”) 24:16-23
  (relating Special Committee’s discussion of concerns that Liebentritt’s relationship with Zell “could have an impact
  on the negotiations and the discussions”).


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  Chairman of the Special Committee, was himself financially and professionally intertwined with

  Zell. Shapiro owes his membership on the Board—for which he is paid a stipend of $125,000

  per year—to Zell and serves on the board of another Zell company—for which he receives

  $50,000 per year and was offered the job of interim CEO of Tribune by Zell just when the

  Special Committee was supposed to be impartially considering proposed settlement terms.510

          Other Special Committee members likewise had close ties to Zell and the Senior Lenders.

  For instance, Wilderotter’s company relied on JPMorgan to underwrite a $3 billion debt offering

  in 2005. Wilderotter is a friend of Jimmy Lee’s, the JPMorgan Vice Chairman and long-time

  associate of Sam Zell who was involved in the LBO and bankruptcy.511 Among other things, she

  sees Lee several times and attends an annual Christmas party at Lee’s house.512 In a February

  2010 email to Lee regarding Tribune matters, Wilderotter signed off with the telling valediction

  “your friend who is always looking out for JPM!”513 Wilderotter’s ties to Zell are just as

  troubling, and antithetical to the Special Committee’s mandate to demonstrate “pure

  independence” from Zell. Like Shapiro, Wilderotter owed her place on the Board to Zell, has

  served on the boards of several other Zell companies, and apparently was Zell’s top choice for

  CEO of Tribune as early as February 2007.514 Wilderotter did not know that Zell was supposed




  510
      Shapiro Dep. II Tr. 247:10-248:11 (Tribune board membership); 3/15/11 Trial Tr. 151:9-152:3 (Shapiro) (second
  Zell board membership); 3/15/11 Trial Tr. 154:1-21 (Shapiro) (Zell offered to make Shapiro CEO). In addition to
  his entanglements with Zell, Shapiro also had important relationships and actual and prospective business dealings
  with certain of the Senior Lenders. In the summer of 2010, for example, Shapiro traveled to California to meet with
  principals of Oaktree. According to Shapiro, he knew that Oaktree had “a lot of money to put to work,” and he
  wanted to explore the possibility of a business relationship between Oaktree and Shapiro’s company, Dick Clarke
  Productions (“DCP”). 3/15/11 Trial Tr. 159:10-19 (Shapiro video).
  511
      NPP 392 at 1 (4/26/07 JPM Meeting Transcript) (Lee states he has known Zell “virtually my entire adult life”);
  Lee Dep. Tr. 73:10-20 (“relationship” role in Tribune).
  512
      Wilderotter Dep. II Tr. 187:11-190:20; NPP 757 (2/11/10 email from M. Wilderotter to J. Lee).
  513
      NPP 757 (2/11/10 email from M. Wilderotter to J. Lee).
  514
      Wilderotter Dep. I Tr. 146:13-47:20; Trial Tr. 204:17-205:2 (Lee video) (quoting NPP 2326 (2/22/07 email from
  J. Lee to J. Dimon)).


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  to be excluded from settlement negotiations, and admitted to discussing Special Committee

  business with Zell, on at least one occasion.515

          And Zell clearly did not remove himself from the settlement process after release of the

  Examiner’s Report and appointment of the Special Committee. For example, in an August 22,

  2010 email from Bruce Karsh of Oaktree to his partner Howard Marks, Karsh wrote:

                   I’ve talked with Sam Zell almost 5 times in the last week trying to
                   maneuver the company to do what’s best for us. He keeps telling me all
                   the right things, but hasn’t forced the company to file a plan I like as yet. I
                   think he will.516

  Barely three weeks later, Zell’s board-appointee Mark Shapiro committed to supporting a plan

  crafted by Oaktree and Angelo Gordon that, if approved, would have extinguished the estates’

  claims with respect to the Step One debt in exchange for no consideration.517 Whether or not

  there was any connection between Zell’s conversations with Karsh and Shapiro’s sudden

  endorsement of Oaktree’s preferred plan a few weeks later, one thing is crystal clear: the

  Debtors’ attempt to insulate the settlement process from Zell by formation of the Special

  Committee was an abject failure.

          Similarly, retention of Jones Day to represent the Special Committee in no way changed

  or reduced Sidley’s role or limited its influence over settlement negotiations and the terms of the

  ultimate proposed plan. Indeed, despite the Special Committee’s admission that it would

  “undermine the very purpose of the Special Committee” were it to “use counsel who reports to

  the company and directors,” that is exactly what the Special Committee did. Incredibly, when

  the members of the Special Committee first met as a group, Liebentritt arranged for Larry


  515
      3/15/11 Trial Tr. 161:9-24 (Wilderotter video); Wilderotter Dep. II Tr. 301:19-302:3; Wilderotter Dep. I Tr.
  149:13-23.
  516
      NPP 812 (Email from B. Karsh to H. Marks re: Oaktree News dated August 22, 2010).
  517
      Shapiro Dep. II Tr. 268:4-18; 3/15/11 Trial Tr. 161:9-24 (Shapiro) (promising Oaktree and Angelo Gordon that
  the Debtors would issue a press release publicly supporting their plan).


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  Barden of Sidley Austin to join the meeting and explain the role of the Special Committee “from

  a corporate governance perspective;” apparently Liebentritt neglected to mention that Barden

  was one of two lawyers who led Sidley’s representation of the Company in connection with the

  LBO the Special Committee was supposed to be evaluating.518 Not that this news would

  necessarily have troubled the Special Committee; for his part, Shapiro did not remember Barden,

  but testified that he would be “fine with a person who is the architect of the LBO transaction

  giving advice to the Special Committee.”519

          And indeed, the Special Committee placed virtually all of its substantive reliance upon

  Sidley, rather than Jones Day. Wilderotter, who did not even know Sidley had any conflicts,

  testified that Sidley was “the legal firm that the company hired to give us advice and counsel

  with regard to the bankruptcy in the proceedings.”520 Wilderotter also confirmed that Sidley led

  the settlement negotiations, gave the Special Committee legal advice concerning the first and

  second mediation term sheets and, together with Liebentritt, presented the final settlement to the

  Special Committee for its approval.521 In short, Sidley occupied precisely the same role in

  advising the Special Committee as it occupied in advising the conflicted board and management.

          In any case, the Special Committee was wholly disengaged and ineffective, and its

  members did not even appear to understand their role. For example, Shapiro believed the

  Special Committee’s job was to “motivate all the parties to get to the table,” rather than to deal

  518
      Wilderotter Dep. II Tr. 276:14-77:4; NPP 807 (Liebentritt email setting up Barden meeting). NPP 1436 (June 1,
  2007 Tribune Schedule 13E-3) at 208.
  519
      3/15/11 Trial Tr. 145:22-46:8 (Shapiro).
  520
      Wilderotter Dep. I Tr. 123:23-124:7.
  521
      Wilderotter Dep. I Tr. 123:23-124:15, 34:13-35:20, 55:15-56:20. While Jones Day attended Special Committee
  meetings and appeared at some of the mediation sessions, it conducted a comparatively superficial review of the
  merits of the claims—mainly by reviewing Sidley work product and reviewing materials identified for it by
  Sidley—and attended none of the pre-mediation negotiation sessions. See Liebentritt Dep. Tr. 173:2-9 (Jones Day
  did not conduct own investigation); Shapiro Dep. II Tr. 126:21-127:4 (Jones Day’s role was to report on
  negotiations rather than participate), 143:5-12 (Jones Day not at all mediation sessions); NPP 27 (Debtors’
  Responses to Interrogatories), identifying lawyers from Sidley, but not Jones Day, as persons with knowledge
  regarding the Proposed Settlement, Settlement Process or Settlement Analysis).


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  with the “fairness” of the numbers.522 Shapiro added that he (i) “didn’t really understand the

  process” by which the litigation trust would handle the Step Two claims, (ii) believed that

  developing even a primitive understanding of the operative facts and issues was “above [his] pay

  grade,” and (iii) was unfamiliar with basic facts from the Examiner’s Report and that other

  portions were beyond his comprehension.523

           Wilderotter also confessed that her understanding of critical issues relating to the LBO

  Claims and the terms of the Proposed Settlement was scant to nonexistent.524 Neither the Special

  Committee as a group, nor its members individually, had any role in negotiating the contents of

  the term sheet the Special Committee approved on October 11, 2010.525 In fact, Shapiro testified

  that he had never seen the Second Mediation Term Sheet before his deposition.526 Moreover,

  neither Shapiro nor anyone else on the Special Committee thought it was necessary to stay

  informed on the Debtors’ negotiations with Oaktree, Angelo Gordon, JPMorgan, or the Creditors’

  Committee.527

           Rather than delaying consideration of the Proposed Settlement until they could become

  “well and independently informed” regarding the LBO Claims, the negotiations, and the

  positions of the parties-in-interest, Shapiro, Wilderotter and the other members proceeded to cast

  their votes to approve the settlement in the dark. Both Shapiro and Wilderotter sought to justify

  522
      Shapiro Dep. I Tr. 30:21-31:1, 32:16-19. Even if this were the mandate of the Special Committee— and as
  discussed above, the Debtors claim to have created the Special Committee to independently evaluate any proposed
  deal, not act as quasi-mediators – it still would have failed. Although Shapiro talked regularly with Oaktree and the
  other banks, he admits that neither he nor the Special Committee ever spoke to Aurelius or any of the other Pre-LBO
  Noteholders.
  523
      Shapiro Dep. I Tr. 160:23-24 (“pay grade”), 34:12-24 (“didn’t really understand”), 45:9-20 (“half of it would go
  right over my head.” While he originally believed that he had read the Examiner’s Report, at his deposition Shapiro
  realized that what he actually read was the just the 30 page redacted version of the Report; when reminded that the
  full report was more than 1,000 pages he said “no, I skipped that one.”) 3/15/2010 Trial Tr. 164:5.
  524
      Wilderotter Dep. I Tr. 31:2-9 (unsure whether plan settled bridge claims, disgorgement), 64:3-66:12 (could not
  remember terms of retiree settlement or Step Two disgorgement settlement), 33:5-23 (unsure what new claims were
  being released in exchange for $120 million).
  525
      Shapiro Dep. I Tr. 13:3-14:15.
  526
      Shapiro Dep. I Tr. 12:22-13:2.
  527
      Shapiro Dep. I Tr. at 25:21-26:7.


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  their conduct by claiming that they relied on “advisors,” but the conflicts of these very same

  advisors were among the reasons the Special Committee was formed in the first place.528

  Wilderotter and Shapiro also relied on their understanding that an “outside expert” in bankruptcy

  settlements—Black—had confirmed the “fairness” of the settlement.529 The Special Committee

  never actually met with Black, however, and his alleged “fairness opinion” was instead relayed

  to the Special Committee by “our financial advisors and our lawyers . . . Lazard and Sidley.”530

  In fact, Black was not independent—he had been advising the Company in connection with the

  LBO for years—was not an expert in bankruptcy law or bankruptcy settlements, and never

  opined as to the fairness of the proposed settlement prior to its approval by the Special

  Committee.531

           In short, the Special Committee undertook no meaningful evaluation of the proposed

  settlement, was neither independent nor well-informed, and failed utterly to perform the “honest

  broker” function for which it purportedly was created.

           B.       The Creditors’ Committee Failed To Discharge Its Duty To The Pre-LBO
                    Noteholders

           The very composition of the Creditors’ Committee crippled its ability to discharge its

  duties to the Pre-LBO Noteholders, since a majority of the Creditors’ Committee’s members

  were content with the terms of the deal negotiated in April, and had no incentive to extract the

  true settlement value of the LBO Claims as reflected in the Examiner’s Report that came out in

  July.




  528
      NPP 2086 (Email from M. Wilderotter to D. Liebentritt dated August 21, 2010); see supra at VII.A.
  529
      Wilderotter Dep. I Tr. 91:21-92:13; 97:5-14, 99:25-100:9.
  530
      Wilderotter Dep. I Tr. at 98:18-24.
  531
      Liebentritt Dep. Tr. 85:16-86:5, 87:2-18 (testifying that Black never issued a fairness opinion, and that if anyone
  told the Special Committee he did “it wouldn’t be true”).


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          Under the settlement proposed in April, (1) Warner Bros. Television and (2) Buena Vista

  Television got full payment in cash as subsidiary unsecured creditors,532 (3) the Washington-

  Baltimore Newspaper Guild got all of their collective bargaining agreements assumed by the

  Debtors,533 (4) PBGC was satisfied in full by the Debtors’ agreement to maintain their

  underfunded pension plans,534 and (5) William Niese got a 35.18% recovery on behalf of the

  retirees, which he was contractually required to accept in any subsequent plan regardless of the

  merits of the LBO Claims.535 In short, because a voting majority of Creditors’ Committee

  members had their parochial interests satisfied in full under the earlier deal, they had little need

  for or interest in pursuing an aggressive course of action.

          In fact, the Creditors’ Committee never evinced any particular enthusiasm for

  investigating or pursuing the LBO Claims, which primarily would benefit the Pre-LBO

  Noteholders. Even the Examiner noted his “surprise” that “notwithstanding the . . . wide-ranging

  and factually-intensive allegations concerning, among other things, intentional fraudulent

  transfer, bad faith, breach of fiduciary duty, and aiding and abetting fiduciary duty breaches . . .

  only seven Rule 2004 examinations relating to the [LBO] had been conducted” by the Creditors’

  Committee.536 Indeed, the Creditors’ Committee apparently never even undertook to determine

  whether the Company was solvent in connection with the LBO.537


  532
      See NPP 2170 (Mediator’s Second Report) Ex. A at 2.
  533
      See 3/8/11 Trial Tr. 257:6-10 (Salganik).
  534
      See Deposition of Craig Yamaoka dated March 3, 2011 (“Yamaoka Dep. Tr.”) 149:3-7 (“Q: And what’s your
  understanding of what would happen to the pension plans under Term Sheet 2? A: The pension plans would be
  maintained.”).
  535
      See NPP 2170 (Mediator’s Second Report, Ex. A-Settlement Term Sheet) at 2.
  536
      NPP 782 (Exam’rs Rpt.), Vol. I at 32.
  537
      3/15/11 Trial Tr. 194:2-15. The Senior Noteholders were thus justifiably concerned that the Creditors’
  Committee would undercut their negotiating leverage even in connection with first round of negotiations in early
  2010. See 3/15/11 Trial Tr. 230:12-17 (Gropper) (“[W]hat Centerbridge expressed to me was that [the settlement
  that became the April Plan] was a lower settlement than they thought was appropriate. But they were very
  concerned that the creditors’ committee was going to undercut them in the negotiations, and because of that they
  were forced to agree to a – to agree to a suboptimal deal.”); see also Deposition of Thayne Carlston dated February
  16, 2011 (“Carlston Dep. Tr.”) 28:24-29:14.


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          Coincidentally or not, the Creditors’ Committee’s principal counsel, Chadbourne & Parke

  LLP (“Chadbourne”), was operating under a serious conflict of interest throughout the process

  because it represents many of the Senior Lenders in other matters.538 The Creditors’

  Committee’s attempt to alleviate the Chadbourne conflicts by hiring Zuckerman Spaeder as

  special counsel to handle the litigation and potential settlement of the LBO Claims was

  ineffective since Chadbourne continued as the Creditors’ Committee’s primary negotiator even

  after Zuckerman was retained.539 In that capacity, Chadbourne wound up giving the Senior

  Lenders a roadmap to gaining the Creditors’ Committee’s consent on the cheap,540 and

  squandered the considerable leverage the Creditors’ Committee should have gained from the

  issuance of the Examiner’s Report by failing to demand improved terms for the Pre-LBO

  Noteholders, even as an “opening bid.”541 In short, the Creditors’ Committee conducted the

  negotiations in a manner that practically guaranteed the Pre-LBO Noteholders’ recovery would

  be less than or equal to the value provided under the April Plan.

  538
      See Lemay Affidavits in Connection with the Retention of Chadbourne [ECF Nos. 243, 395, 3045, 5430, 7082,
  8029]. Thus, just like Sidley Austin, Chadbourne was precluded from bringing suit against any of these defendants
  and potential defendants in connection with the LBO. See 3/8/11 Trial Tr. 203:16-23 (Salganik).
  539
      Deposition of Kenneth Liang dated February 16, 2011(“Liang Dep. Tr.”) 83:15-85:4, 205:12-16, 207:10-17
  (identifying Chadbourne lawyer Howard Seife as the Senior Lenders contact with the Creditors’ Committee
  throughout the settlement negotiations); 3/8/11 Trial Tr. 258:7-10 (Salganik) (admitting he had no personal
  knowledge as to which firm actually negotiated on behalf of the Creditors’ Committee but that he “believe[d] that
  Zuckerman and Chadbourne did that together.”). The significant legal issues presented by Chadbourne’s conflicts of
  interest have been extensively briefed in prior pleadings, which are incorporated herein by reference, and those
  conflicts persisted unabated throughout the settlement process. See Aurelius Motion to Disqualify Chadbourne
  [ECF No. 5669]; NPP 2132 (Aurelius Reply in Support of Disqualification Motion).
  540
      See, e.g., Liang Dep. Tr. 214:17-22 (Q: And did Howard Seife ever tell you in words or substance that because
  the Committee was dominated by trade creditors, to get the Committee's support you had to pay off the trade
  creditors in full? A: I believe that they said that the trade creditors have to be treated well in the plan. Yes.)
  (emphasis added).
  541
      See 3/8/11 Trial Tr. 264:6-14 (Salganik) (never directed Creditors’ Committee’s counsel to ask for more than the
  $450 million provided to Senior Notes under April Plan); 3/15/2011 Trial Tr. 189:2-7; 3/8/11 Trial. Tr. 158:3-14
  (Kurtz) (admitting he never heard any Creditors’ Committee representative argue that the Examiner’s Report
  strengthened the LBO Claims in any way, and never heard the Creditors’ Committee make a demand in excess of
  $420 million); Carlston Dep. Tr. 115:24-16:24 (no recollection of Creditors’ Committee representatives arguing to
  Senior Lenders that Examiner’s Report strengthened Pre-LBO Noteholders’ hand in negotiations), 99:4-22 (couldn’t
  recall Creditors’ Committee representatives seeking to maximize Pre-LBO Noteholder recoveries); 3/9/11 Trial Tr.
  57:17-23 (Kulnis) (admitting that throughout the negotiations the Creditors’ Committee never even told her its view
  of the merits of the LBO Claims).


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           C.       The Settlement Process, Marked By A Lack Of Arms’ Length Bargaining
                    And Exclusion Of The Pre-LBO Noteholders, Resulted In A Settlement That
                    Cannot Be Approved

           Efforts to settle the LBO Claims kicked-off in January 2010, and the first proposed

  settlement of the claims was submitted to the Court in the form of a Settlement Support

  Agreement dated April 8, 2010 (the “April Settlement”). Unlike the Proposed Settlement, the

  April Plan negotiations included representatives of one of the largest Senior Noteholders,

  Centerbridge.542

           Despite Aurelius’s exclusion from the process, and although Aurelius believed that the

  April Settlement materially undervalued the LBO Claims, Aurelius elected not to object to the

  deal,543 in part because Centerbridge’s involvement meant that “there was a principal bondholder

  [Centerbridge] at the table negotiating the settlement” and keeping the Senior Lenders and other

  parties honest. 544 Indeed, the fact that a large Senior Noteholder was directly involved in the

  negotiations leading to the April Settlement provided reassurance to other parties in interest as

  well, and influenced their decision to support the April Plan. For example, Salganik testified that

  he viewed Centerbridge’s active negotiation of the April Plan as “confirmation and validation” of

  the fairness of that deal.545



  542
      3/15/11 Trial Tr. 230:7-20 (Gropper).
  543
      Id. at 230:21-231:13 (Gropper); 3/8/11 Trial Tr. 131:4-20 (Kurtz).
  544
      During the period when the April settlement was negotiated, Aurelius held approximately $100 million worth of
  Senior Notes, but still was unable to participate directly in the process because the Debtors refused, without
  explanation, to permit Aurelius access to information material to the claims. NPP 2371 (3/3/10 e-mail from D.
  Gropper to D. Kurtz) (Aurelius’s counsel protesting the Debtors’ unexplained rejection of Aurelius’s February 12,
  2010 request to be made a party to the Depository Order); 3/15/11 Trial Tr. 228:25-230:6 (Gropper); 3/8/11 Trial Tr.
  43:19-44:9 (Kurtz) (acknowledging that it was impossible to “engage in meaningful settlement discussions” without
  access to “the relevant data” available in the document depository); 3/15/11 Trial Tr. 230:21-231:9; 279:10-280:12
  (Gropper); 3/8/11 Trial Tr. 131:21-24 (Kurtz).
  545
      3/8/11 Trial Tr. 265:10-20 (Salganik); see also Deposition of Wayne Smith dated February 16, 2011 (“Smith
  Dep. Tr.”) 55:25-56:25 (acknowledging the Creditors’ Committee evaluated Centerbridge’s input in concluding the
  April Plan was fair); 3/8/11 Trial Tr. 51:12-52:8 (Kurtz) (emphasizing that the April Plan “enjoyed the support of . .
  . Centerbridge, the largest noteholder as we indicated here holding approximately 37 percent of the notes”). 3/8/11
  Trial Tr. 124:1-18 (Kurtz) (testifying that Centerbridge’s involvement in negotiations leading to the April Plan gave


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           On July 26, 2010, the Examiner released a thorough, meticulously documented report of

  more than 1,000 pages (excluding tables and exhibits) demonstrating convincingly that the April

  Plan greatly undervalued the claims against the LBO Lenders.546 Indeed, based solely on the

  Examiner’s conclusions, Aurelius estimated that the expected value of the claims was at least

  $1.8 billion.547 Aurelius therefore sought meetings with the Debtors and Senior Lenders in order

  to try to negotiate a settlement more consistent with the conclusions of the Examiner’s Report

  than reflected in the April Plan.548

           Following release of the Examiner’s Report, Debtors, Oaktree, Angelo Gordon,

  JPMorgan and the Committee remained in nearly constant touch regarding potential settlement,

  but deliberately excluded Aurelius from their negotiations. As a consequence, the Pre-LBO

  Noteholders had no meaningful input in shaping the deal, and the Senior Lenders faced no true

  adversary in the negotiations, because the Debtors and Creditors’ Committee were unable or

  unwilling to vigorously press the LBO Claims for the reasons discussed above.

           Kurtz later attempted to justify Aurelius’s exclusion by claiming that Aurelius had refused

  to accept anything short of payment in full on the Senior Notes.549 In reality, Aurelius sharply


  the Debtors’ “comfort in the outcome” and was “incredibly important” in the Debtors’ decision to support the April
  Plan).
  546
      The Examiner’s investigative methods, and his credentials as an expert in bankruptcy law are unimpeachable. He
  has taught bankruptcy at UCLA law school since 1979, served as Associate Counsel to the Committee on Judiciary,
  U.S. House of Representatives, was one of the principal authors of the 1978 Bankruptcy Code, is founding partner
  of a thriving bankruptcy law firm, and practices regularly in bankruptcy courts around the country. NPP 2233
  (Biography of Kenneth N. Klee). Indeed, even the DCL Plan Proponents concede that the Examiner was eminently
  qualified to conduct the examination. 3/9/11 Trial Tr. 200:21-201:9 (Black) (describing the Examiner as a
  “practitioner academic” and expert in bankruptcy law); 3/8/11 Trial Tr. 138:10-13 (Kurtz) (admitting the Examiner
  was “certainly competent to undertake the assignment he was given” and a “formidable academic in the bankruptcy
  arena”). In the DCL Plan Proponents’ own words, “[o]ver the course of three months, and at a cost of over $12
  million, [the Examiner] reviewed hundreds of pages of briefing submitted by the parties, as well as tens of thousands
  of pages of documents, and also conducted 38 witness interviews and a number of informal exchanges.” NPP 2186
  (DCL Resolicitation Motion) at 41, ¶ 66; see also NPP 782 (Exam’rs Rpt.), Vol. I at 28-38. There can be no serious
  dispute that the Examiner’s investigation of the LBO Claims was far more searching and impartial than that
  conducted by Sidley, and spoon fed to the Debtors’ expert, Black.
  547
      3/15/11 Trial Tr. 249:19-250:1 (Gropper).
  548
      3/15/11 Trial Tr. 261:11-24, 263:15-264:3 (Gropper).
  549
      3/8/11 Trial Tr. 65:21-66:17 (Kurtz).


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  disagreed with the Senior Lenders’ view of the merits of the claims, but never suggested it was

  unwilling to compromise.550 In any case, instead of working to narrow the gap between Aurelius

  and the Senior Lenders, Kurtz simply “gave up,” and decided to complete the negotiations

  without input from the Senior Noteholders.551 Still eager to engage in compromise negotiations,

  Aurelius continued to reach out to the Debtors to try to advance the settlement process, sharing

  Aurelius’s Examiner model with representatives from Lazard and requesting meetings to discuss

  settlement options,552 but the Debtors never provided any feedback with respect to the Aurelius

  model, nor did they share with Aurelius any models or settlement analyses of their own, or ever

  try to discuss any views regarding a potential settlement with Aurelius.553

           Meanwhile, the DCL Plan Proponents were meeting amongst themselves to reach a deal

  without having to confront Aurelius’s evidence that the LBO Claims were worth billions, not

  millions, of dollars. For instance, just two days after refusing Aurelius’s request to arrange a

  meeting with the Senior Lenders, the Debtors entered a conclave with the Senior Lenders and the

  Creditors’ Committee to discuss settlement without Aurelius, despite the fact that Aurelius was

  then the second-largest holder of the Senior Notes.554 It is undisputed that Aurelius was not

  informed of, much less invited to, the meeting.555 Aurelius also was excluded from the third and

  penultimate mediation session attended by the DCL Plan Proponents on October 8, 2010, despite

  its repeatedly expressed desire to be involved in all mediation sessions and other settlement


  550
      3/8/11 Trial Tr. 141:22-142:16 (Kurtz); 3/15/11 Trial Tr. 261:2-6 (Gropper).
  551
      Kurtz’s dismissal of Aurelius was in stark contrast to the way he handled members of the DCL Plan Proponent
  group when they appeared to be at an impasse, with whom he claims to have had “more than a thousand”
  conversations in connection with the plan negotiations. See 3/8/11 Trial Tr. 123:10-22 (Kurtz). In contrast, Kurtz
  spoke with Aurelius just twice after release of the Examiner Report and outside of the mediation, even though, by
  September, Aurelius was the single largest Pre-LBO Noteholders in the case. See 3/15/11 Trial Tr. 259:23-260:2,
  261:7-17 (Gropper).
  552
      See 3/15/11 Trial Tr. 251:7-253:3 (Gropper).
  553
      See id. at 255:5-14, 259:12-16, 273:2-21 (Gropper).
  554
      See 3/8/11 Trial Tr. 60:22-61:7 (Kurtz); 3/15/11 Trial Tr. 266:20-267:9 (Gropper).
  555
      3/15/11 Trial Tr. 266:20-267:4 (Gropper).


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  negotiations.556 Aurelius was not notified of the terms under discussion during the mediations,

  and learned that the DCL Plan Proponents had struck a deal only when it was publicly

  announced as a fait accompli on October 12, 2010.557 Kurtz finally explained the Debtors’

  decision to exclude Aurelius from substantive involvement in settlement discussion when, in

  October 2010 – after the DCL deal was inked – he told Gropper that the Debtors “were going to

  try and get this done in court and if they couldn’t get it through, then they would negotiate” with

  Aurelius.558

          The Creditors’ Committee was similarly uninterested in discussions with Aurelius on the

  topic of settlement. Again, while the DCL Plan Proponents have attempted to portray Aurelius as

  an unreasonable negotiating partner, Aurelius never suggested to the Creditors’ Committee that it

  was unwilling to make a reasonable compromise; instead, during its first post-Examiner’s Report

  audience with the Creditors’ Committee—an August 17, 2010 conference call—Aurelius merely

  explained its preliminary view that the Examiner’s Report justified full payment to the Senior

  Noteholders.559 As it turns out, the Creditors’ Committee met with the DCL Plan Proponents just

  hours after its call with Aurelius, but did not bother to inform Aurelius of the meeting or its

  outcome.560 When Aurelius finally arranged a face-to-face meeting with the Creditors’

  Committee on October 7, 2010 to discuss settlement alternatives and explain how it had

  calculated the expected value of the claims at $1.8 billion or more based on the Examiner’s

  Report, the Creditors’ Committee did not ask any questions or share any of its own analysis



  556
      See 3/16/11 Trial Tr. 176:4-10 (Gropper).
  557
      See 3/15/11 Trial Tr. 276:20-277:4 (Gropper) (“Q: Now, the record is clear there came a time when two term
  sheets were released during the course of the mediation. Gropper, you’re familiar with that? A: Yes. Q: Okay.
  Were you aware in any respect of any of the terms of those before they were released? A: No. Q: Okay. Did you
  have any idea that they were under discussion? A: No.”).
  558
      3/15/11 Trial Tr. 287:12-288:7 (Gropper).
  559
      See 3/15/11 Trial Tr. 268:5-15 (Gropper); 3/8/11 Trial Tr. 283:25-284:17 (Salganik).
  560
      3/16/11 Trial Tr. 172:9-173:1 (Gropper).


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  regarding the claims.561 Later that day, Creditors’ Committee counsel assured Aurelius that the

  Creditors’ Committee would work with Aurelius “collaboratively and cooperatively” going

  forward.562 Incredibly, the next day Creditors’ Committee counsel attended the October 8, 2010

  mediation session at which the Creditors’ Committee agreed to a deal, without so much as

  notifying Aurelius the meeting was taking place, much less seeking Aurelius’s input on

  settlement terms.563 The Creditors’ Committee ignored Aurelius’s requests to meet following the

  release of the second term sheet in October 2010 entirely.564

            D.       The Deeply Flawed Process Resulted in a Deeply Flawed Settlement

           As a consequence of the DCL Plan Proponents’ exclusion of Aurelius from the settlement

  negotiations—and the manifold conflicts and other problems with the process described above—

  the Proposed Settlement before the Court lacks the presumption of fairness that otherwise might

  be associated with a deal actively negotiated and agreed to by the Pre-LBO Noteholders.565

  Indeed, the one-sided terms of the proposed settlement only can be explained as a product of the

  flawed process from which it arose.

           The DCL Plan calls for an initial distribution to the Senior Noteholders of less than they

  would have gotten under the settlement agreed to before the Examiner’s Report was released,

  despite the fact that the Creditors’ Committee, the Debtors—and even Oaktree—admitted that


  561
      See 3/8/11 Trial Tr. 286:13-17 (Salganik) (“Q: When Aurelius was at the meeting, was there any discussion by
  committee members or committee representatives concerning assumptions or procedures built into the model? A: I
  – I don’t believe we asked any questions at that meeting.”); DCL 87 (10/7/10 Creditors’ Committee Meeting
  Minutes).
  562
      3/16/11 Trial Tr. 123:11-15 (Gropper).
  563
      See 3/8/11 Trial Tr. 241:13-16 (Salganik) (“Q: And your counsel reported to you and advisors reported to you on
  the mediation session that occurred on October 8th? A: Yes.”); 3/16/11 Trial Tr. 176:4-10 (Gropper) (“Q: Okay.
  Did you have the slightest idea that there was a mediation session scheduled for twelve hours following your
  meeting with Mr. Seife? A: No. Q: Did he tell you anything to lead you to believe that the committee was in the
  process of finalizing a deal? A: No.”).
  564
      See 3/15/11 Trial Tr. 288:8-289:1 (Gropper).
  565
      3/8/11 Trial Tr. 265:21-266:4 (Salganik) (agreeing “that in connection with the settlement ultimately supported
  by the committee in this case there is no such confirmation or validation in the form of a noteholder that played the
  role that Centerbridge played in the April settlement”).


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  the Examiner’s Report was favorable to the Noteholders and other Pre-LBO Noteholders.566

  Under the terms of the April Plan, the Senior Noteholders were to receive $391 million of

  settlement consideration, the DCL Plan as originally negotiated provided just $369 million to the

  Senior Notes.567 Expressed in terms of percent of the face amount of their respective claims, the

  Senior Noteholders recovery dropped from a strip of consideration worth 35.18% of their total

  claim, to a distribution equivalent to just 33.59% of their claim.568 Meanwhile, the Senior

  Lenders’ recovery increased dramatically under the DCL Plan. Based on a $6.75 billion DEV,

  the Senior Lenders will recover 71.1% of the face amount of their debt compared to the 62.85%

  contemplated in April.569 If, as the evidence indicates, the Debtors’ DEV is actually around $8

  billion, the Senior Lenders will recover more than 85% of the value of their claims.570

          A claim-by-claim examination of the consideration being provided by the Senior Lenders

  also illustrates the insufficiency of the DCL Plan. The proposed settlement contemplates the

  release of more than $6.4 billion in Step One disallowance claims in exchange for payment by

  the Senior Lenders of just $322 million, while $1.8 billion of Step One disgorgement claims

  against the Senior Lenders (before pre-judgment interest) would be released for nothing. To be

  sure, the Examiner’s concluded that Step One was less likely to be deemed a fraudulent


  566
       3/8/11 Trial Tr. 285:16-23 (Salganik); 3/15/11 Trial Tr. 264:4-10 (Gropper); NPP 812 (8/22/10 email from B.
  Karsh to H. Marks) (predicting collapse of the April Plan in the wake of the Examiner’s Report was probably “good
  for the bonds”); NPP 2033 (7/27/10 email from A. Goldman to S. Shapiro) (Angelo Gordon attorney noting that the
  Examiner’s Report was “interesting” “though not unexpected,” and that they “assume bonds are up” on the news).
  567
       3/15/11 Trial Tr. 292:14-294:3 (Gropper); see also NPP 2473 (Trial Demonstrative); NPP 2170 (Mediator’s
  Second Report) Ex. A; NPP 24 (4/8/10 Executed Settlement Support Agreement).
  568
       The DCL Plan Proponents argue that the shareholder and other claims they propose to put in a litigation trust
  increase the value of the settlement consideration, but have never even said what they believe those claims are
  worth, much less offered any evidence of that alleged value. Moreover, the DCL Plan Proponents forget that the
  Litigation Trust Claims will be available to the estates whether or not the DCL Plan is approved. Similarly, while
  the DCL Plan Proponents make much of their proposal to allocate some of their interest in those claims to Non-LBO
  Creditors, they ignore the fact that equitable principles could well prevent them from retaining any interest in any
  LBO Claims, including in the Litigation Trust. See also Section V above.
  569
      3/15/11 Trial Tr. 292:14-294:3 (Gropper); see also NPP 2473 (Trial Demonstrative); NPP 2170 (Second
  Mediator’s Report), Ex. A); NPP 24 (4/8/10 Executed Settlement Support Agreement).
  570
       Id. at 292:14-294:3 (Gropper).


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  conveyance than Step Two, but he still projected that such an outcome was “reasonably

  unlikely.”571 Even using the midpoint of the probability range assigned by the Debtors’ own

  expert to the phrase “reasonably unlikely”–22.5%—it is clear that the Step One avoidance claim

  alone is worth substantially more than $322 million, and that release of the Step One

  disgorgement claim for nothing is completely unjustified.572 In addition, the settlement would

  allow the Senior Lenders to escape a near certain $318 million worth of Step Two disgorgement

  claims (before pre-judgment interest) for payment of just $120 million, and pay precisely

  nothing to the Pre-LBO Noteholders in exchange for the release of $1.9 billion of Step Two

  avoidance claims.573 Finally, the DCL Plan would release more than $1.6 billion in claims

  against the Bridge Lenders for $13 million.574

           The last thing one would have expected in the wake of the Examiner’s Report are these

  massively improved recoveries to the Senior Lenders at the expense of the Pre-LBO

  Noteholders, whose position should have been greatly improved by the Examiner’s Report. 575

  The Alice-in-Wonderland outcome conjured by the Senior Lenders can be explained only by the

  flawed and unfair process from which it arose, and the self-interest animating the parties by

  whom it was negotiated. The DCL Plan should be rejected accordingly.

  571
      NPP 782 (Exam’rs Rpt.), Vol. II at 22.
  572
      Significantly, the Examiner did not assign his lowest probability rating—“highly unlikely”—to a finding of Step
  One intentional fraud, indicating his disagreement with the DCL Plan Proponents’ dim view of the merits of the Step
  One claims.
  573
      The Senior Lenders added approximately $74 million in consideration for release of the Step Two avoidance
  claim, but none of that value goes to the Pre-LBO Noteholders, the largest beneficiaries of the claim being released.
  3/9/11 Trial Tr. 76:20-77:6 (Kulnis). Instead most of the value will be paid to unsecured creditors who just happen
  to be a part of the voting majority that caused the Creditors’ Committee to support the plan, while the remaining $14
  million will be paid to Oaktree, itself a Senior Lender!
  574
      The support of Oaktree and Angelo Gordon for all these free releases is in marked contrast to the position they
  took regarding the proposed release of shareholders, directors and officers for free in connection with the April Plan.
  Back then, Oaktree and Angelo Gordon took the position that “people can’t just be handed releases” for free. NPP
  1989 (4/12/10 Credit Agreement Lenders’ Settlement Statement) at 7. What a difference a year makes.
  575
      See 3/15/11 Trial Tr. 292:4-294:6 (Gropper) (explaining the differences between the recoveries under the April
  Settlement and the DCL Settlement and that “in light of the examiner report…this progression of events” “made no
  sense to [him] whatsoever.”); see also 3/15/11 Trial Tr. 264:4-10 (Gropper) (“[Kurtz] said that in light of the
  examiner report, the banks were crazy to walk away from the April deal.”).


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